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                     UNITED STATES DISTRICT COURT

                         DISTRICT OF CONNECTICUT




IN RE TEVA SECURITIES LITIGATION           No. 3:17-cv-558 (SRU)



THIS DOCUMENT RELATES TO:

SCHWAB CAPITAL TRUST and SCHWAB            No. 3:19-cv-00192 (SRU)
STRATEGIC TRUST,

                Plaintiffs,

v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD.; EREZ VIGODMAN; EYAL DESHEH;
SIGURDUR OLAFSSON; KÅRE SCHULTZ;
MICHAEL MCCLELLAN; and YITZHAK
PETERBURG,

                Defendants.



     AMENDED COMPLAINT FOR VIOLATION OF FEDERAL SECURITIES
              LAW AND THE ISRAEL SECURITIES LAW,
                 AND DEMAND FOR JURY TRIAL
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       Plaintiffs Schwab Capital Trust and Schwab Strategic Trust (“Plaintiffs”), each on

behalf of certain of its series, assert claims under Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), and claims under the Israel Securities Law, 1968

(the “Israel Securities Law”) against Teva Pharmaceutical Industries Ltd. (“Teva” or the

“Company”) and certain of Teva’s current and former employees and officers. Plaintiffs seek

to recover damages for losses Plaintiffs have suffered in connection with their acquisition of

Teva Securities (defined herein) during the period February 6, 2014 to May 10, 2019, inclusive

(the “Relevant Period”) at prices that were artificially inflated as a result of the violations of

the securities laws alleged herein.

       Plaintiffs’ allegations are based upon personal knowledge as to Plaintiffs and Plaintiffs’

own acts, and upon information and belief as to all other matters, based on the investigation

conducted by and through Plaintiffs’ counsel. This investigation included, among other things,

a review of the following: Teva’s filings with the U.S. Securities and Exchange Commission

(the “SEC”); transcripts of Teva’s public conference calls; press releases issued by Teva;

analyst reports regarding Teva; civil complaints alleging that Teva and its subsidiaries violated

federal and state antitrust and unfair competition laws; other documents concerning criminal

investigations and proceedings into collusion between generic drug manufacturers; generic

drug pricing data from a nationally-recognized source, and the second amended consolidated

class action complaint filed on December 13, 2019 (the “Second Amended Class Complaint”)

in Ontario Teachers’ Pension Plan Board v. Teva Pharmaceutical Industries Ltd., No. 3:17-

cv-00558 (SRU) (D. Conn.) (the “Class Action”). Plaintiffs believe that discovery will yield

substantial additional evidentiary support for the allegations set forth herein.




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    I.      SUMMARY OF THE ACTION

            1.     This action arises from a long series of material misstatements and omissions

made by Teva about its U.S. generic drugs segment, including its financial performance and

projections; the source and sustainability of the Company’s revenues, profits and growth; the

Company’s vulnerability to price erosion; its collusion with supposed competitors to manipulate

the generic drug market; and its acquisition of Allergan Generics (also known as “Actavis”).

Defendants1 repeatedly and explicitly denied that Teva’s remarkable turn-around beginning in

2013 was based on a strategy of systematically raising generic drug prices across a large swath of

Teva’s generic drug portfolio (the “Price-Hike Strategy”). During the Relevant Period, often in

response to direct questions from analysts about the pricing of Teva’s generic drugs, Defendants

falsely and consistently attributed Teva’s quarter-after-quarter financial growth to fundamental

business strategies—in particular, cost cutting and strong product management. Defendants’

misstatements and omissions misled the market and resulted in the artificial inflation of the price

of Teva’s securities.

            2.     Before the market learned the truth, Teva publicly issued billions of dollars of

American Depositary Receipt shares (“ADS”), preferred shares (“Preferred Shares”), and six

series of notes (the “Notes”) to fund its strategic acquisition of Actavis, while concealing the

existence of the Price-Hike Strategy and the fact that the Company was facing multiple

government investigations. As Defendants’ fraud began to be exposed, three of Teva’s top

executives abruptly left the Company: Sigurdur Olafsson, the President and Chief Executive

Officer (“CEO”) of Teva’s Global Generic Medicines Group, was fired on December 5, 2016;

Erez Vigodman, the Company’s President and CEO, was terminated on February 6, 2017; and


1
         Defendants are Teva, Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Kåre Schultz,
         Michael McClellan, and Yitzhak Peterburg.


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Eyal Desheh, Teva’s Chief Financial Officer, left on June 30, 2017. When the market learned

the truth concealed by Defendants, investors suffered enormous losses resulting from precipitous

declines in the price of Teva securities.

       3.      Teva is the largest generic drug manufacturer and one of the fifteen largest

pharmaceutical companies in the world. Prior to the Relevant Period, however, Teva was facing

multiple challenges. Its top-selling generic drug (budesonide, also known as Pulmicort) was

suffering from new competition, its top revenue driver (Copaxone, a branded drug) was facing

imminent competition from a generic entrant, and the Company’s stock price was flat.

Defendants, under pressure to improve the Company’s fortune, turned to fraud.

       4.      Teva initiated the Price-Hike Strategy in 2013, rolling out a first batch of price

increases in July and August of that year. All told, Teva imposed price increases on at least fifty-

five generic drugs—with multiple increases for many of these drugs—during the Relevant

Period, including some increases of 500-1000%. Teva’s senior officers considered and approved

each increase, and then carefully tracked the resulting profits generated on a daily, weekly, and

quarterly basis. During the Relevant Period, the financial impact of the strategy was staggering,

generating billions of dollars of additional revenue and profit attributable solely to the price

increases. Defendants issued financial reports and made public statements about the Company’s

financial performance while denying that the basis of that performance was the Price-Hike

Strategy.

       5.      Defendants concealed this information because even though it was legal for Teva

to raise the prices of its generic drugs, the Price-Hike Strategy was inherently risky and

unsustainable. The pricing of pharmaceutical drugs, in particular generic pharmaceuticals, is an

issue of intense public debate and scrutiny, and any appearance of price gouging could elicit




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public outrage, Congressional scrutiny, law enforcement investigations, and even civil and

criminal liability. Moreover, generic drugs of the same formulation and dosage are essentially

interchangeable, and wholesale purchasers of generics routinely set pricing through competitive

Request for Proposal (“RFP”) bidding. Thus, when Teva raised prices, any manufacturer in the

generic drug market could underbid Teva and wipe out Teva’s market share. Had Teva disclosed

the truth of its business strategy, the market would have valued the Company very differently

than a company driven by fundamental growth and cost cutting, as Defendants falsely claimed

Teva was.

       6.      There was an enormous additional risk: Teva’s Price-Hike Strategy depended on

price-fixing collusion within the generic drug industry. Beginning in mid-2013, Teva began to

collude with its supposed competitors to increase generic drug prices, thereby decreasing

competition and artificially inflating revenues. Teva agreed to fix the prices of, or allocate the

market for, at least 25 generic drugs, and it systematically raised prices across its generic drug

portfolio, often in tandem with other generics companies. Defendants thus had to conceal that

the Price-Hike Strategy was the primary contributor to Teva’s massive boost in revenues and

profits. Their secret was a ticking time bomb.

       7.      The Price-Hike Strategy fueled Teva’s turn-around. During the third quarter of

2013, the Company’s U.S. generics revenues increased more than $1 billion, with a 6% increase

year-over-year. The generics segment was the most profitable part of Teva’s business that year,

boasting 14% revenue growth and 50% gross margins. The Company’s stock price rose 32%

during the first quarter of 2014, posting its biggest quarterly rally since 2005.

       8.      For a period, Defendants very effectively concealed that the Price-Hike Strategy

was driving Teva’s rapid growth, which they invariably attributed to other, legitimate sources.




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Neither Teva nor any of its peers disclosed to the investing public any information concerning

individual drug prices, changes in price, or revenues per drug, let alone profits. Thus, Wall

Street analysts, though intimately familiar with Teva’s business and disclosures, had no way of

determining that Teva was profiting from systematic price increases, except, of course, by asking

Defendants themselves.

       9.      Analysts repeatedly and directly asked whether Teva’s profits and performance

were connected to price increases.      The Individual Defendants 2 explicitly denied any such

connection, however, representing that Teva’s revenues and profits arose from sound business

strategies and were not the product of generic drug price increases, that Teva was not

participating in any collusion, and, therefore, that the Company was not vulnerable to, and had

not experienced, substantial price erosion.

       10.     A substantial factual record demonstrates that Teva colluded to manipulate the

prices of at least two dozen drugs. These drugs’ prices moved in near-perfect unison between

companies, and the price increases were exponential. Moreover, there is a pattern of abrupt

spikes in Teva’s prices, in tandem with those of competitors, following industry conferences

attended by Teva and those competitors.

       11.     There is no non-collusive explanation for Teva’s sudden, synchronized price

increases. There were no supply shortages or sudden increases in demand for these drugs during

the Relevant Period, and no major competitor left the market. Moreover, the market was

susceptible to collusion because: (1) production of these drugs was dominated by only a few

companies; (2) demand was inelastic; (3) generic drugs are commodity-like prices, for which the

only distinguishing factor was purchasers was price; (4) there were no viable substitutes; (5)

2
    The Individual Defendants are Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Kåre
    Schultz, Michael McClellan, and Yitzhak Peterburg.


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there were high barriers to new market entrants; and (6) information sharing and price discovery

were common. Moreover, if the price increases resulted from temporary supply shortages, cost

increases, or other benign explanations, subsequent price decreases would be expected, but these

did not occur. In addition, Teva’s extraordinary price increases would have been against its

economic self-interest in the absence of collusion with its competitors.

       12.       In light of this, Defendants denied that Teva’s success was driven by price

increases, stating, for example:

                 “[A]ll the improvement you see in our . . . margins is not driven by
                  price. It is driven by quantities and by mix and by efficiency measures.
                  Not by price, [in] 2014, 2015, and that’s a very important message.”
                  (Defendant Vigodman, Oct. 29, 2015 earnings call).

                 “So how did we” achieve $1 billion in increased profit margin?” “Not
                  by pricing but by portfolio mix, new products, and efficiency
                  measures.” (Defendant Olafsson, Feb. 11, 2016 earnings call).

                 “Now there’s a lot of noise around pricing issues. . . . Our exposure to
                  all these things is very minimal . . . . Teva was not associated with any
                  of that.” (Defendant Desheh, Nov. 19, 2015 investor conference).

       13.       Defendants falsely claimed that any price increases were rare and made only in

connection with abnormalities in the market, but this was untrue. Contrary to Defendants’ false

statements, moreover, the Price-Hike Strategy drove the Company’s success, yielding hundreds

of millions of dollars in additional revenue and profit quarter-over-quarter through the second

quarter of 2015 (“2Q15”3).

       14.       Defendants had a particular motive for this conduct. Their goal was to inflate

Teva’s share price in order to make a large acquisition that the Company otherwise could not

afford. In January 2014, Defendant Desheh predicted that within twelve to twenty-four months

Teva’s “stock price will go up and we’ll be able to use our share as a currency . . . to fund

3
    The Complaint at times refers to quarterly and annual accounting periods in this manner.
    Thus, 2Q15 refers to the second quarter of 2015, and FY15 refers to the fiscal year ending
    2015.


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transactions” that could transform Teva into an even larger, more dominant force in generics.

Defendant Vigodman, who took Teva’s helm as CEO in February 2014 (at the start of the

Relevant Period), also reportedly wanted Teva to make a significant strategic acquisition.

       15.     As Desheh predicted, within eighteen months, as Teva reported increasing profits

resulting from the Price-Hike Strategy, the price of Teva’s ADS shot up. Teva’s share price hit

an all-time high of $72 on July 27, 2015, the very day Teva announced it was acquiring Actavis

for $40 billion. Teva did not have the cash to pay for Actavis outright; the price tag equaled

roughly twenty years of Teva’s recent average profits. As Defendants intended all along, they

used Teva’s ADS as “currency” to raise $27 billion from investors to fund the deal. The

acquisition would take nearly a year to close, in part because of the need for regulatory approval

from the Federal Trade Commission (“FTC”).

       16.     By mid-2015, however, generic drug pricing had come under intense scrutiny

from law enforcement, and Congress was calling for legislation to regulate pricing. Analysts

asked about the implications for Teva, but CFO Desheh deflected: “[T]here’s a lot of noise

around pricing issues. Some of it’s coming from politicians. . . . Our exposure to all these

things is very minimal.”

       17.     In December 2015, at the height of this scrutiny and Defendants’ repeated denials

of pricing issues at Teva, the Company issued another $3.375 billion of ADS and,

simultaneously, an equivalent value of preferred shares, for a total of nearly $7 billion (the

“ADS/Preferred Offering”). The offering materials for the ADS/Preferred Offering concealed

the actual source of Teva’s apparent turn-around—the unsustainable Price-Hike Strategy.

       18.     As 2016 began, other pharmaceutical companies reported disappointing earnings

attributed to increased pressure to reduce prices. This pricing pressure was a byproduct of




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heightened government scrutiny and public outcry. When asked whether Teva faced the same

risks, Defendant Olafsson falsely claimed that Teva was not exposed. At an analyst call on May

9, 2016, he stated: “Teva has not seen any fundamental change or worsening in the pricing

environment.” Vigodman claimed “[w]hat we see is a 4% to 5% erosion [in pricing] . . . . That’s

not something which is different from what we said during 2015.” In fact, that very pricing

pressure was eviscerating the profits and revenues of Teva’s generics segment.

       19.     On July 12, 2016, the Connecticut Attorney General served Teva with a subpoena

concerning its pricing for generic drugs. The receipt of this subpoena ended Teva’s ability to

continue the Price-Hike Strategy, and Teva did not make any price hikes after this point.

       20.     With investigators closing in, Teva desperately sought to close the Actavis deal

before the market learned the truth about the Price-Hike Strategy and Teva’s resulting

vulnerability to price erosion. Teva had previously announced in May that it would issue $20

billion of debt in the fall of 2016 to fund its acquisition of Actavis. On July 13, 2016, however—

one day after receiving the Connecticut Attorney General’s subpoena—Defendants announced

that this offering of six series of notes (the “Notes Offering”) would be launched later that same

day, and began filing paperwork with the SEC related to the Notes Offering. Despite dozens of

pages disclosing other investigations and legal matters, these filings said nothing about the

Connecticut Attorney General’s subpoena, nor about a similar subpoena served the prior month

by the U.S. Department of Justice (the “DOJ”).

       21.     After raising billions from investors in the Notes Offering, Teva closed the

Actavis deal on August 2, 2016. Just two days later, Teva reported disappointing earnings and

disclosed the subpoenas from the Connecticut Attorney General and the DOJ, which Teva

admitted it received on June 21, 2016. Though the truth was beginning to surface, Defendants




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continued to deny that price increases ever occurred. For example, in a September 9, 2016

analyst call, Defendant Olafsson stated that “people that say that . . . there’s a big generic price

inflation, are simply wrong.”

       22.     Reality overtook Defendants shortly thereafter. On September 12, 2016, the U.S.

Government Accountability Office (“GAO”) publicly released a report detailing hundreds of

unexplained “extraordinary price increases” (defined as a particular drug’s price increasing more

than 100% within a twelve-month period), including numerous increases of more than 1,000%.

Teva owned the rights to at least 40% of the drugs the GAO identified as having exhibited an

extraordinary price increase between 2013 and 2015.

       23.     On November 3, 2016, Bloomberg reported that Teva was a target of

investigations and looming charges from the DOJ and a group of State Attorneys General.

Nevertheless, Defendants continue to falsely deny that Teva’s financial performance was fueled

by the Price-Hike Strategy and was susceptible to price erosion. On November 15, 2016,

Vigodman told investors that “we are not aware of any fact that would give rise to exposure to

Teva with respect to the investigation” by the DOJ into price collusion in the generics industry.

During the same call, in response to an analyst’s question regarding accelerated price decreases

during the third quarter of 2016—the result of government scrutiny spelling doom for the Price-

Hike Strategy—Olafsson denied that the price decreases resulted from increased competition or

the “tam[ing]” of previous increases, falsely explaining that the price erosion was an anomaly

arising from Teva’s FTC-mandated divestiture of certain products relating to the Actavis

acquisition. Investors continued to rely on Defendants’ false reassurances that Teva was not

vulnerable to price erosion, even as the Price-Hike Strategy crumbled.




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       24.     Olafsson was fired less than three weeks later. The following week, on December

14, 2016, the DOJ unsealed charges against the CEO and President of Teva’s competitor

Heritage Pharmaceuticals Inc.—Jeffrey Glazer and Jason Malek, respectively—for colluding

with other generic pharmaceutical manufacturers to allocate customers, rig bids, and fix prices.

The charges concerned two drugs that Teva also sold. Glazer and Malek later pleaded guilty to

criminal changes, admitting that they conspired with Teva. Their co-conspirators were identified

as including “executives at the highest levels of” other generic drug manufacturers.

       25.     On December 15, 2016, the Attorneys General of twenty states, led by the

Connecticut Attorney General, sued Teva for violations of the Sherman Antitrust Act (the

“Sherman Act”). The action alleged that Teva allocated customers and market share and agreed

with other manufacturers collectively to raise prices of generic drugs, including Glyburide, a

drug for which Teva dominated the market from 2012 to 2017. Eventually, the action included

claims by the Attorneys General of forty-seven U.S. States, the District of Columbia, and Puerto

Rico (together, the “State AGs”). The Connecticut Attorney General described the fraud as “on

an almost unimaginable scale.”

       26.     Defendant Vigodman was terminated in February 2017, though no replacement

had been identified. Then, in April 2017, Teva announced that Defendant Desheh was leaving

the Company. On August 3, 2017, on the first investor call after these terminations, Teva

announced that it was required to take a $6.1 billion write-down of its entire generics business

because its fundamental value had been “permanently impaired.”

       27.     Without the Price-Hike Strategy, Teva’s ability to service its more than $30

billion in debt was endangered, and credit-rating agencies downgraded the Company’s debt to




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just above “junk.” And after thirty years of maintaining or increasing its dividend, Teva’s new

Board of Directors and management of Teva were forced to cut the dividend by 75%.

        28.    In May 2019, the State AGs filed an expanded complaint alleging that Teva

significantly raised prices on approximately 112 generic drugs and fixed prices and/or allocated

markets for at least 107 drugs. That expanded complaint sets forth extensive evidence of Teva’s

collusive conduct. This Complaint identifies, on information and belief, the Teva employee who

the State AGs allege was central in the price-fixing conduct. This employee, however, was not

in a position to agree to or approve any pricing changes.         Rather, Maureen Cavanaugh

(“Cavanaugh”)4 and Deborah Griffin (“Griffin”)5 approved the price increases alleged herein.

        29.    Teva was a fundamentally weaker company than investors were led to believe.

As criminal charges, guilty pleas, and government allegations and investigations mounted in the

second half of 2016, the market began to learn the truth, and Teva was forced to abandon the

Price-Hike Strategy it continued to deny ever existed. As the concealed truth was revealed, the

share price plummeted more than 66%, causing Plaintiffs to incur massive losses.

        30.    Plaintiffs’ claims arise from five interrelated categories of misstatements and

omissions.

               a.     First, Defendants explicitly attributed Teva’s financial performance to

legitimate and benign business strategies, including cost cutting and product selection. Having

addressed the basis of Teva’s revenues, Defendants were required to disclose the reality that

Teva’s performance was driven by the Price-Hike Strategy. Moreover, Defendants failed to


4
    During the Relevant Period, Cavanaugh served as Teva USA’s SVP and Chief Operating
    Officer, North America Generics.
5
    Griffin serves as Teva’s SVP and Chief Accounting Officer (Principal Accounting Officer)
    and served as the Authorized U.S. Representative of Teva during the Relevant Period. She
    was also VP and CFO of Teva USA during the Relevant Period.


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disclose, as required by Item 303 of SEC Regulation S-K and Item 5 of Form 20-F, that the

Price-Hike Strategy was impacting Teva’s profits, both as those profits dramatically increased

and later as they evaporated.

               b.       Second, Defendants falsely denied that Teva had engaged in price

increases or received material benefit therefrom. Rather, Defendants claimed that Teva raised

price on only a few generic drugs when a market shortage occurred.

               c.       Third, Defendants falsely claimed that Teva was immune to pricing

pressures, though in reality it was unable to sustain the undisclosed Price-Hike Strategy.

               d.       Fourth, Defendants repeatedly stated that Teva was excelling in a highly

competitive environment. That was far from the truth, as Teva was able to adopt and pursue the

Price-Hike Strategy only because of a lack of competition resulting from its collusion with

supposed competitors.

               f.       Fifth, Defendants failed to disclose and actively concealed the negative

impact of the Actavis acquisition and integration of the acquired business on Teva’s financial

results and business prospects.

               g.       Sixth, since August 4, 2017, Teva repeatedly—and falsely—denied any

involvement in collusive misconduct, further misleading investors during the Relevant Period.

 II.   JURISDICTION AND VENUE

       31.     This Court has jurisdiction over the subject matter of Counts I and II pursuant to

Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331. This Court has

supplemental jurisdiction over Count III pursuant to 28 U.S.C. § 1367.

       32.     Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa) and 28 U.S.C. § 1391.




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          33.   In connection with the acts alleged herein, Defendants directly or indirectly used

the means and instrumentalities of interstate commerce, including the United States mail,

interstate telecommunications, and the facilities of the New York Stock Exchange (“NYSE”).

III.      PARTIES

          A.    PLAINTIFFS

          34.   Plaintiff Schwab Capital Trust is an open-end management investment company

organized as a Massachusetts business trust on May 7, 1993. Plaintiff Schwab Capital Trust is

asserting the claims set forth herein on behalf of its series Laudus International MarketMasters

Fund, Schwab International Index Fund, and Schwab Fundamental International Large Company

Index Fund. During the Relevant Period: (i) Laudus International MarketMasters Fund acquired

Teva ADS in domestic transactions and acquired Teva ordinary shares; (ii) Schwab International

Index Fund acquired Teva ADS in domestic transactions and acquired Teva ordinary shares; and

(iii) Schwab Fundamental International Large Company Index Fund acquired Teva ordinary

shares.

          35.   Plaintiff Schwab Strategic Trust is an open-end investment management company

organized as a Delaware statutory trust on January 27, 2009. Plaintiff Schwab Strategic Trust is

asserting the claims set forth herein on behalf of its series Schwab International Equity ETF,

Schwab Fundamental International Large Company Index ETF, and Schwab U.S. Aggregate

Bond ETF. During the Relevant Period: (i) Schwab International Equity ETF acquired Teva

ordinary shares; (ii) Schwab Fundamental International Large Company Index ETF acquired

Teva ordinary shares; and (iii) Schwab U.S. Aggregate Bond ETF, in domestic transactions,

acquired four series of Teva debt securities, specifically 2.200% Senior Notes due July 21, 2021

(“2021 Notes”), 2.950% Senior Notes due December 18, 2022 (“2022 Notes”), 3.150% Senior




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Notes due October 1, 2026 (“2026 Notes”), and 4.100% Senior Notes due October 1, 2046

(“2046 Notes”).6

       36.     During the Relevant Period, the above series of Plaintiffs purchased Teva ADS

and Notes on a United States exchange and/or in transactions whereby they incurred irrevocable

liability for the purchases within the United States and/or title to the purchased securities passed

within the United States, and Teva ordinary shares. These purchases were made at prices that

were artificially inflated by the violations of the Exchange Act and Israel Securities Law

described herein, and Plaintiffs suffered damages thereby as a result of those violations. The

purchases of Teva Securities from which Plaintiffs’ claims arise are set forth in Appendix C.

       B.      DEFENDANTS

       37.     Defendant Teva, the world’s largest generic drug manufacturer, is incorporated in

Israel with its executive offices at 5 Basel Street, P.O. Box 3190, Petach Tikva, 4951033, Israel.

Teva engages in interstate commerce within this District and regularly does business in

Connecticut. Teva’s wholly-owned subsidiary Teva Pharmaceuticals USA, Inc. (“Teva USA”)

has its principal offices at 1090 Horsham Road, North Wales, Pennsylvania, 19454. Teva ADS,

each of which represents one ordinary share of Teva, trade on the NYSE under the symbol

“TEVA.” Teva’s Notes are traded in the U.S. Teva ordinary shares trade on the Tel Aviv Stock

Exchange (“TASE”) under the symbol “TEVA.” Teva’s Preferred Shares trade in the U.S.

       38.     Defendant Erez Vigodman (“Vigodman”) served as Teva’s President and CEO

from February 11, 2014, to February 6, 2017, and as a Teva Director from June 22, 2009, to

February 6, 2017. Vigodman signed and certified certain of Teva’s alleged false and misleading

reports on Forms 20-F and Forms 6-K filed with the SEC during the Relevant Period, as well as

6
    The 2021 Notes, 2026 Notes, and 2046 Notes were issued in the Notes Offering. Each of the
    2021 Notes, 2022 Notes, 2026 Notes, and 2046 Notes are “Notes.” Teva’s ADS, Notes, and
    ordinary shares are referred to herein as “Teva Securities.”


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the shelf registration statement on Form F-3 that Teva filed with the SEC on November 30, 2015

in connection with the ADS/Preferred Offering (the “ADS/Preferred Registration Statement”)

and the post-effective amendment thereto that Teva filed on July 13, 2016 in connection with the

Notes Offering (the “Notes Registration Statement”). Vigodman also made false and misleading

statements on numerous conference calls with investors and analysts, as alleged specifically

herein. During his tenure at Teva, Vigodman possessed the power and authority to, and in fact

did approve and control the contents of the Company’s SEC filings alleged herein to be false and

misleading.

       39.     Defendant Eyal Desheh (“Desheh”) served as Teva’s CFO from July 2008 to June

30, 2017, except from October 30, 2013 to February 11, 2014, a period during which he served

as Teva’s Interim CEO and Interim President. Desheh signed and certified certain of Teva’s

false and misleading reports on Forms 20-F and 6-K filed with the SEC during the Relevant

Period, as well as the ADS/Preferred Registration Statement and the Notes Registration

Statement filed with the SEC. Desheh also made false and misleading statements on numerous

conference calls with investors and analysts, as alleged specifically herein.

       40.     Defendant Sigurdur “Siggi” Olafsson (“Olafsson”) served as President and CEO

of Teva’s Global Generic Medicines Group from July 1, 2014 to December 5, 2016. Olafsson

made false and misleading statements on numerous conference calls with investors and analysts,

as alleged herein. During his tenure at Teva, Olafsson possessed the power and authority, and in

fact did approve and control the contents of the Company’s SEC filings alleged herein to be false

and misleading.

       41.     Defendant Kåre Schultz (“Schultz”) has served as Teva’s President and Chief

Executive Officer, and as a member of the Board of Directors, since November 1, 2017.




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       42.     Defendant Michael McClellan (“McClellan”) served as Executive Vice President

and Chief Financial Officer of Teva from November 2017 until November 8, 2019. Prior to

serving in that role, McClellan served as Teva’s Interim Group CFO from July 2017 to

November 2017 and Senior Vice President and CFO, Global Specialty Medicines from 2015 to

November 2017.

       43.     Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President

and CEO from February 6, 2017 to October 31, 2017. He also served as a Teva Director from

June 2009 to July 2010, and from 2012 until December 12, 2017, and as Chairman of Teva’s

Board of Directors from January 1, 2015 to February 6, 2017.

       44.     Defendants Vigodman, Desheh, Olafsson, Schultz, McClellan, and Peterburg are

referred to herein collectively as the “Individual Defendants.”       Teva and the Individual

Defendants are referred to herein as the “Defendants.”

IV.    FACTUAL ALLEGATIONS

             A. A BRIEF OVERVIEW OF THE U.S. GENERIC DRUG MARKET

       45.     In 2015, an estimated $84 billion of generic pharmaceutical drugs were sold in the

United States, with generics accounting for approximately 88% of all prescriptions written in the

United States. Teva controlled as much as 16% of the U.S. market as of year-end 2016.

       46.     Under U.S. law, newly discovered drugs receive patent protection. But once this

protection expires, other companies may obtain government approval to manufacture and market

“generic” drugs to compete. According to the U.S. Food and Drug Administration’s (“FDA”)

glossary, a generic drug shall be “the same as a brand name drug in dosage, safety, strength, how

it is taken, quality, performance, and intended use.” Once the FDA approves a generic as

“therapeutically equivalent” to a brand name drug, the generic version “can be expected to have

equal effect and no difference when substituted for the brand name product.” Thus, “[d]rug


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products classified as therapeutically equivalent [to a branded drug] can be substituted with the

full expectation that the substituted product will produce the same clinical effect and safety

profile as the prescribed product.”

       47.     The regulatory filings necessary to market generic drugs are typically made

before the applicable patent expires so that generics manufacturers can maximize the amount of

time they can sell the drug. Under the Federal Food, Drug, and Cosmetic Act (“FDCA”),

manufacturers that create a new drug must obtain FDA approval to sell the product by filing a

New Drug Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include specific data

concerning the safety and effectiveness of the drug, as well as information on applicable patents.

21 U.S.C. § 355(a), (b).

       48.     The Drug Price Competition and Patent Term Restoration Act of 1984 (the

“Hatch-Waxman Act”) simplified the regulatory hurdles for prospective generics manufacturers

by allowing a manufacturer seeking approval to sell a generic version of a brand-name drug to

file an Abbreviated New Drug Application (“ANDA”), a much simpler filing than an NDA.

Once the FDA determines that a drug company’s application contains sufficient scientific

evidence establishing the bioequivalence of the product to a previously-approved branded drug,

an applicant may manufacture, market, and sell the generic drug product.

       49.     Because each generic must be identical, the only real means for manufacturers to

compete is by price. As reported in an audit report by the U.S. Government Accountability

Office (the “GAO”) titled “Generic Drugs Under Medicare,” dated in August 2016 and publicly

released on September 12, 2016 (the “August 2016 GAO Report”) concerning generic drug




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prices, each of the five manufacturers interviewed by the GAO—including Teva—"reported that

competition is the primary driver of generic drug prices.”7

       50.     Ordinarily, and consistent with established economic principles and common

sense, once the first lower-priced generic enters the market, the brand-name drug rapidly loses

sales, and sales continue to decrease. As new generic competitors enter the market, the price of

the drug typically continues to decrease. In a normally functioning market for a generic drug, the

market participants compete to maintain market share, and if one manufacturer raises prices, the

others will lower prices and steal its customers.

       51.     By 2012, resource problems at the FDA had become a significant limitation on

the processing and approval of ANDAs for generic drugs. In 2012, the FDA faced a backlog of

over 2,800 unexamined ANDAs, and the average waiting period for an ANDA approval had

increased to 31 months.

       52.     In addition, the global market for generic pharmaceutical manufacturers has

undergone substantial consolidation since at least 2005, which fueled the growth of a handful of

large manufacturers, like Teva, who together dominate many of the generic drug markets. Teva

gained the status as the world’s largest manufacturer of generic drugs, leading the U.S. generic

market in total prescriptions and new prescriptions, through a series of acquisitions.        For

example, Teva acquired Ivax Corp. for $7.4 billion in 2006, Barr Laboratories for $7.4 billion in

2008, Ratiopharm (Germany’s second largest generic drug producer) for $5 billion in 2010, and

Actavis for $40 billion in 2016.

       53.     Teva’s competitors also went on acquisition sprees. By mid-2015, a handful of

players controlled 50% of the market: Teva (13%), Mylan (11%), Actavis (8%), the Sandoz


7
    U.S. Gov’t Accountability Off., GAO16-706, Generic Drugs Under Medicare Part D 11-12,
    16 (Aug. 2016).


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division of Novartis AG (“Sandoz”) (8%), Sun Pharmaceutical Industries, Inc. (“Sun”) (4%),

Endo International plc (“Endo”) (3%), and Par Pharmaceutical (“Par”) (3%). In 2016, the

consolidation continued with Endo’s acquisition of Par.

       54.     The backlog of unapproved drugs, which limited generic competition, combined

with consolidation of generic drug companies, created a window in which those companies had

the ability to increase prices. For example, the August 2016 GAO Report found that more than

300 of the 1,441 established generic drugs examined by the study had one or more instances of

“extraordinary price increases”—i.e., “periods of prices at least doubling” between the first

quarter of 2010 and the first quarter of 2015. In 2014 alone, more than 100 generic drugs

experienced these extraordinary price increases. For 48 of these 100 drugs, the price increases

were 500% or higher.

             B. BY 2013, TEVA WAS PERFORMING POORLY AND FACING A COLLAPSING ADS
                PRICE

       55.     Heading into 2013, Teva faced a number of significant issues. First, by 2012,

Teva’s ADS price had fallen into the $30s from a high of over $60 in 2010.

       56.     Second, in 2012, Teva received subpoenas from the SEC relating to a Foreign

Corrupt Practices Act (“FCPA”) investigation into Teva’s bribery scheme to generate sales and

gain market share of generic drugs in Russia, Ukraine and Mexico (SEC v. Teva Pharm. Indus.,

No. 1:16-cv-25298 (KMM) (S.D. Fla. Dec. 22, 2016) (ECF No. 1 (Complaint) at ¶ 2)). The

SEC also alleged that Teva deliberately falsified its accounting. Teva’s generics revenues from

“Rest of World” markets (“ROW”) (including those subject to the FCPA investigation) fell

approximately $280 million in 2013 and continued to fall thereafter. Ultimately, Teva paid a

$519 million fine and entered into a deferred prosecution agreement.         The investigation

obstructed the revenue pipelines from those countries.



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       57.    Third, Teva’s U.S. generics business reported dramatically lower revenues, year

over year. Then-CEO Jeremy M. Levin (“Levin”), Teva’s CEO from May 9, 2012 to October

30, 2014, acknowledged in August 2013 that the U.S. generics business had been “slowing

fundamentally” for years.   In fact, Teva was the worst performing generic drug company

compared to its peers, despite being the largest. As a Deutsche Bank analyst concluded in a

May 3, 2013 report, Teva’s overall generics business had “significantly underperformed.”

       58.    Fourth, Teva’s generics segment’s profitability was dominated by one drug—

budesonide, also known as generic Pulmicort—which was at heighted risk of losing exclusivity

in light of a generic entrant from Actavis. Excluding profits from generic Pulmicort, Teva’s

generics segment was close to break-even.

       59.    Fifth, Teva would soon lose its patent protection on Copaxone, which was far and

away its most important drug, accounting for as much as 40% of Teva’s operating profits at that

time. Due to this impending loss of exclusivity, Teva knew it could face generic competition to

Copaxone as early as mid-2014.

       60.    Teva’s business has two reporting segments, specialty medicines (i.e., branded

drugs) and generic medicines. During the Relevant Period, Teva’s generics segment contributed

approximately half of the Company’s revenues. Teva’s U.S. generics business is the most

important part of its generics segment, producing approximately half of Teva’s overall generics

revenues.

       61.    In 2013, Levin announced a strategy focusing on Teva’s specialty medicines

segment. Abruptly, however, Levin was fired on October 30, 2013, after just 18 months as CEO,

and was immediately replaced in an interim capacity by Defendant Desheh. On an investor call

on that date, both Desheh and Chairman Phillip Frost were enthusiastic about Teva’s prospects.




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Desheh informed the market that Teva “ha[d] decided to accelerate” its purported cost reduction

plan and promised “to create a much better, efficient generic machine,” while Frost told analysts

that his friends were buying “hundreds of millions of dollars” of Teva stock.

       62.     In reality, just months earlier, recognizing that the backlog in ANDA approvals at

the FDA discussed above had, at least temporarily, restricted competition for some generic

drugs, Teva had undertaken a risky gambit to improve its results—substantial price increases for

certain of its drugs. In July and August 2013, Teva increased prices on a number of drugs,

namely: Oxybutynin Chloride Tablets; Nadolol Tablets; Fluconazole Tablets; Methotrexate

Sodium Tablets; Cimetidine Tablets; Prazosin Capsules; Ranitidine HCL Tablets; Enalapril

Maleate Tablets; Doxazosin Mesylate Tablets; Etodolac Tablets; Pravastatin Sodium Tablets;

Ketoprofen Capsules; Etodolac SR Tablets; Tolmetin Sodium-Capsules; Clemastine Fumarate;

Diltiazem HCL Tablets; Ketorolac Trometh Tablets; and Diclofenac Potassium Tablets.8

       63.     As this decision had not yielded adequate results by October 2013, however, CEO

Levin lost his job.

       64.     By the beginning of 2014, Desheh’s optimism became more strident as he

announced Teva’s motivation to make a major acquisition, predicting that within 12 to 24

months Teva’s “stock price will go up and we’ll be able to use our share as a currency . . . to

fund transactions.” As Defendant Vigodman took the helm as new CEO in February 2014,

analysts reported that he also supported engaging in a significant acquisition. With the stock

price below $40, however, Teva’s CFO concluded that “[i]t’s just too expensive. There’s no deal

in the world that will justify using our stocks.”




8
    The specific timing and price increases for these drugs are set forth in the charts in Sections
    IV.E and in Appendix A hereto.


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             C. BY 2014, DEFENDANTS WERE FULLY AWARE THAT PRICE HIKES FOR GENERIC
                DRUGS COULD NOT BE MAINTAINED FOR AN EXTENDED PERIOD

       65.     Recognizing the enormous backlog the FDA was experiencing in its ANDA

approval process, and the attendant negative impacts on competition in the provision of generic

drugs, Congress enacted the Generic Drug User Fee Amendments (“GDUFA”) to provide the

FDA with a supplemental revenue source to spur the approval process. GDUFA went into effect

in October of 2012, and instituted user fees on ANDA submissions and other facility fees to

generate $1.5 billion over the life of the five-year program. The goal of GDUFA was to

eliminate the ANDA backlog and reduce the average review time to ten months or less. The

expectation was that, once the fees flowed into the system and new FDA reviewers were hired

and trained, backlogs would decrease and competition would increase, severely curtailing

generic drug makers’ ability to increase prices. Thus, by late 2012 or early 2013, generic

manufacturers knew that within the next one to two years, ANDA approvals would be on the rise

and any ability they had to raise prices would be severely curtailed.

       66.     With the additional funds provided by GDUFA came an FDA commitment to

reach a variety of goals, including accelerating the review process and eliminating the mounting

backlog of ANDA. One such commitment the FDA took was to act on 90% of all backlogged

ANDA by the end of fiscal year (“FY”) 2017.               In a keynote address at the Generic

Pharmaceutical Association annual meeting in the spring of early 2015, the Director of the

FDA’s Office of Generic Drugs, Kathleen Uhl, M.D., pledged accelerated action. The FDA

delivered on Director Uhl’s promise, hiring nearly 1,200 new employees in 2015—more than the

preceding two years combined.




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       67.    As the graph below depicts9, the number of full approvals and tentative approvals

of generic drugs began to reach record heights in or around April 2015:




       68.    On November 9, 2015, InsiderHealthPolicy reported in an article entitled, FDA,

Pressed to Clear Generic Drug Backlog, Says It Is Ahead of Schedule, that the FDA had taken

action on 82% of the backlog “as a rising chorus of voices, including Democratic presidential

candidate Hillary Clinton, press the agency to clear the backlog to help counter rising

pharmaceutical prices.” All told, in 2015, more than 700 generic drugs were approved or

tentatively approved by the FDA—the highest figure in the FDA’s history.

       69.    In addition to the increase in generic competition that would result from the

adoption of GDUFA and subsequent increase in the FDA’s ANDA review capabilities, Teva had



9
    Implementation of the Generic Drug User Fee Amendments of 2012 (GDUFA), Testimony
    of Janet Woodcock, M.D., Director, Center for Drug Evaluation and Research, U.S. Food
    and Drug Administration, Before the Committee on Oversight and Government Reform,
    U.S. House of Representatives, Feb. 4, 2016, at 7.



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other reasons to believe that its ability to increase prices would be a short-term phenomenon that

would not extend beyond 2015 or 2016—at the latest.

       70.       As a result of the initial price increases by Teva and others in 2013, in January

2014, the National Community Pharmacists Association (“NCPA”) wrote to the U.S. Senate

Health Education Labor and Pensions (“HELP”) Committee and the U.S. House Energy and

Commerce Committee regarding generic pharmaceutical pricing. The letter stated that “many of

our members across the U.S. . . . have seen huge upswings in generic drug prices that are hurting

patients and pharmacies ability to operate.” It further noted that “77% of pharmacists reported

26 or more instances over the past six months of a large upswing in a generic drug's acquisition

price.” It asked that the Senate “schedule an oversight hearing to examine what factors may

have led to these unmanageable spikes in generic drugs.”

       71.       On July 8, 2014, The New York Times addressed pricing issues with generic drugs

in an article titled, “Rapid Price Increases for Some Generic Drugs Catch Users by Surprise,”

highlighting a nearly 100% price increase for digoxin, a longtime generic drug that Teva did not

produce. The article stated:

       Though generic medicines are far cheaper to bring to market than brand-name
       drugs because they involve little research and development, they also are priced
       lower because generics typically face intense competition. But Dr. Aaron
       Kesselheim, a professor of health economics at the Harvard School of Public
       Health, noted, “Studies show it is not until you have four or five generics in the
       market that the prices really are down.”

       72.       As a result of this article, the Connecticut Attorney General began an

investigation on pricing issues with a focus on digoxin.       Other Attorneys General quickly

followed suit.

       73.       On October 2, 2014, U.S. Senator Bernie Sanders and U.S. Representative Elijah

E. Cummings sent letters to Teva and thirteen other generic drug companies asking for detailed



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information on various generic drug price hikes. The letter stated: “We are conducting an

investigation into the recent staggering price increases for generic drugs used to treat everything

from common medical conditions to life-threatening illnesses.” It specifically noted that

       We are writing to your company to request information about the escalating
       prices it has been charging for two drugs: Divalproex Sodium ER, which is used
       to prevent migraines and treat certain types of seizures, and Pravastatin Sodium,
       which is used to treat high cholesterol. According to data provided by the
       Healthcare Supply Chain Association (HSCA), the average prices charged for
       these drugs have increased by as much as 736 percent for Divalproex Sodium and
       573 percent for Pravastatin Sodium from October 2013 to April 2014.

Teva never responded to this letter.

       74.     On November 10, 2014, The Wall Street Journal reported that the DOJ was

investigating generic drug manufacturers for violations of the antitrust laws. Later that month,

the DOJ convened a grand jury in the Eastern District of Pennsylvania, pursuant to which

subpoenas were issued to Teva and at least ten other generic drug manufacturers.

       75.     On November 20, 2014, the Senate Subcommittee on Primary Health and Aging

held a hearing entitled “Why Are Some Generic Drugs Skyrocketing In Price?” In his opening

remarks, Senator Sanders noted that

       According to Medicare and Medicaid data, between July 2013 and July 2014, half
       of all generic drugs went up in price. During this same time period, over 1,200
       generic drugs, nearly 10 percent of all generic drugs, more than doubled in price.
       More than doubled in price. In fact, these drugs went up in price by an average of
       448 percent. Dozens of drugs went up by 500, 600, 1,000 percent.

       76.     Other Senators noted the need to reduce the FDA backlog in ANDA approvals to

spur generic competition—a process that was then ongoing.

       77.     As a result of the adoption of GDUFA in 2012, and the intense scrutiny by

Congress, regulators and the press in generic drug pricing (spurred largely by drug price

increases in 2013 and 2014), Teva knew that its ability to obtain additional revenues by raising

prices was a short term phenomenon that would not persist for more than a relatively short (i.e.,


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1-2 year) period of time. Investors were also aware that the flood of new generics to the market

would lead to increased competition and lower prices. Teva therefore knew that acknowledging

price increases could alert investors that any success the Company was experiencing would be

short term.

              D. VIGODMAN BECOMES CEO AND TEVA ANNOUNCES ITS STRATEGY TO USE ITS
                 STOCK AS CURRENCY FOR A MAJOR ACQUISITION

        78.     In January 2014, Teva announced the appointment of Vigodman as its President

and CEO, effective February 11, 2014. From the time Vigodman was hired, it became clear that

Teva’s plan was to solve its long-term issues through a major acquisition by using its stock to

facilitate a deal. This strategy was related to Teva’s planning for the end of its patent for

Copaxone in 2017. Copaxone is used to treat multiple sclerosis and was a huge success for

Teva, providing as much as 40% of Teva’s operating profit in some years. “Teva’s management

anticipated the patent and pricing issues well in advance, and decided that the company should

buy its way out of the problem through major acquisitions.”10

        79.     Thus, at a January 14, 2014 J.P. Morgan Healthcare Conference, Defendant

Desheh explained that Teva was in a position to make “more than a small acquisition or in-

licensing transaction.” He specifically noted that this “major commitment” was supported by the

recent recruitment of Vigodman who would “emphasize (potentially large) acquisitions more

readily than his predecessor,” ideally using Teva’s ADS as “currency.”

        80.     On March 4, 2014, at a Cowen Health Care Conference, Desheh noted that, with

“the stock price under $40, . . . we can’t use [Teva ADS as] currency” for the large acquisition he

had touted two months earlier.



10
     David Segal and Isabel Kershner, “‘Nobody Thought It Would Come To This’: Drug Maker
     Teva Faces A Crisis,” N.Y. Times (Dec. 27, 2017), at B1.


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              E. TEVA SUBSTANTIALLY INCREASES PRICES ON A MULTITUDE OF DRUGS TO
                 PROP UP ITS DECLINING REVENUES AND INCREASE ITS SHARE PRICE

        81.      With the arrival of Vigodman, Teva intensified its undisclosed plan to increase

the prices it charged for an array of its generic drug offerings. Including the multiple drugs

where it had raised prices in 2013, beginning in April 2014 and extending through July 2015,

Teva raised prices on additional drugs and, in total, raised prices on at least 55 drugs. These

undisclosed price increases fit into one of three categories: (1) 28 drugs where Teva was the

only (or only major manufacturer) increasing the price of the generic drug; (2) 24 drugs where

Teva’s price increase occurred in parallel with increases by other manufacturers; and (3) three

drugs where governmental investigations have indicated there may have been active collusion

between Teva and other manufacturers. In total, the price increases swelled Teva’s revenue by

billions of dollars.

                 1. Teva Unilaterally Increased Prices on Dozens of Drugs

        82.      Beginning in 2013 and extending through early 2016, Teva recognized that the

FDA’s ANDA backlog had bestowed it with significant market power with respect to a number

of drugs. In response, Teva unilaterally increased prices on at least 28 generic drugs by

significant amounts. The drugs and the dates and amounts of increases are set forth below:




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                                                             Percentage
         Generic Drug            Period of Increase11        Increase12      Increased Revenue13
       Anagrelide HCL                 3/14-12/15                243%             $17,134,558
          Cimetidine                  6/13-6/18                869%              $12,797,442
      Ciprofloxacin HCL               12/14-1/17               1111%            $102,373,807
        Clemastin Fum                 7/13-12/16               223%               $3,410,833
         Clotrimazole                 8/14-12/17               500%               $3,193,627
      Cromolyn Sodium                 7/14-6/18                392%               $6,029,503
     Cyrpoheptadine HCL               3/14-11/17               110%               $7,460,259
           Diclofenac                  1/13-8/15                310%             $21,783,410
     Dicloxacillin Sodium              3/14-8/17                 98%             $13,326,041
        Diltiazem HCL                 7/13-1/16                205%              $38,020,901
          Etodolac SR                 7/13-1/14                200%              $49,403,608
        Fluoxetine HCL                1/15-6/18                 769%             $29,043,960
           Flutamide                  11/15-7/16                55%                 $88,170
      Fosinipril Sodium               2/15-9/15                 60%               $3,928,025
          Griseofulvin                2/15-3/16                276%              $16,148,357
       Hydroxyzine Pam                 3/14-1/18                173%             $11,019,351
          Ketoprofen                  7/13-5/18                746%               $6,131,456
      Ketorolac Trometh               7/13-5/16                409%              $36,732,068
       Loperamide HCL                 8/14-2/16                119%              $15,651,417
         Megestrol Ace                2/15-6/15                 35%                $762,856
     Methotrexate Sodium               6/13-1/15                579%            $138,314,084

11
      A nationally recognized database was used to calculate prices per unit. The data reflect
      prices at wholesale, but do not reflect off-invoice discounts and rebates. The data show sales
      prices reflecting the inventory in any given month. Even though price increases may be set
      at a particular point in time, because the data tracks actual market pricing, these prices
      increases can take time to work through the system as older stocks with lower prices are sold
      and replaced by newer stocks with higher prices. The period of increase is calculated with
      respect to the beginning of the price increase and the month of the peak price after the price
      increase.
12
      This represents the percentage increase for the most commonly prescribed dosage level for
      the period in the prior column. All dosages and relevant periods are set forth in Appendix A
      hereto.
13
      To determine increased revenue, the month prior to the price increase was identified. Then
      it was assumed that this “but-for” price would have continued from that point onward had
      the price increase not occurred. The increased revenue is the difference between the actual
      monthly prices and the pre-increase price, multiplied by total quantity. Increased revenue is
      only calculated for months where the actual price is greater than the pre-increase price. This
      calculation is performed separately for each formulation of a given product.


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         Methydolpa                   1/15-2/17                  216%              $645,886
       Mexiletine HCL                 8/14-4/17                  124%            $23,345,258
      Nefazodone HCL                 8/14-11/16                  120%            $23,479,496
      Nortriptyline HCL               1/15-9/16                  158%            $20,967,422
        Prazosin HCL                 11/12-11/15                 243%            $43,272,877
       Ranitidine HCL                 6/13-1/17                  611%            $41,038,333
      Tolmetin Sodium                 7/13-6/17                  265%             $2,652,049

         83.     In total, comparing the year prior to the price increase to the year after the

increase, Teva’s revenues for these drugs increased by a total of $688.1 million.

                 2. Teva Increased Prices in Parallel with Other Manufacturers for a
                    Number of Drugs

         84.     Beginning in 2013 and extending through early 2016, Teva, acting in response to

or in parallel with other manufacturers, increased prices on at least 24 generic drugs. The drugs

and the dates and amounts of increases are set forth below:

                                                                                       Average
                                 Period of              Percentage     Increased      Increase of
       Generic Drug              Increase               Increase14      Revenue      Competitors15
          Baclofen              3/14-2/15                 306%       $143,490,678         716%
        Bumetanide              3/14-7/16                 652%        $86,977,165         258%
     Cabidopa-Levodopa          6/16-12/16                 51%             $94,699         79%
       Carpamazepine            8/14-12/16                909%        $81,660,368         792%
         Cephalexin             3/14-7/14                 171%        $52,800,891         320%
          Danazol               1/15-3/16                 169%         $3,588,552          76%
       Dipyridamole             6/15-12/17                413%          $1,486,507        245%
     Divalproex Sodium          3/13-6/18                 444%         $8,765,463         166%
      Doxazosin Mesy            7/13-10/15                666%        $45,742,141         908%

14
      This represents the percentage increase for the most commonly prescribe dosage level for the
      period in the prior column. All dosages and relevant periods are set forth in Appendix A
      hereto.
15
      Competitor price increases are included here if the data showed a price increase generally
      within a month or two of Teva’s price increase for the same drug and formulation. The data
      in this chart represent the average percentage increase for all competitors that increased the
      price on at least one dosage of the drug. All competitors, dosages and relevant periods are
      set forth in Appendix A hereto.


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                                                                                      Average
                               Period of             Percentage       Increased      Increase of
    Generic Drug                Increase             Increase14        Revenue      Competitors15
       Enalapril              6/13-12/16              1728%          $55,084,975       1222%
      Estazolam                3/14-6/18               132%          $20,790,429        277%
       Estradiol               7/12-1/16               198%           61,704,439        273%
        Etotolac              3/13-12/15               501%          $49,403,608        333%
     Fluconazole               5/13-8/13               487%          $98,589,022        643%
     Fluocinonide             5/14-12/14               182%         $110,899,192        358%
     Glimepiride               1/15-8/15               199%          $19,091,825        214%
     Ketoconazole              3/14-9/16               590%          $54,025,729        945%
   Meperdine HCL               7/14-5/16               439%            $9,463,723       389%
        Nadolol               6/13-10/16              1143%          $70,875,535        131%
    Oxybutynin CL              5/13-1/16               869%          $97,355,732        535%
 Penicillin V Potassium       10/16-3/17               440%          $27,574,780        412%
    Pravastatin Sod           7/13-11/13               437%         $373,633,425        394%
   Propranolol HCL             5/13-5/14               298%         $256,345,498        900%
   Trazodone HCL               6/15-2/16               112%         $100,168,909        130%

        85.     In total, comparing the year prior to the price increase to the year after the

increase, Teva’s revenues for these drugs increased by a total of $1.83 billion.

                3. Teva Actively Colluded with Other Generic Drug Manufacturers to Fix
                   Prices

        86.     With respect to three drugs as to which Teva made significant price increases—

Nystatin, Theophylline ER, and Glipizide-Metformin—there is direct evidence that the price

increases were the result of collusion with other manufacturers. Teva increased prices for and

revenues from these drugs as follows:

                                                            Percentage
  Generic Drug                Period of Increase            Increase16      Increased Revenue
 Glipizide Metform                2/13-2/16                   142%             $14,683,227
      Nystatin                    3/14-11/15                   52%              $4,334,575

16
     This represents the percentage increase for the most commonly prescribe dosage level for the
     period in the prior column. All dosages and relevant periods are set forth in Appendix A
     hereto.


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     Theophylline                  3/14-7/14                  172%             $25,624,945


        87.     Direct Evidence of Price-Fixing: Nystatin and Theophylline ER. Nystatin is a

medication used to fight fungal infections. The generic Nystatin sold by Teva is AB-rated to the

brand name drug Mycostatin®. During the Relevant Period, Teva’s two main competitors for

Nystatin were Heritage Pharmaceuticals Inc. (“Heritage”) and Sun Pharmaceuticals (through its

division Mutual Pharmaceuticals (“Mutual”)).

        88.     Theophylline ER is a medication used to treat asthma and airway narrowing

associated with long-term asthma or other lung problems, such as chronic bronchitis and

emphysema. The generic Theophylline ER sold by Teva is AB-rated to the brand name drug

Theodur®. Theophylline ER is an extended release medication, which means that it is released

into the body throughout the day. During the Relevant Period, Teva’s primary competitor for

Theophylline ER was Heritage.

        89.     As evidenced by facts and documents detailed in the State AGs’ Consolidated

Amended Complaint against Teva and others dated June 18, 2018 (the “State AGs’ CAC”),

Teva, Heritage and Mutual exchanged numerous e-mails and text messages regarding the prices

of generic Nystatin and Theophylline ER during the Relevant Period.              Many of these

communications were, on information and belief, between Nisha Patel (“Patel”), Teva’s former

Director of Strategic Customer Marketing from April 2013 to August 2014 and its Director of

National Accounts from September 2014 to December 2016, and Jason Malek (“Malek”), the

former President of Heritage who pled guilty to Sherman Act antitrust violations for price-fixing

in January 2017.17 For example:


17
     Based on publicly available social media sites, Patel’s tenure at Teva aligns with the tenure
     of Malek’s contact at Teva.


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   a) In July 2013, Patel had a series of phone calls with Malek. The three calls

      spanned 43 minutes, including an initial call on July 7 that lasted for 21

      minutes.

   b) On July 30, 2013 Patel and Malek spoke twice, with the second of those two

      calls lasting more than twelve minutes. In between these two calls, another

      Heritage representative spoke with a Mutual representative for nearly eleven

      minutes.

   c) After these calls, Nystatin was identified on an internal Teva document listing

      “potential” price increases, notwithstanding that Teva management had

      declined to raise prices a month earlier. Patel then left for maternity leave in

      August 2013 until the end of 2013.

   d) On February 5, 2014, Patel and Malek spoke for more than one hour. Two

      days later, on February 7, Nystatin was again identified on an internal Teva

      document listing drugs for potential price increases. Patel and Malek had

      several additional calls in February and March 2014.

   e) On April 4, 2014, Teva increased the weighted average cost (“WAC”) price

      for Nystatin and Theophylline ER.

   f) On April 15, 2014, Patel and Malek spoke for 17 minutes and discussed price

      increases for Nystatin, Theophylline, and several other generic drugs.

   g) On June 23, 2014, Heritage employees internally discussed strategies to

      implement its own price increases of Nystatin, which it had slated for a 95%

      increase, and Theophylline ER, which it has slated for a 150% increase. In

      her notes about the call, a Heritage representative indicated that Heritage had




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                to increase its WAC pricing for Nystatin, because Teva had. On June 25,

                2014, the Heritage representative exchanged text messages with her contact at

                Sun/Mutual to let her know the details of Heritage’s anticipated price increase

                for Nystatin.

             h) On June 25, 2014, Malek also spoke with Patel for nearly fourteen minutes,

                during which Malek reported that Heritage would increase its prices for

                Theophylline shortly.

             i) On June 30, 2014, Patel emailed her colleagues, acknowledging the

                agreement with Heritage.

             j) By July 9, 2014, Heritage had increased Nystatin prices for at least fourteen

                of its customers nationwide, and by at least August of 2014, Sun began

                increasing its price for Nystatin as well. In addition to leading the price

                increases for Nystatin, Teva also refused to bid or challenge Heritage’s price

                increases when requested by Heritage customers. Indeed, on July 8, 2014, a

                large retail customer emailed a Teva representative requesting a quote for

                Nystatin, but Teva refused to bid or challenge the Heritage price increase for

                this customer.

             k) Also by July 9, 2014, Heritage had increased prices for Theophylline ER for

                at least twenty different customers nationwide, much as Teva had done three

                months earlier.

       90.      The agreements between Teva and these other drug companies to increase prices

for Theophylline and Nystatin were part of a scheme to manipulate prices for these drugs.




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       91.      Direct Evidence of Price-Fixing: Glipizide-Metformin. Glipizide-Metformin is

a medicine indicated for the treatment of high blood sugar levels caused by Type-2 diabetes.

The generic Glipizide-Metformin manufactured by Teva is AB-rated to the brand name drug

Metaglip®. Prior to and during the Relevant Period, Teva’s only two competitors for Glipizide-

Metformin were Heritage and Mylan. In 2016, Zydus entered the market with less than 2%

market share.

       92.      Beginning in April 2014, representatives from Teva, Heritage, Zydus, Mylan,

Aurobindo, and/or Citron participated in numerous phone calls, and exchanged numerous emails

and text messages regarding the prices of generic Glipizide-Metformin.

       93.      On April 15, 2014, Heritage’s Malek spoke with Patel for more than seventeen

minutes, during which they discussed Heritage’s intention to raise the price of Glipizide-

Metformin and other drugs, and Teva agreed that if Heritage raised the price of these drugs, Teva

would follow with its own price increase or, at least, would not challenge Heritage’s price

increases by seeking to underbid Heritage and take its accounts. Malek and Patel spoke several

more times over the next several months, during which Malek and his contact confirmed the

agreement to raise Glipizide-Metformin, prices, and Malek updated Patel on the progress of

Heritage’s price increases.

       94.      By May 9, 2014, a Teva representative had spoken with a Mylan representative

multiple times regarding Glipizide-Metformin, including one call that lasted more than seven

minutes, and the two continued to stay in close contact throughout the rest of 2014.

       95.      Other Indicia of Price Collusion. In addition to the direct evidence of price

collusion between Teva and its rival drug maker in the form of inter-company communications,

there are other indicia of collusion. For example, there was no reasonable justification for the




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price hikes discussed above. While a supply shortage can explain an abrupt rise in prices, here—

notwithstanding drug manufacturers’ obligation to report shortages to the FDA—no such

shortages were reported during the Relevant Period.        In addition, there was no significant

increase in the demand for these drugs or in the drugs’ production costs that would explain the

enormous price increase.     In addition, price increases of this magnitude would have been

contrary to Teva’s and each of the co-conspirators’ economic interest absent the price-fixing

scheme. Without the certainty that all of the co-conspirators would raise and maintain the prices

for the relevant drugs, each co-conspirator risked getting undercut by the others, leading to a loss

of market share and a loss of revenue.        This risk was alleviated by the co-conspirators’

agreement to raise and maintain their prices for the relevant drugs.

       96.      In addition, Teva and the Individual Defendants had a palpable motive to fix

prices with Teva’s competitors which derives from the nature of the U.S. generic drug market

itself. As discussed above, because federal law requires each generic pharmaceutical to be

readily substitutable for another generic of the same brand drug, competition will cause prices to

fall until they near generic drug makers’ marginal production costs. This stabilization of prices

in turn caused Teva’s profits and revenues to level off, thus giving Teva and its co-conspirators a

common motive to conspire to raise prices.

       97.      With the backdrop of this common motive in mind, the markets for Nystatin,

Theophylline ER, and Glipizide-Metformin were all susceptible to anti-competitive conduct for

the following economic reasons:

             a) The market for each of the three drugs referenced above was highly
             concentrated and controlled by a handful of companies. A more concentrated
             market is more susceptible to anti-competitive behavior, due in part to the
             relative ease with which co-conspirators can monitor each other’s pricing
             behavior to ensure adherence to the price-fixing agreement. Moreover, in a


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   highly concentrated market, there is a lower probability that each company has
   different production costs, which facilitates the maintenance of a price-fixing
   scheme.

   b) Barriers to entry into a market can delay, diminish, or even prevent the
   attraction and arrival of new market participants, which is the usual mechanism
   for checking the market power—i.e., the ability to set prices above market
   costs—of existing participants. Entry barriers include things like: trade secrets,
   patents, licenses, capital outlays required to start a new business, pricing
   elasticity, and difficulties buyers may have in changing suppliers. If there is no
   significant threat that new firms will enter a market, a single firm with a
   dominant market share—or a combination of firms with a significant percentage
   of the market—is able to engage in anticompetitive conduct, such as restricting
   output and raising prices to the detriment of consumers. Barriers to entry in the
   markets for generic drugs include, among other things, high manufacturing costs,
   and regulatory and intellectual property requirements.        For example, the
   requirement that companies file an ANDA and receive FDA approval can delay
   entry into the market by an average of thirty-six months.

   c) The presence of alternative products that can easily be substituted for a given
   product serves to undermine anti-competitive behavior. Conversely, the absence
   of available substitutes increases the susceptibility of a market to
   anticompetitive behavior because consumers have no alternative but to purchase
   the product, notwithstanding any price increases. In the context of prescription
   drugs, a pharmacist presented with a prescription for a given drug can only
   substitute another drug if that drug has an “AB” rating. Only generic and brand-
   name versions of a drug are AB-rated to one another. Therefore, a pharmacist
   can only fill a prescription for a given drug with the brand-name version or one
   of the AB-rated generic versions and cannot substitute another drug.

   d) A standardized, commodity-like product with              a high     degree   of
   interchangeability between the goods of the participants in an anti-competitive
   conspiracy also increases the susceptibility of a given market to anti-competitive



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             conduct.   By their very nature, all generic versions of a given drug are
             interchangeable, as every generic version of a drug must be bioequivalent to the
             original, brand-name drug.

       98.      In addition to the economic characteristics of these markets which indicate a

susceptibility to anti-competitive conduct, representatives from Teva and its co-conspirators had

substantial opportunities to meet, socialize and engage in collusive conduct. Teva and its co-

conspirators routinely attended conferences, meetings, and trade shows sponsored by various

pharmaceutical trade associations, interacted with each other and discussed their respective

businesses and customers, and to discuss, devise, and implement the price-fixing schemes set

forth herein. Social events and other recreational activities—including golf outings, lunches,

cocktail parties, and dinners—were also organized in conjunction with the trade association

events and provided further opportunities for these representatives to meet outside of the

traditional business setting and engage in the collusive activities alleged herein. Teva even

reserved a “strategic exchange” bungalow at the 2013 and 2014 annual meetings of the National

Association of Chain Drug Stores (“NACDS”) which NACDS marketed as an “opportunit[y] to

meet and discuss strategic issues with key trading partners.” Such bungalows provided Teva and

its competitors with a secluded place to conduct business privately. A list of these industry

events and the attendees from Teva and others in the generics industry, including Teva’s co-

conspirators, is attached as Appendix B hereto.

                4. Teva Reaps Billions of Dollars of Increased Revenues and Profits As a
                   Result of the Price Increases

       99.      As a result of the price increases described above, between 2014 and 2016, the

total additional revenues obtained from these price increases was $2.5 billion. Further, because

price increases impose minimal additional costs on Teva, these revenue increases were,

effectively, increases in Teva’s profitability resulting from the price increase strategy.


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       100.    On an annual basis, the increased revenues began to impact Teva’s bottom line

beginning in 2013, peaked in 2015, and by 2017, had substantially declined as increased price

competition negatively impacted Teva’s ability to successfully implement its price increase

strategy. The additional revenues earned by Teva from its price increase strategy for 2013

through November 2014 are set forth in the chart below:

                              Total Additional Revenues Earned
                                    From Price Increases
                                  2013            $222,115,831

                                   2014               $656,024,837

                                   2015               $747,045,795

                                   2016               $541,772,741

                                   2017               $273,812,033

                                   2018                $74,887,541

                                   Total             $2,515,686,778


           F. TEVA MISLEADS INVESTORS REGARDING THE BASIS FOR ITS IMPROVED
              FINANCIAL PERFORMANCE

       101.    In connection with its price increase strategy, Teva sought at all costs to avoid any

suggestion that price increases were the cause of its seemingly miraculous turnaround.

Accordingly, at the beginning of the Relevant Period, Teva attributed its increase in revenues for

the end of 2014 to higher sales volumes and launches of new generic drugs. Nothing was said

about the multiple drug price increases from the summer of 2013.

       102.    In May 2014, touting its first quarter results, Teva again relied upon “new product

launches” and a changed composition of revenues to explain its increased profitability.




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       103.     On October 30, 2014, during the third quarter earnings call, Teva was specifically

asked about the impact of price increases, but Defendant Olafsson deflected, suggesting that

there were no significant increases since “the base business itself is slowly eroding . . . .”

       104.     During a conference call in December 2014, Defendant Olafsson was asked a

question that was based upon an assumption that wholesalers of generic drugs were experiencing

“extraordinary price increases.”     Defendant Olafsson rejected the premise of the question,

stating: “let me correct.    I have to disagree that they have experienced tremendous price

increase[s].”

       105.     Throughout 2015 and early 2016, Vigodman, Desheh and Olafsson flatly denied

that Teva’s improved performance was the result of price increases:

               October 29, 2015 (Vigodman): “[A]ll the improvements you see in our margins
                is not driven by price. It is driven by quantities, and by mix, and by efficiency
                measures, not by price, 2014, 2015. And that’s a very important message.”

               November 19, 2015 (Desheh): “There is a lot of noise around pricing issues.
                Some of it is coming from politicians [who are] driving agenda[s] . . . . Our
                exposure to all these things is very minimal . . . . I believe there are many
                examples for competitive environment, real competition, like we see in the
                generic market in the United States . . . . Teva was not associated with any of
                that.”

               February 11, 2016 (Olafsson): “So how did we do this [increase our profit
                margin by $1 billion over 24 months]? Not by pricing but by portfolio mix, new
                products, and efficiency measures.”

       106.     All of the above statements were false because by July 2015, Teva had raised

prices on more than sixty-one drugs, including many by more than 250%.

       107.     In addition, Teva made statements about its strategy in various markets including

Russia, including statements in its 2014 20-F that Teva’s “key ROW markets” included Russia,

which “is characterized by rapid growth and relatively high sales of branded generics and OTC

products,” and that Teva’s “ROW strategy is to be selective as to where we do business, focusing



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on the countries and segments where we can achieve a significant position. Over time and with

the right opportunities, we intend to expand our presence in markets such as Russia, China,

Brazil, and India.” Teva’s 2014 20-F further stated that Russia “is primarily a branded generic

market” where “we market a diverse portfolio of products. We are currently one of the largest

pharmaceutical companies in Russia, playing a role in the commercial, retail, hospital and state

funded segments. The Russian government seeks to encourage the use of generic products in

order to reduce the cost of pharmaceuticals and increase patient access, which is influencing our

portfolio strategy.   The government is further seeking to encourage local pharmaceutical

production by providing incentives, and we have recently established a manufacturing facility in

Yaroslavl, Russia.” Teva made substantially similar statements in its 2015 20-F.

       108.    The 2014 20-F further stated that Teva’s management assessed the effectiveness

of the Company’s internal control over financial reporting as of December 31, 2014, and

concluded that its internal controls were effective, and that Defendants Vigodman and Desheh

evaluated the effectiveness of the Company’s disclosure controls and procedures as of December

31, 2014, and concluded that its disclosure controls and procedures were effective. Teva made

substantially similar statements in its 2015 20-F.

           G. GENERIC DRUG PRICE INCREASES BOOST TEVA’S ADS PRICE

       109.    In 2014, despite the storm clouds raised by press stories, government

investigations and the increasing pace of the FDA’s ANDA approval process, Teva’s price

increases fueled a turn-around success story for Teva’s U.S. generics business, which reported

approximately a $250 million (or 6%) increase in revenues over the prior year. Teva’s ADS

price soared as a result, jumping more than 50% from around $37 in late October 2013, to

approximately $56 by the end of 2014. These astonishing year-over-year increases in U.S.




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generics revenues were accomplished in the face of twenty-three million fewer prescriptions than

in 2013.

        110.   The price increases also led to a banner year in 2015 for Teva’s U.S. generics

division, which spearheaded the Company’s growth story, fueling an unprecedented increase in

the price of Teva ADS. Teva reported the 2015 gross profit from its overall generic medicines

segment as $4.5 billion, an increase of $246 million, or 6%, compared to $4.3 billion in 2014,

and a profit (with expenses removed) of $2.7 billion in 2015, compared to $2.2 billion in 2014,

or a difference of almost 24%. Most of these glowing results stemmed from Teva’s U.S.

generics division, which reported revenues of $4.8 billion, an increase of $375 million, or 8%,

over 2014, which itself had been a flagship year for U.S. generics. Teva’s inflated ADS price

rocketed from approximately $55 at the beginning of the year to more than $70 by late July

2015.

           H. DEFENDANTS LAY PLANS FOR A MAJOR ACQUISITION—INFLATING THE ADS
              PRICE TO USE AS “CURRENCY”

        111.   Undeterred by the public outcry regarding the price increases and the government

investigations into generic price-fixing, as well as Teva’s knowledge that price increases could

not be maintained over the long-term as generic competition increased, Defendants continued to

pursue plans—contemplated from the time Vigodman was hired as CEO in January 2014—to

engage in large acquisitions to position the Company for the end of its Copaxone patent rights.

        112.   On April 21, 2015, with the ADS shares trading at the artificially inflated price of

approximately $66 per share, Defendants announced an offer to acquire all of the outstanding

shares of Mylan in a transaction valued at $82.00 per Mylan share, with the consideration to be

comprised of approximately 50% cash and 50% stock.             The acquisition fell through; yet

Defendants continued to pursue other acquisition options, all the while continuing to



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misrepresent and omit material facts regarding the Teva’s ongoing price-fixing conspiracy and

source of its financial success.

           I. TEVA ANNOUNCES A $40 BILLION ACQUISITION OF ACTAVIS FUELED BY ITS
              INFLATED SHARE PRICE, AND A PROPOSED BOND OFFERING

       113.    Fueled by Defendants’ misleading statements, Teva’s ADS price reached a new

all-time high of $72 on July 27, 2015. On that day, Teva announced it had entered into a

definitive agreement with Allergan plc (“Allergan”) to acquire Allergan’s worldwide generic

pharmaceuticals business, Actavis, for $40.5 billion in cash and equity.

       114.    As would later be revealed during a call with investors on October 29, 2015,

Defendants planned to raise approximately $6.75 billion from a secondary public offering of

ADS and an initial public offering of Preferred Shares, and approximately $27 billion from a

debt issuance and term loans, to finance the acquisition.

       115.    On the same day, Teva issued its 3Q15 results, which were ahead of the street’s

expectations, and again raised its full year guidance. As summarized by the analysts at UBS in

their October 29, 2015 report, “Our takeaway: Another good quarter.”

               1. Teva Issues $3.375 Billion in ADS and $3.375 Billion in Preferred Shares
                  While the ADS Trade at an Inflated Price

       116.    On December 8, 2015, Teva closed the ADS/Preferred Offering, which consisted

of a secondary offering of ADS and Teva’s initial offering of Preferred Shares (which were

7.00% mandatory convertible preferred shares). Teva issued 54 million ADS at $62.50 per ADS

in the secondary offering, raising approximately $3.375 billion from investors. These ADS were

offered publicly pursuant to the ADS/Preferred Registration Statement and certain prospectus

materials. Teva also issued 3,375,000 Preferred Shares at $1,000.00 per share, raising another

$3.375 billion from investors. Each Preferred Share was to be converted into a number of ADS

equal to the conversion rate set forth in the Preferred Prospectus, between 13.3333 and 16.0000.


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        117.    On January 6, 2016, Teva sold an additional 5.4 million ADS and an additional

337,500 Preferred Shares pursuant to the exercise of an overallotment option held by the

underwriters of the ADS/Preferred Offering. In total, Teva generated net proceeds from the

ADS/Preferred Offering of approximately $7.24 billion.

                2. Defendants Rush the Notes Offering, Concealing the Fact that Teva Had
                   Been Served Subpoenas by the DOJ and the Connecticut Attorney
                   General

        118.    On July 13, 2016, Vigodman announced that Teva would accelerate the timing of

the bond offering related to the Actavis deal, despite the fact that it “lacked full visibility into the

Actavis Generics number.” According to Vigodman:

        [W]e are closely monitoring the corporate bond markets and given the various
        attractive terms currently prevailing there, we are considering accelerating our
        planned debt offering. With this in mind, and despite the fact that we will not yet
        have full visibility into the Actavis Generics number, and in particular, certain
        pipeline information, we have decided to provide you today with our best
        estimate of the financial outlook for Teva in 2016 to 2019, following the close of
        the deal.

        119.    This was surprising because just a few weeks earlier, on a May 9, 2016

conference call, Desheh had told investors that the offering would not happen until after the

Actavis deal closed.

        120.    On July 21, 2016, Teva consummated, through a special purpose finance

subsidiary, the Notes Offering of an aggregate of $15 billion of debt securities comprised of the

Notes, specifically (i) $1,500,000,000 of 1.400% Senior Notes due 2018; (ii) $2,000,000,000 of

1.700% Senior Notes due 2019; (iii) $3,000,000,000 of 2.200% Senior Notes due 2021;

(iv) $3,000,000,000 of 2.800% Senior Notes due 2023; (v) $3,500,000,000 of 3.150% Senior

Notes due 2026; and (vi) $2,000,000,000 of 4.100% Senior Notes due 2046.




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       121.    In connection with the Notes Offering, Teva filed registration and prospectus

materials, yet omitted any mention of the subpoena served by the Connecticut Attorney General

on July 12, 2016, nor of the subpoena from the DOJ received on June 21, 2016.

       122.    As of July 31, 2016, Teva had raised $20.3 billion from the Notes Offering to

complete the Actavis acquisition. The Actavis deal closed on August 2, 2016. In the related

August 2, 2016 press release, Vigodman falsely declared that the “acquisition of Actavis

Generics comes at a time when Teva is stronger than ever—in both our generics and specialty

businesses.”

       123.    In sum, of the $33.4 billion owed Allergan beyond the transfer of Teva stock

(priced as of July 2015), $5 billion was funded by Teva borrowing from its loan facility, and $8.1

billion from cash on hand that was previously raised in the ADS/Preferred Offering, including

from its December 2015 equity offerings and borrowings under its syndicated revolving credit.

The remaining $20.3 billion came from the proceeds of the Notes Offering. If Defendants had

been unable to secure financing for that debt, according to the terms of the deal’s structure,

Teva’s agreement with Allergan would have required Teva to pay

Allergan $2.5 billion.

           J. THE FRAUD UNRAVELS, CAUSING THE PRICES OF TEVA SECURITIES TO FALL

               1. Days After the Close of the Actavis Transaction, Teva Belatedly
                  Announces It Is the Subject of Government Antitrust Investigations

       124.    On August 4, 2016, just two days after the Actavis transaction closed, Teva

reported 2Q16 financial results that reflected a $434 million decline in revenues in its U.S.

generics segment compared to 2Q15. The end of Teva’s ability to maintain growth through price

increases was due to the massive increase in competition as the result of the FDA’s vastly




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accelerated pace of ANDA approvals, as well as increased scrutiny by, among others,

government officials and regulators.

       125.    Defendants also revealed for the first time that Teva was the subject of two

investigations, by the DOJ and State AGs, respectively, into generic drug price collusion. In

fact, the DOJ had served Teva with a subpoena on June 21, 2016, and the Connecticut Attorney

General served a subpoena (as part of the State AGs’ investigation) on July 12, 2016—just one

day before Teva announced and opened the $20 billion Notes Offering, although Defendants did

not disclose either subpoena until the Notes Offering, and the Actavis acquisition, closed.

Teva’s sudden decision to accelerate the Notes Offering now appeared to have an explanation.

Upon this news, the price of Teva’s securities fell.

       126.    Despite the revelation of government inquiries and the continued unraveling of

Teva’s ability to maintain elevated drug prices, Defendants doubled down, expressly denying the

impact of price hikes and reaffirming their inflated outlook for 2016.

       127.    Defendants’ denials were deeply undermined when, on September 12, 2016, the

GAO Report was publicly released.         This report, based upon a review of Medicare data,

concluded that generic drug manufacturers, including Teva, had made hundreds of unexplained

“extraordinary price increases”—defined as a particular drug’s price increasing over 100%

within a 12-month period—including numerous price increases of more than 1,000%. Teva

owned the rights to at least 40% of the drugs identified in the GAO Report as having exhibited

an extraordinary price increase between 2013 and 2015.

       128.    Further, after Bloomberg and other media outlets reported, between November 3

and November 10, 2016, that U.S. prosecutors could seek criminal charges related to their price-

fixing investigation by year-end, resulting in sizable liabilities for Teva and other generic drug




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manufacturers, Teva flatly denied any wrongdoing, stating, “Teva is not aware of any facts that

would give rise to an exposure to the company with respect to these subpoenas.”

       129.      This denial was false. Only a month later, the State AGs filed a complaint

alleging direct evidence that Teva had engaged in a conspiracy to fix the prices of numerous

generic drugs.

                 2. The Market Is Surprised By Dismal Results for the Third Quarter of
                    2016 and the Firing of Olafsson

       130.      On November 15, 2016, Teva reported third quarter 2016 revenues below

consensus expectations, which Defendant Olafsson stated were a result of pricing pressures in

Teva’s U.S. generics business. This news was a shock and a disappointment in light Defendants’

bullish comments on Teva’s generics business and statements concerning price trends. On this

news, the price of Teva’s securities dropped.

       131.      Less than three weeks later, on December 5, 2016, amid Teva’s deteriorating

financial condition, the Company unexpectedly announced the “retirement” of Olafsson, the 48-

year-old head of generics.     His replacement, Dipankar Bhattacharjee, took over effective

immediately. In reality, Olafsson did not “retire.” He was fired. The price of Teva’s securities

dropped again in response.

                 3. The Truth Emerges Related to Russia, Ukraine, and Mexico

       132.      On December 22, 2016, the DOJ issued a press release entitled “Teva

Pharmaceutical Industries Ltd. Agrees to Pay More Than $283 Million to Resolve Foreign

Corrupt Practices Act Charges.” This press release stated the payment was a criminal penalty

connection with the bribery of government officials in Russia, Ukraine, and Mexico, and

explained that Teva had entered a deferred prosecution agreement in connection with a criminal

information filed the same day in the Southern District of Florida. Further, the press release



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explained that Teva LLC (Russia) had entered a plea agreement with the DOJ, pleading guilty to

conspiracy to violate the FCPA in connection with its bribery of a Russian official. The plea

agreement included the admission that Teva LLC (Russia) did not timely and voluntarily self-

disclose the FCPA violations to the DOJ. The DOJ’s December 22, 2016, press release, the

criminal information, and Teva LLC (Russia)’s plea agreement are each incorporated herein in

their entirety. Those documents detailed Teva’s bribery of government officials in Russia,

Ukraine, and Mexico.

               4. Teva’s Profits from Its Price Increase Plan Further Dry Up, and
                  Vigodman and Desheh Are Forced Out of the Company

       133.    On January 6, 2017, Teva reduced its 2017 guidance, far below market

expectations, which Vigodman attributed “to not being able to realize new launches in . . . Teva

[’s] legacy business,” rather than to pricing pressure as generic competition increased. With this

report of reduced revenues, the price of Teva securities declined precipitously.

       134.    Shortly thereafter, on February 6, 2017, Teva announced the termination of

Vigodman, effective immediately and without a permanent replacement. The press release noted

that Vigodman’s service on Teva’s Board had also ended.             As with Olafsson, investors

questioned the timing and abruptness of Vigodman’s departure, especially given that no

replacement was named, or, apparently, was even under consideration at the time. For example,

J.P. Morgan, in a report dated February 6, 2017, titled “CEO Transition Adds Further

Uncertainty to Story,” wrote that “we view today’s update as a disappointment, with arguably the

two most important executives at Teva stepping down (Erez [Vigodman] and Siggi Olafsson,

CEO of generics) within the last several months at a time of significant fundamental challenges.”

       135.    On April 25, 2017, numerous media reports surfaced that Desheh would be

pushed out as CFO at Teva. These reports were confirmed the next day when, in an April 26,



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2017 6-K, Teva announced that Desheh would be stepping down as CFO in “the coming

months” so that he could move on to “the next phase of [his] career.”

               5. Teva Lowers Guidance, Cuts Dividends, and Takes a $6.1 Billion Charge
                  Against Earnings

        136.   On June 8, 2017, in an apparent attempt to regain lost credibility, Teva announced

that four new directors were joining its Board. By June 21, 2017, Desheh’s departure from Teva

was complete. Two months later, with Defendants Desheh, Vigodman and Olafsson finally gone

and new board members in place, Teva revised guidance down again, reduced its dividend, and

took a $6.1 billion charge. Management admitted that these actions were triggered largely by the

same pricing and competitive market pressures that the Company—and especially former

executives Vigodman, Olafsson, and Desheh—had previously denied would have any impact on

Teva.

        137.   On August 3, 2017, Teva announced lower-than-expected 2Q17 results, including

a net EPS loss for the quarter of $5.94, reduced guidance, and a $6.1 billion goodwill impairment

charge. As Dr. Yitzhak Peterburg, Vigodman’s temporary replacement, revealed during the

earnings call that day, the EPS loss was primarily the result of the $6.1 billion impairment

charge, which was taken to reduce goodwill associated with Teva’s U.S. generics business. Fitch

downgraded Teva’s Issuer Default Rating to BBB- as a result, with a “negative outlook,”

reasoning that “[p]ricing pressure in the U.S. will weigh on operations in the near term, requiring

the company to reduce debt both through FCF generation and asset divestitures.” As reported by

TheStreet that day, “Teva Shares Are Getting Obliterated Again After Vicious Investment Bank

Downgrades.”

        138.   Teva’s August 3, 2017 disclosure was the direct result of Defendants’ fraud.

Defendants had concealed from investors that Teva had generated revenues from price increases



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that could not be maintained for long. As that revenue source diminished, and competition

seeped back into the generic drugs market, revenue substantially declined, necessitating the

massive write-down.

          139.   Further, as the multiple government investigations and State AG lawsuits

intensified, Teva repeatedly made false and misleading statements and/or failed to disclose

material adverse facts regarding Teva’s anticompetitive practices and involvement in the

collusive scheme. For example, on August 3, 2017, Teva described the various antitrust matters

it faced, including the Connecticut AG and DOJ subpoenas and the December 2016 State AG

lawsuit referenced above, and fraudulently stated that “Teva denies having engaged in any

conduct that would give rise to liability with respect to the above-mentioned subpoenas and civil

suits.”

          140.   The truth about Teva’s collusion further emerged with the publication of an article

on December 9, 2018 in The Washington Post, which quoted statements from Connecticut

Assistant AG Joseph Nielsen that the State AG investigation had expanded to at least 16

companies and 300 drugs, and exposed “the largest cartel in the history of the United States.”

The article also noted Teva’s continued denial of engaging in any anticompetitive conduct, and

its statement in a court filing that allegations of a price-fixing conspiracy “are entirely conclusory

and devoid of any facts.”

          141.   On May 10, 2019, after the market closed, the State AGs filed a 524-page

antitrust complaint revealing previously undisclosed facts regarding Teva’s participation in the

generic drug price-fixing conspiracy that is independently previously alleged herein. The May

2019 complaint alleges that Teva implemented significant price increases for approximately 112

generic drugs, including extraordinary price hikes of over 1,000%, and details Teva’s price-




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fixing with regards to at least 86 of those generic drugs (many of which are independently

alleged in Appendix A to the Second Amended Class Complaint as well as in Appendix A to this

Complaint), compared to just 7 Teva-related drugs in the State AGs’ previously filed action. The

action details Teva’s role as a “consistent participant” and a central player in the conspiracy.

Further, the civil enforcement action names four Teva employees personally as defendants:

Cavanaugh, Patel, Kevin Green (Teva’s former Director of National Accounts), and David

Rekenthaler (Teva’s former Vice President, Sales U.S. Generics).

 V.    DEFENDANTS’ MATERIAL MISREPRESENTATIONS AND OMISSIONS

       142.   During the Relevant Period, Defendants made a series of materially false or

misleading statements and omissions of material fact. These statements can be summarized as

follows:

       First, Defendants made materially false and misleading statements and omissions
       regarding the reasons for the Company’s success in the generic drug market
       (including improved revenues, growth, profitability, costs, and margins).
       Specifically, Defendants falsely attributed the year-over-year (“YOY”) changes in
       Teva’s generic segment profit and U.S. generic revenues to sources other than
       Teva’s price increases. Once Defendants spoke on these subjects, they had a duty
       to fully and accurately disclose the true source of Teva’s revenues and profits.

       Second, Defendants flatly and falsely denied that Teva had engaged in price
       increases or received material benefit from price increases. Instead, Defendants
       falsely claimed that Teva only raised prices on a select few generic drugs due to
       market shortages.

       Third, Defendants falsely stated that the Company was immune to pricing
       pressures when, in fact, it was unable to sustain its undisclosed strategy of taking
       substantial price increases.

       Fourth, Defendants falsely represented the level of competition that the Company
       faced in the generic drug market. In truth, Teva’s undisclosed and inherently
       unsustainable strategy to take massive short term price increases depended in
       large part on a lack of competition.

       Fifth, Defendants falsely denied that Teva had participated in collusive conduct,
       while in reality Teva was the central actor in an industry-wide scheme to fix



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       prices and allocated customers, and four Teva executives were so extensively
       involved in the unlawful conspiracy that they were named personally as
       defendants in the State AGs’ May 2019 complaint.

       Sixth, Defendants failed to disclose and actively concealed the negative impact
       resulting from the acquisition and integration of Actavis on Teva’s financial
       results and business prospects.

       143.    Further, Defendants violated Item 303 of SEC Regulation S-K and Item 5 of Form

20-F by failing to disclose the true reasons and factors contributing to the increases and

decreases in the Company’s revenues, i.e., the Company’s undisclosed strategy and

implementation of massive price increases for generic drugs.             These increases were

unsustainable given, among other things, industry, regulatory and governmental scrutiny

surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the

FDA, which would have the effect of introducing new competitors in the market.

           A. FEBRUARY 6, 2014

       144.    On February 6, 2014, in a press release filed with the SEC on Form 6-K, Teva

reported the Company’s 4Q13 and FY 2013 financial results. In the same press release, Teva

disclosed 4Q13 U.S. Generic Medicine “revenues of $1.2 billion, an increase of 14% compared

to the fourth quarter of 2012.” The press release reported that:

       The increase resulted mainly from the exclusive launches of niacin ER, the
       generic version of Niaspan®, and temozolomide, the generic version of
       Temodar®, in the third quarter of 2013, and launches of duloxetine, the generic
       version of Cymbalta®, and tobramycin, the generic version of Tobi®, in the
       fourth quarter of 2013, as well as higher sales of budesonide inhalation, the
       generic version of Pulmicort®.

       145.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts because they had the effect of concealing, and/or failed

to disclose, that, in truth, the Company’s reported financial results and success in the generic

drug market, including improved revenues, were driven primarily by its undisclosed strategy to



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take massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. In fact, during FY13 Teva generated more than $222 million

through price increases alone. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect

of introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

           B. FEBRUARY 10, 2014

       146.    On February 10, 2014, Teva filed its 2013 Annual Report with the SEC on Form

20-F, which was signed by Defendant Desheh. The 2013 20-F disclosed a YOY decline in

generic profit of $400 million, or 20%, “primarily” attributed to “lower revenues and lower gross

profit, which were partially offset by a reduction in selling and marketing expenses,” and “by

sales of higher profitability products in the United States.”

       147.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts because they had the effect of concealing, and/or failed

to disclose, that, in truth, the Company’s reported financial results in the generic drug market

were driven primarily by its undisclosed strategy to take massive price increases, either on its

own or in tandem with other manufacturers whom it purportedly competed with. In fact, during

FY13 Teva generated more than $222 million through price increases alone. Without this

inflated revenue, Teva would have experienced a YOY decline in generic profit of $622 million,

or 55% more than what it reported. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect


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of introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

       148.    The Company’s February 10, 2014 Form 20-F also described the “intense

competition” Teva faced in the U.S. generic market and its “competitive pricing strategy,” and

again touted its “competitive advantages” in a “[c]ompetitive [l]andscape”:

       In the United States, we are subject to intense competition in the generic drug
       market from other domestic and foreign generic drug manufacturers, brand-name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality and cost-
       effective production, our customer service and the breadth of our product line.
       We believe we have a focused and competitive pricing strategy.

       149.    In the same Form 20-F, Teva discussed the primary factors driving growth in the

Company’s Generic Medicines segment, and reported “intense competition in the generic

market”:

       Sales of generic pharmaceuticals have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers,
       physicians and pharmacists globally. . . . These conditions also result in intense
       competition in the generic market, with generic companies competing for
       advantage based on pricing, time to market, reputation, customer service and
       breadth of product line.

       150.    The statements set forth in the two paragraphs above were materially false and

misleading and/or omitted material facts because Teva was not facing “intense competition” or

operating in a competitive environment. Nor was Teva working to combat the purported effects

of competition, which resulted in “margin pressures,” through a “competitive pricing strategy.”

In truth, Teva’s undisclosed and inherently unsustainable strategy to take massive short term

price increases depended in large part on a lack of competition. In fact, during the Relevant


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Period, Teva increased the prices of multiple drugs, many of which were done in tandem with its

purported competitors. See Section IV.E.

           C. MAY 1, 2014

       151.    On May 1, 2014, Teva filed a press release on a Form 6-K with the SEC, signed

by Defendant Desheh, reporting the Company’s 1Q14 financial results. The Q1 2014 6-K

disclosed a YOY increase in generic profit of $117 million, or 31%, which was “primarily” due

to “higher revenues, higher gross profit and a reduction in selling and marketing expenses,” with

higher gross profit attributed to “the change in the composition of revenues in the United States

and Europe, mainly products launched during the first quarter of 2014 and in the United States in

the second half of 2013.”

       152.    That same day, Teva held its 1Q14 earnings conference call, in which Defendants

Vigodman and Desheh participated. During that call, Desheh stated:

        In generics, we experienced significant growth in the Unites States market, with
        17% year-over-year growth, to a total of $1 billion with a number of new product
        launches.

                                                ***

        The profitability of our major business segment was driven by global generic,
        with 31% improvement resulting from the strong performance in the US market
        and higher profitability in Europe. . . . 31% improvement in the profit of the
        global generic business, driven by the performance of the US market, improved
        the total generic share to 30% of total profit.

       153.    The statements set forth in the two paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,


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during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by May

2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

           D. JULY 31, 2014

       154.    On July 31, 2014, Teva filed its 2Q14 Form 6-K with the SEC, which was signed

by Desheh. The 2Q14 Form 6-K reported that YOY increase in generic segment profit of $156

million, or 41%, “primarily” attributed to:

        [A] significant reduction in selling and marketing expenses, higher revenues and
        higher gross profit, [which was attributed to] . . . . higher revenues in the United
        States, specifically of products launched during the first half of 2014 and in the
        second half of 2013, and higher revenues in Canada as well as … the change in
        the composition of revenues in Europe.

       155.    On July 31, 2014, Teva held its 2Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, Desheh stated:

        [T]he improvement of operating profit and profitability was driven by strong
        results of our global generic business, with profit improvement of 41% compared
        to last year. Launch of generic Xeloda in March and generic Lovaza this quarter
        in the US market . . . led to the better results.

       156.    The statements set forth in the two paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved



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revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by July

2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

            E. OCTOBER 30, 2014

        157.    On October 30, 2014, in a press release filed with the SEC on Form 6-K and

signed by Desheh, Teva reported its 3Q14 financial results. The Q3 2014 6-K disclosed a YOY

increase in generic profit of $160 million, or 40%, “primarily” from:

        [H]igher gross profit and a significant reduction in selling and marketing
        expenses, [with higher gross profit attributed to] . . . lower expenses related to
        production, higher revenues from our API business as well as higher gross profit
        due to the change in the composition of revenues.

        158.    On October 30, 2014, Teva held its 3Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, Olafsson stated:

        I think overall, we have a good revenue off the new launches this year.
        [Capasida] the generic Lovaza omega 3 [and] Entecavir. Entecavir was a new
        launch for us in the quarter. I think all these three products have been very
        significant contributors to the year.

(First alteration in original.)

        159.    On the same call, a UBS Securities analyst asked whether price increases in

“some of [Teva’s] base business” impacted Teva’s 3Q14 financial results. Olafsson responded:


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“there’s never a price increase on the base business as whole. Like any other business, if there’s

a pricing opportunity that comes in the market, we look for that. But the base business itself has

been eroding overall because of the consolidation of the customers.”

       160.    The statements set forth in the three paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by

October 2014. This strategy was inherently unsustainable in light of, among other things,

industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

           F. DECEMBER 11, 2014

       161.    On December 11, 2014, Vigodman, Desheh, and Olafsson participated in the

Company’s 2015 Business Outlook Meeting conference call. During the call, a Morgan Stanley

analyst asked “with respect to Generic inventory in the channel, both for Teva and for other

generic manufacturers, I’m assuming that wholesalers have been seeing extraordinary price

increases in recent years and has been buying inventory ahead of tremendous price increases.”

Defendant Olafsson “disagree[d]” stating:


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       So first let me correct. I have to disagree that they have experienced tremendous
       price increase. I think, overall, the pricing in the US of generics has been flat to a
       slight down. There has been a lot of press about price increases on individual
       molecules and this has been a hot political issue selecting a few products.

       162.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Defendants’ statements that “overall, the pricing in the

U.S. of generics has been flat to a slight down” had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results and success in the generic drug

market, including improved revenues, were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. In fact, during FY 13 and FY14 Teva generated more than $878

million through price increases alone. This strategy was inherently unsustainable in light of,

among other things, industry, regulatory and governmental scrutiny surrounding the pricing of

generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have

the effect of introducing new competitors in the market. Having put into play the issue of the

source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its

revenues.

            G. FEBRUARY 5 AND FEBRUARY 9, 2015

       163.    On February 5, 2015, Teva filed a press release with the SEC on Form 6-K,

signed by Defendant Desheh, reporting the Company’s 4Q14 and FY2014 financial results. The

Q4 2014 Press Release disclosed a YOY increase in generic profit of $47 million, or 9%,

attributed “primarily” to “lower S&M expenses and lower R&D expenses.”




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       164.    On February 9, 2015, Teva filed its 2014 Annual Report with the SEC on Form

20-F, signed by Desheh. The 2014 20-F disclosed a YOY increase in generic profit of $480

million, or 29%, attributed “mainly” to:

        lower S&M expenses and higher gross profit . . . . [which was] mainly a result of
        higher revenues in the United States, specifically of products launched during
        2014 and in the second half of 2013, and higher revenues in Canada, which led to
        higher gross profits, as well as higher gross profit from API sales to third parties.

       165.    The Company’s 2014 20-F also reported that FY2014 U.S. Generic Medicine

revenues “amounted to $4.4 billion, up 6% compared to $4.2 billion in 2013,” explaining that:

        The increase resulted mainly from the 2014 exclusive launch of capecitabine (the
        generic equivalent of Xeloda®), the launch of omega-3-acid ethyl esters (the
        generic equivalent of Lovaza®) for which we were first to market, and the launch
        of raloxifene (the generic equivalent of Evista®), as well as products that were
        sold in 2014 that were not sold in 2013. These increases were partially offset by
        lower sales of the generic versions of Adderall IR (amphetamine salts IR),
        Pulmicort (budesonide inhalation) and Niaspan® (niacin ER).

       166.    The table below reflects Teva’s improved profits as reported in 2014:



       2014 ($ millions)             Q1            Q2            Q3             Q4        Full Year

 Reported YOY Change in
 Generics Profit                    $117          $156          $160           $47           $480


       167.    The statements set forth in the four paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY14 Teva generated more than $656 million through price increases alone, representing

a YOY increase in inflated revenues of more than $434 million, or nearly all of the reported


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YOY change in generics profit. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect

of introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

       168.    The Company’s February 9, 2015 Form 20-F also described the “intense

competition” Teva faced in the U.S. generic drug market and its “competitive pricing strategy,”

and again touted its “competitive advantages”:

       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand- name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       169.    In the 2014 Form 20-F, Teva also described the “intense competition in the

generics market,” and the primary factors driving growth in its Generic Medicines segment:

       Sales of generic medicines have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers,
       physicians and pharmacists globally. . . . These conditions also result in intense
       competition in the generic market, with generic companies competing for
       advantage based on pricing, time to market, reputation, customer service and
       breadth of product line. We believe that these factors, together with an aging
       population, an increase in global spending on healthcare, economic pressure on
       governments to provide less expensive healthcare solutions, legislative and
       regulatory reforms and a shift of decision-making power to payors, will lead to
       continued expansion in the global generic market, as well as increased
       competition in this market.

       170.    In the same Form 20-F, the Company also described the following Risk Factor:



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       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of new companies selling such
       product and the timing of their approvals.

       171.    The statements set forth in the three paragraphs above were materially false and

misleading and/or omitted material facts because Teva was not facing “intense competition” or

operating in a competitive environment. Nor was Teva working to combat the purported effects

of competition, which resulted in “margin pressures,” through a “competitive pricing strategy.”

In truth, Teva’s undisclosed and inherently unsustainable strategy to take massive short term

price increases depended in large part on a lack of competition. In fact, during the Relevant

Period, Teva increased the prices of multiple drugs, many of which were done in tandem with its

purported competitors. See Section IV.E.

           H. APRIL 30, 2015

       172.    On April 30, 2015, Teva filed its 1Q15 Form 6-K with the SEC, also signed by

Defendant Desheh. The Company’s 1Q15 Form 6-K reported a YOY increase in generic profit

of $296 million, or 59%, attributed “primarily” to:

       Higher gross profit and lower selling and marketing expenses as well as lower
       research and development expenses . . . . [with] higher gross profit . . . mainly a
       result of the launch of esomeprazole in the United States during the quarter and
       improved profitability of our European business.

       173.    On April 30, 2015, Teva held its 1Q15 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, a Bank of America Merrill

Lynch analyst asked “how much more potential exists to increase generic segment margins

purely from organic gains in operational efficiency?” In response, Olafsson stated:

       I think there is room for more, but it takes a little longer time. What plays into
       the operating profit in generics are probably three or four things.


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       First of all, we have a significant improvement in our cost of goods. I think the
       operation team in Teva has done an outstanding job in lowering the cost of
       goods, improving the quality of the supply.

       And really, it’s my business that has benefited from that because a big portion of
       our volume comes straight to the generic business. And really, we will continue
       that over time. . . .

       I think the next thing is the portfolio offering. I think the more we have of
       exclusive complex generics on offering, we have a higher margin on these
       products. It’s simple. So when we have more of the launches, it will drive up
       the margin.

       The third thing is the cost infrastructure. I think we have done a very good job in
       the cost infrastructure. You can see that from our gross margin versus our
       operating profit. . . .

       [O]bviously, the big jumps of 1,000 basis points we have taken over the last 24 months,
       you wouldn’t see that skill of improvement in the generics. . . .

       When you look at the top line growth, you see that already in first quarter we
       have improved our top line growth. That mainly comes from our new launches
       but also our emphasis on the branded generic markets.

       174.   The statements set forth in the two paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business, including the “three or four things” that play into Teva’s operating

profit, had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its

own or in tandem with other manufacturers whom it purportedly competed with. In fact, from

FY13 through FY14 Teva generated more than $878 million through price increases alone, and

in FY15 generated an additional $747 million through price increases, much of which had been

realized by April 2015. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of



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introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

           I. JUNE 10, 2015

       175.    During a June 10, 2015 Goldman Sachs conference, Vigodman spoke of “the

profound change in the generic business” since 2014, stating:

       These are “things [that] are not confined to numbers, but maybe [numbers tell the
       story]: 16.7% operating profit in 2013; 21.9% operating profit 2014,” and
       attributing this success solely to “[t]he execution of the cost reduction program[:]
       $600 million net savings 2014; $500 million 2015,” and a “[f]ull transformation
       of our operational network,” claiming that “[w]e closed or divested 11 plants
       during the last 12 months, we centralized procurement. . . . So everything that
       was done during 2014 was based on organic moves only.”

       176.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Vigodman’s statements touting the purported success

of their generics business, including the “cost reduction program” and “full transformation of our

operational network,” had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

from FY13 through FY14, Teva generated more than $878 million through price increases alone,

and in FY15 generated an additional $747 million through price increases, much of which had

been realized by June 2015. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. Having put into play the issue of the source of




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Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

           J.          JULY 27, 2015

       177.     On July 27, 2015, Teva held a call to discuss the Company’s Actavis acquisition.

On that call, a BMO Capital analyst asked Olafsson and Vigodman about the competitive

landscape in the generic market. In response, Olafsson stated, “the U.S. generic market is very

competitive. . . . [There’s] a fierce competition on most of the portfolio, if not all of the

portfolio.” Vigodman added, “we promise to do everything in our power to take the Company to

be able to continue the improvement that we have been witnessing here.              We believe in

competition, and we’ll do what is needed in order to win all the markets we operate.”

       178.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts because Teva was not facing “fierce competition” or

operating in a competitive environment. Nor was “the U.S. generic market [] very competitive.”

In truth, Teva’s undisclosed and inherently unsustainable strategy to take massive short term

price increases depended in large part on a lack of competition. In fact, during the Relevant

Period, Teva increased the prices of multiple drugs, many of which were done in tandem with its

purported competitors. See Section IV.E.

           K. JULY 30, 2015

       179.     On July 30, 2015, Teva filed its 2Q15 Form 6-K, which was signed by Defendant

Desheh. Teva’s 2Q15 6-K reported a YOY increase in generic profit of $193 million, or 36%,

attributed “primarily” to “higher gross profit as well as lower selling and marketing expenses,”

while claiming that higher gross profit was “mainly a result of higher gross profit in the United

States, due to the launches of aripiprazole in the second quarter of 2015 and of esomeprazole

during the first quarter of 2015, and lower production expenses.”


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       180.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

from FY13 through FY14 Teva generated more than $878 million through price increases alone,

and in FY15 generated an additional $747 million through price increases, much of which had

been realized by July 2015. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

           L. OCTOBER 29, 2015

       181.    On October 29, 2015, Teva filed its 3Q15 Form 6-K with the SEC, signed by

Desheh. In the 3Q15 Form 6-K, Teva reported YOY increase in generic profit of $20 million, or

4%, attributed “primarily” to “lower selling and marketing expenses, partially offset by lower

gross profit,” which in turn was partially offset “by higher gross profit of our API business.”

       182.    On October 29, 2015, Vigodman, Desheh, and Olafsson participated in the

Company’s 3Q15 earnings conference call. During the call, Vigodman denied that any of Teva’s

margin improvements were attributable to price increases:

       We are very responsible . . . in everything that pertains to prices on the generic side
       and on the specialty side. And I would even put it another way, all the improvements
       you see in our – in margins is not driven by price. It is driven by quantities and by


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       mix and by efficiency measures. Not by price, 2014, 2015. And that’s a very
       important message.

       183.    In light of recent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst asked for management’s thoughts on “the

potential limit to generic drug price increases.” Olafsson minimized the extent and effect of

Teva’s practice of increasing prices and implied that Teva was not dependent on such profit:

       In terms of the proposed legislation on pricing control on generics, first of all, we
       don’t really know what it’s going to be. But let me give you examples. So Teva
       has the largest portfolio on the U.S. market. We are offering approximately 275
       products. And we have told you that overall on our whole portfolio, we have a
       decline in price. The talk about the inflation in generics when you have a big
       portfolio is really not there. 95% of our portfolio is declining due to the
       consolidation of the customers I talked about. There might be 5% of the
       portfolio that is either flat or increasing in pricing due to some abnormalities in
       the market.

       184.    The statements set forth in the three paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements had the effect of concealing,

and/or failed to disclose, that, in truth, the Company’s reported financial results and success in

the generic drug market, including improved revenues, were driven primarily by its undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers

whom it purportedly competed with. In fact, from FY13 through FY14, Teva generated more

than $878 million through price increases alone, and in FY15 generated an additional $747

million through price increases, much of which had been realized by October 2015. This

strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of




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competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

       185.     On the same October 29, 2015 call, Olafsson was asked if he could “follow up . . .

on what your pricing trends are here in the US for the generic business.” Olafsson responded:

       So on the pricing, I think pricing is obviously based on the competition. We have
       talked about that the overall pricing trend is down. What will change that
       obviously, there is different things. I think the consolidation of the customers
       affect pricing. I think the backlog, when the FDA releases the backlog of 3,000
       NDA affect pricing.

       186.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts because Teva’s pricing was not “obviously based on the

competition” and the Company was not operating in a competitive environment. In truth, Teva’s

undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva

increased the prices of multiple drugs, many of which were done in tandem with its purported

competitors. See Section IV.E.

           M.          NOVEMBER 19, 2015

       187.     On November 19, 2015, during a Global Healthcare Conference call hosted by

Jefferies LLC, in response to a question asking Desheh to “give us your 20,000 foot view on

pricing” and asked “[i]s it an issue . . . where do you go on price,” he stated:

       There is a lot of noise around pricing issues. Some of it’s coming from politicians
       who are driving agenda, which is very, very legitimate.

       Our exposure to all these things is very minimal. . . .

       Generic prices? There are no – I believe that there are many examples for
       competitive environment, real competition, like we see in the generic market in
       the United States. . . .




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       So it’s a highly competitive environment with players coming from all over the
       world, with a very fierce price competition. The price of generic went down 50%
       over the past 10 years. . . .

       And Teva was not associated with any of that. So we’re playing a competitive
       game. We’re playing it fairly. We, of course, play by the book and by the rule.
       And we believe that our exposure to any initiative on price reduction in the
       United States is as small as anybody can have. . . .

       But we also saw that there is a floor to this. And the floor is a common economic
       and business model. And wherever prices have come down to a level that it
       doesn’t make sense, companies like us just pull out. We refuse to participate in
       tenders that generate no profit, and we just pull out. You pull out, prices go up
       because there is less supply over the demand. And we are, in short, playing in a
       very competitive market.

       188.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts because Teva was not facing “fierce price competition”

or operating in a “highly competitive environment.” In truth, Teva’s undisclosed and inherently

unsustainable strategy to take massive short term price increases depended in large part on a lack

of competition. In fact, during the Relevant Period, Teva increased the prices of multiple drugs,

many of which were done in tandem with its purported competitors. See Section IV.E.

       189.    Similarly, Desheh’s statements set forth in ¶ 187 above—including the statements

that Teva’s “exposure to all these things is very minimal,” “we believe that our exposure to any

initiative on price reduction in the United States is as a small as anybody can have,” and “Teva

was not associated with any of that”—were false and misleading because Teva was highly

dependent on its strategy to implement massive short term price hikes. In fact, from FY13

through FY15 Teva generated more than $1.6 billion through price increases alone. Thus, any

political initiative, such as permitting Medicare to negotiate drug prices, could lead to drastic

price decreases.




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           N.          JANUARY 11, 2016

       190.     At a January 11, 2016 J.P. Morgan Conference, a J.P. Morgan analyst asked

Olafsson, “McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to

navigate the current environment?” In answer to this question, Olafsson responded:

       The generic pricing – we need to keep in mind there’s a lot of talk about
       inflations in generic pricing. But what we see is there’s – overall on our total
       portfolio of 270 products, there is a slight decrease in pricing. It’s low single
       digit, but year on year we see a low single-digit decrease because on 95% of our
       portfolio, we experience price decline. And then on 5%, we might be flat or a
       slight increase. So, overall, we see that in the business. There’s a lot of
       headlines of examples of big price increases in generics. But when you are a
       company of the size of Teva and you have the portfolio that we have today – as I
       said, 270 products for the whole of the portfolio – there is a decline.

       191.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Olafsson’s statement that “on 95% of our portfolio, we

experience price decline” had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

from FY13 through FY15 Teva generated more than $1.6 billion through price increases alone.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory

and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing

of the ANDA backlog at the FDA, which would have the effect of introducing new competitors

in the market. Having put into play the issue of the source of Teva’s revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s

price increase strategy and the true source of its revenues.


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           O.          FEBRUARY 11, 2016

       192.     On February 11, 2016, Teva filed with the SEC a press release reporting the

Company’s fourth quarter 2015 (“Q4 2015”) and full year 2015 (“FY 2015”) financial results

(“Q4 2015 Press Release”). The Q4 2015 Press Release disclosed a YOY increase in generic

profit of $7 million, or 1%, attributed “primarily” to: “[T]he reduction in S&M expenses,

partially offset” by, in part, “lower sales of budesonide (Pulmicort®) in the United States.”

       193.     Also on February 11, 2016, Teva filed its Annual Report with the SEC on Form

20-F, signed by Desheh. Vigodman and Desheh also signed the consolidated balance sheet. The

2015 Form 20-F a YOY increase in generic profit of $500 million, or 24%, attributed “primarily”

to “lower S&M expenses and higher gross profit,” which was “mainly a result of higher revenues

from new products launched in the United States during 2015, lower other production expenses

and higher gross profit from API sales to third parties.”

       194.     The table below reflects Teva’s improved profits as reported in 2015:


      2015 ($ millions)             Q1            Q2           Q3            Q4         Full Year

 Reported YOY Change in
 Generics Profit                   $296          $193          $20           $7           $516


       195.     On February 11, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

4Q15 and FY2015 earnings call. On the same call, Olafsson stated:

       2015 was a very good year for Teva Generics. Thanks to our strong performance
       of the base business and good new products launches, we delivered great results
       in the US and in major markets globally. We continued improving the operating
       profit of the generic business, coming from $1.68 billion operating profit in 2013,
       or 17% of revenue, to $2.68 billion operating profit in 2015, or 28% of revenue.
       This is $1 billion improvement in operating profit over 24 months period.

       So how did we do this?        Not by pricing but by portfolio mix, new products, and
       efficiency measures.




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          196.   During the February 11, 2016 earnings conference call, Olafsson made the

following statements regarding pricing in the generic segment:

          Briefly, on pricing. As I’ve previously stated, we and the generic industry overall
          don’t see price inflation of generics as it sometimes is portrayed in the media. On the
          contrary, for 2015, we saw mid-single-digit price decline for the overall business.

          In the U.S., our largest market, we saw approximately 4% price erosion. . . .

          Looking forward, the conjunction of price erosion with the mix changes, focus on
          cost structure, and the new product launches, we continue to drive our business
          growth, both top line and bottom line. We expect to see the same in 2016.
          Nothing today points to a significant change in the generic pricing environment.

          197.   On the same call, a Guggenheim Securities, LLC analyst asked Olafsson about

pricing pressures discussed by Teva’s competitors during the quarter. In response, Olafsson

denied that there was any pricing pressure:

          As I mentioned in the beginning, we didn’t see anything change in fourth quarter.
          We saw approximately 4% pricing pressure or price decline in the US business
          over 2015 flat over the year. Some of our competitors have seen more pressure.
          I think overall, it might have to do with some dosage form differences. But also I
          think we have been right in adjusting the business.

          198.   The Investor Slides presented during the February 11, 2016 earnings conference

call contained the following statements attributed to Olafsson: “Do not see the inflationary

pricing discussed in the media[.] Also do not see the sharp drop in prices other competitors have

seen recently[.] Mid-single digit increases in 2015[.] Expect 2016 to maintain the current

trend.”

          199.   The statements set forth in seven paragraphs above were materially false and

misleading and/or omitted material facts.        Defendants’ statements (i) touting the purported

success of their generics business and (ii) denying any knowledge of price inflation, had the

effect of concealing, and/or failed to disclose, that, in truth, the Company’s reported financial

results and success in the generic drug market, including improved revenues, were driven



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primarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY15 Teva generated more than $1.6 billion through price increases alone. Moreover,

during FY15 Teva generated more than $747 million through price increases alone, representing

a YOY increase in inflated revenues of more than $91 million, or nearly 20% of the reported

YOY change in generics profit. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect

of introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

       200.    In the 2015 20-F filed on February 11, 2016, Teva described the “intense

competition” the Company faced in the U.S. generic market and its “competitive pricing

strategy,” as well as its “competitive advantages”:

       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand- name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       focused and competitive pricing strategy.

       201.    The 2015 Form 20-F also described the “intense competition in the generic

market” and the primary factors driving growth in Teva’s Generic Medicines segment:

       Sales of generic medicines have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers,
       physicians and pharmacists globally. . . . These conditions also result in intense
       competition in the generic market, with generic companies competing for


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       advantage based on pricing, time to market, reputation, customer service and
       breadth of product line. We believe that these factors, together with an aging
       population, an increase in global spending on healthcare, economic pressure on
       governments to provide less expensive healthcare solutions, legislative and
       regulatory reforms and a shift of decision-making power to payors, will lead to
       continued expansion in the global generic market, as well as increased
       competition in this market.

       202.   The same Form 20-F also described the following Risk Factor:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of new companies selling such
       product and the timing of their approvals.

       203.   During the February 11, 2016 earnings conference call, a Susquehanna Financial

Group analyst also asked Olafsson about the Company’s relationships with customers and what

impact the Actavis deal was having on pricing. Olafsson responded:

       We will pride ourselves of the service level of the high quality of the product.
       But at the end of the day, there is a fierce competition in the market. Over 200
       generic companies, and really there is no bundling or anything like that, that can
       go on in the market. So overall, same as without the deal. But we see the
       opportunity going forward based on the huge pipeline that we have.

       204.   During the same call, Olafsson also stated that the U.S. generics business had

been “stable over the year” and “[t]here is a lot of competition in the US, there is no question

about it. As you well know, there are over 200 generic competitors in the market and the

competition is fierce.” Olafsson claimed Teva’s competitive advantage was having “the largest

[drug] pipeline” and “an extremely good supply chain.”

       205.   The statements set forth in the five paragraphs above were materially false and

misleading and/or omitted material facts because Teva was not facing “intense competition,” “a

lot of competition in the US,” or operating in a competitive environment. Nor was Teva working

to combat the purported effects of competition, which resulted in “margin pressures,” through a


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“competitive pricing strategy.”     In truth, Teva’s undisclosed and inherently unsustainable

strategy to take massive short term price increases depended in large part on a lack of

competition. In fact, during the Relevant Period, Teva increased the prices of multiple drugs,

many of which were done in tandem with its purported competitors. See Section IV.E.

           P.          MARCH 8, 2016

       206.     On March 8, 2016, during a Cowen & Company Healthcare Conference call,

Olafsson stated:

       So we came out in our fourth quarter results, and told the market that we had seen
       approximately 4% price decline in the US market in 2015. . . .

       I think overall the pricing hasn’t changed that much. There was a lot of talk
       about inflation in generic pricing. But we never saw that. That was an individual
       molecule basis, they used example of products that really were not generic
       products, even though they were off-patent, and in an environment where there
       was an inflation never really happened in the generic business. And there has
       been a decline there. . . .

       So as of today, I came out with 4% [price erosion] in 2015. As of today, I don’t
       see any big changes in the pricing environment. It’s relatively stable. 4% is
       worse than maybe two years ago. But it’s similar to what we saw in 2014. But
       overall, these are the three things that affect the price. And there’s nothing on the
       horizon that should affect the pricing as of today.

       207.     During the same conference, Olafsson also discussed Teva’s profitability in its

generic segment:

       In terms of growing the profitability, from 2013 to 2015, we grew the operating
       profit of the generic business from 17% in 2013, and we exited for the full year
       of 2015 we were at 28.1%. So it’s about 1,100 basis points we improved the
       profitability on approximately $10 billion in revenue. So it was a significant
       improvement over a 24-month period. Part of that was due to the improvement
       in our cost of goods sold, very important in consolidation of plants and looking
       for the money there. But also part of it was due to portfolio selection and the cost
       infrastructure.

       208.     The statements set forth in the two paragraphs above were materially false and

misleading and/or omitted material facts. Olafsson’s statements had the effect of concealing,




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and/or failed to disclose, that, in truth, the Company’s reported financial results and success in

the generic drug market, including improved revenues, were driven primarily by its undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers

whom it purportedly competed with. In fact, from FY13 through FY15 Teva generated more

than $1.6 billion through price increases alone. This strategy was inherently unsustainable in

light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. Having put into play the

issue of the source of Teva’s revenue growth and the subject of competition in the generic drug

markets, Defendants had a duty to disclose Teva’s price increase strategy and the true source of

its revenues.

           Q.         MAY 9, 2016

       209.     On May 9, 2016, Teva filed its 1Q16 Form 6-K with the SEC, which was signed

by Desheh. Vigodman and Desheh both signed the consolidated balance sheet in the 1Q16 Form

6-K. In the 1Q16 Form 6-K, Teva reported a YOY decline in generic profit of $215 million, or

27%, attributed “primarily” to “lower gross profit, as well as higher R&D expenses,” while

lower gross profit was “mainly a result of lower sales of high gross profit products in the United

States, higher production expenses and lower gross profit in our European markets.”

       210.     On May 9, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s 1Q16

earnings conference call. During the call, Olafsson explained away the decline in generic profit

margin by blaming it on issues other than pricing: “[w]hen compared to first quarter 2015, the

operating profit declined by 360 basis points, fully explained by the exclusive launch of generic

Nexium, esomeprazole, in the first quarter 201[5].        Excluding the exclusivity period of

esomeprazole in first quarter, the profit margin of the generic segment was 24.4%.”


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211.   During the call, Olafsson also discussed pricing on the May 9, 2016 earnings call:

The global generic drug market has no shortage of manufacturers supplying vital
medicines to patients in the US and around the world. . . . As you know, in
February, during the fourth-quarter reporting season, several industry participants
referenced a tougher pricing environment than what they have experienced in
previous years, as a reason for the softness in their respective generic businesses.
Now, we fast-forward to April and May, to a new reporting season, and we find
the number of companies citing a tougher pricing environment or price deflation
seems to have grown at an almost incredible rate. The referencing of generic
drug price deflation has not been limited to the manufacturers, but is also being
cited by those on the purchasing and distribution side, leaving many to wonder
about what is the real opportunity in generics.

As always, I will do my best to provide you with as much color as possible on
what Teva is experiencing, in regards to pricing and volume; and more
importantly, where we are headed. Throughout the ongoing debate this year
about the level of generic price erosion in the United States, Teva has been very
consistent and clear with investors. Teva has not seen any fundamental change
or worsening in the pricing environment – something we have been consistent
about telling investors all year. Teva experienced approximately 4% price
erosion in the United States last year, and our guidance for this year is that it will
remain the same. In fact, Allergan, and Mylan, two other companies with broad
and diversified portfolios and high quality products, have also reported similar
trends. From where I sit today, there is nothing that changes my mind about that.
Nothing has happened in the last two quarters that has changed the pricing
environment. What this boils down to is each individual company’s business
model. . . .

212.   During the same call, Olafsson stated:

[W]hy is Teva different? Why is our performance better than most generic
companies? Why are other companies continuing to say, there is pricing pressure
greater than what we at Teva are seeing?

I see three reasons: first, the companies with older portfolio seemed to complain
much more loudly. What I mean by that is, that if you look carefully at some
companies with older portfolios, they will tell you that the pricing environment is
worsening. But this is not an environment. This is purely a reflection of their
portfolios, some of which are concentrated in one, or very few, therapeutic
classes that are experiencing normal competition. This takes me to the second
factor, new product launches. When companies don’t have new product
launches, and the business is declining, they tend to talk about the market more
than anything else. This is not a reflection of the environment, but rather again, a
reflection on a company’s portfolio.




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       The third factor is companies that are trying to grow their market share. Some
       companies are aggressive in going after market share for a variety of reasons,
       including to utilize excess capacity with relatively cheap volume. But in order to
       do that, you’ll have to drive down price. Buying new market share in price will
       cost you on the bottom line. We, on the other hand, are seeing our volumes go
       down, deliberately, net-net approximately 1% a year, because we think that is
       better for our business, and we would rather reduce capacity, than fill it with less
       profitable products. So if you look at this slide, you’ll see that over the past few
       years, we discontinued 70 products. At the same time, we introduced 68 new
       ones in the US.

       213.    During the May 9, 2016 earnings call, Olafsson also offered the supposed reasons

why Teva’s generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure:

       We have taken a significant step to transform our generic business, solidify our
       foundation, increase our profitability, and to better position us to generate
       sustainable long-term growth. These many steps have included portfolio
       optimization, strengthening our capabilities in R&D, and manufacturing of
       complex products, regaining a leading position in submission on first-to-files,
       enhancing our go-to-market, and sales force effectiveness capabilities, and much,
       much more. These are the very capabilities that companies must possess in order
       to thrive at the global level. We have created a unique and differentiated
       platform, positioned to extract significant value in the global growing generic
       space.

       214.    The Investor Slides that the Company presented during the May 9, 2016 earnings

conference call contained the following statement, attributed to Olafsson: “What has changed in

the US pricing environment since Q4 2015? The short answer is . . . nothing. We still expect

4% price erosion on our portfolio.” The Investor Slides also contained the statement: “There is

no change in the pricing environment [.] It all comes down to each company’s business model . .

. Why is Teva generics performance better than most Gx companies? Portfolio optimization ….

[and] [n]ew product[].”

       215.    The statements set forth in the six paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements had the effect of concealing,

and/or failed to disclose, that, in truth, the Company’s reported financial results, including the


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YOY decline in generic profits, were driven primarily by the unsustainability of Teva’s

undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the

risk from Defendants’ undisclosed strategy had begun to materialize. While Teva generated

more than $541 million through price increases during FY16, that figure represented a decline of

more than $200 million, or nearly 30%, from FY15. Much of this decline would have been

known to Teva by May 2016. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the source of its revenue.

           R.          MAY 10, 2016

       216.     On May 10, 2016, on a Bank of America Merrill Lynch Healthcare Conference

call, Olafsson discussed the Company’s 1Q16 financial results and the pricing environment in

the generics market:

       I mentioned on that call, and want to reemphasize here, there’s nothing I have
       seen which shows a worsening pricing environment. We saw a price erosion in
       the US last year of approximately 4%. We guided the market that we would see
       the same pricing of approximately deflation of 4% in 2016. And where I sit
       today, there is no change to that.

       I know many of the competitors in the generic space, and in the specialty space,
       are talking about a lot of pricing pressure, but it shouldn’t be. There is nothing
       that has happened over the last two quarters which has changed fundamental the
       market. And I feel that we are blaming the environment on individual company’s
       business model more than anything else because as long as you have the right
       portfolio, you have had the right investment in R&D, you really have a strong
       opportunity.

       217.     During the call, Olafsson also stated:


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       You have to keep in mind that in the US generic space there’s approximately 230
       competitors. Two hundred and thirty generic companies in the US that are offering
       products. So the competition is heavy. So if you show that you grow 3%, let’s say 3%
       volume year-on-year, that will cost you on pricing.

       There’s no question about it. So that’s why I’m highlighting that in Teva world,
       we assume approximately 1% decline in the volume to maintain the pricing. So
       it’s not that we are the only good house in the neighborhood, and I don’t think
       this is a bad neighborhood, I think it’s a good neighborhood. It’s unique. To
       maintain your business you need to think about the future. And I think that’s at
       the end of the day what differentiates us.

       218.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Olafsson’s statement that nothing had changed in the

pricing environment in which Teva operated had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the

risk from Defendants’ undisclosed strategy had begun to materialize. While Teva generated

more than $541 million through price increases during FY16, that figure represented a decline of

more than $200 million, or nearly 30%, from FY15. Much of this decline would have been

known to Teva by May 2016. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

           S.          JUNE 3 AND 8, 2016

       219.     On June 3, 2016, during a Sanford C. Bernstein Strategic Decisions Conference

call, Vigodman made the following statement regarding pricing:


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       [W]e are very consistent. Our message was conveyed, and we will continue to
       convey. What we see is a 4% to 5% erosion. That’s what we see. That’s not
       something which is different from what we said during 2015. By the way, we
       continue saying it in 2016. I think our results in Q1 demonstrated that. And with
       basically our operating profits towards one of the (inaudible) in our history on
       kind of a naked basis, so generic business in the US without launches. So, in this
       respect, we are very continuing with our messages, and that’s what we continue
       seeing.

       220.   During a June 8, 2016 Goldman Sachs Healthcare Conference call, Olafsson

again discussed pricing:

       When we signed that [Actavis] deal in July, we talked about 4% price erosion in
       the US generic business. And we are still talking about the same number, what
       we see in the base business. And we can talk about that later, how we look at it
       versus others. But really the fundamental -- so what has changed in the market is
       that currently the multiples for generic companies, Mylan and us, has been
       dragged down, I think, due to other companies in the market partly, due to
       Valeant, due to Endo, due to comments that were made in Perrigo and
       Mallinckrodt about the generic business, which has affected the whole industry.

       221.   The statements set forth in the two paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements that nothing had changed in

the pricing environment in which Teva operated had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the

risk from Defendants’ undisclosed strategy had begun to materialize. While Teva generated

more than $541 million through price increases during FY16, that figure represented a decline of

more than $200 million, or nearly 30%, from FY15. Much of this decline would have been

known to Teva by June 2016. Having put into play the issue of the source of Teva’s revenue


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growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

           T.          JULY 13 AND JULY 19, 2016

       222.     In a July 13, 2016 call to announce the acceleration of Teva’s debt offering,

including the Notes Offering, to the end of July, a Citigroup analyst asked: “[C]an you comment

on the generics pricing assumptions that you have baked into your forecast? Following on that,

Siggi, maybe you could just comment on the generics pricing environment, more broadly, that

you are currently seeing in the marketplace.” In response, Olafsson indicated that Teva had still

not seen any change in the pricing environment, and that this stable pricing was baked into the

assumptions underlying Teva’s guidance and projections:

       Our assumption and what we assume is basically approximately 5% organic growth that
       we see year on year.…

       In terms of generic pricing in the second quarter, we saw no change in the
       pricing. We saw a stable environment, as we talked about, from first quarter into
       second quarter. Obviously, in second quarter, as we have highlighted to
       investors, there was no significant new launches that we saw in Teva, which
       obviously impacts the overall generic numbers. The pricing has remained
       stable.…

                                                ***

       Our assumption for the rest of the year is basically assuming the same pricing
       erosion. It is difficult to say; but as I’m sitting here today, with the information I
       have in hand, we are assuming and now forecasting for the guidance for the
       remainder of the year same pricing assumption as we have had for the first half
       of the year.

       223.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Olafsson’s statement that nothing had changed in the

pricing environment in which Teva operated had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other


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manufacturers whom it purportedly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the

risk from Defendants’ undisclosed strategy had begun to materialize. While Teva generated

more than $541 million through price increases during FY16, that figure represented a decline of

more than $200 million, or nearly 30%, from FY15. Much of this decline would have been

known to Teva by July 2016. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

       224.     On July 13, 2016, Teva filed the Notes Registration Statement, which was signed

by Vigodman and Desheh. On July 19, 2016, Teva filed with the SEC, pursuant to Rule

424(b)(5), its final Notes Prospectus (the “Notes Final Prospectus”) and, under Rule 433, two

free writing prospectuses, all dated July 18, 2016. The Notes Registration Statement and the

Notes Final Prospectus incorporated by reference the 2015 Form 20-F and the 1Q16 Form 6-k,

which contained false and misleading information as described herein.

           U.          AUGUST 4, 2016

       225.     On August 4, 2016, in a press release filed with the SEC on Form 6-K and signed

by Desheh, Teva announced its 2Q16 financial results. That same day, Teva also filed with the

SEC its 2Q16 Form 6-K, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 2Q16 Form 6-K. The Company’s 2Q16 6-K reported a YOY decline in

generic profit of $115 million, or 16%, attributed “primarily” to “lower gross profit,” which in

turn was “mainly a result of loss of exclusivity on certain products as well as increased

competition on other products in the United States . . . and higher production expenses.”


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       226.    On August 4, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

2Q16 earnings conference call. On the call, Desheh attributed the poor performance of the

Company’s generic segment to factors other than its inability to maintain its long undisclosed

price increases, stating that “[r]evenues of our US generics business was impacted by

competition to our Aripiprazole, Esomeprazole, and Budesonide which were the major drivers of

our generic business in the US in the second quarter last year.”

       227.    On the same call, in response to a question about “pricing stability” in light of

Teva’s U.S. generic revenues coming in “a little lower than expectations,” Olafsson stated:

       I think, first of all, it’s the old story in the generic business, and we have talked
       about it many times. It’s the short-term volatility, but a long-term profitability
       that we are seeing in the generic business. I think on the US side, clearly the
       impact we highlighted, the impact of having a competition on Aripiprazole,
       Esomeprazole, and Budesonide was very, very significant. I think overall, the
       underlying business did well. . . .

       In terms of the pricing, the pricing is stable to the same degree as before. We
       saw approximately in the US, 4% price erosion in the business, in a way very
       stable from the first quarter.

       228.    Later in the call, Olafsson reiterated that “overall the business itself is fairly

stable. As I mentioned in the beginning, we are seeing exactly the 4% price erosion…. 4% price

erosion in the US.”

       229.    On the same call, a J.P. Morgan analyst asked about “price opportunities” on the

combined Teva-Actavis generic portfolio. In response, Olafsson stated:

       On the pricing, as you know, and we know that, the size really doesn’t affect the
       pricing. And I have a strong feeling when you have over 200 competitors, size
       has nothing to do about pricing. I think the pricing comes with shortages in the
       market. If you have an exclusive product, if there’s some kind of dysfunction in
       the market, there might be a small pricing opportunity that usually comes in and
       comes out. But overall, the size, and being a combined company doesn’t play
       into that. I feel quite strongly about that.




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       230.    The statements set forth in the five paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements (i) citing non-price factors for

the decline in generic revenue, and (ii) that nothing had changed in the pricing environment in

which Teva operated had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results, including the YOY decline in generic profits, were driven

primarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufacturers whom it purportedly competed with.              This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA

backlog at the FDA, which would have the effect of introducing new competitors in the market.

In fact, by this time, the risk from Defendants’ undisclosed strategy had begun to materialize.

While Teva generated more than $541 million through price increases during FY16, that figure

represented a decline of more than $200 million, or nearly 30%, from FY15. Much of this

decline would have been known to Teva by August 2016. Having put into play the issue of the

source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its

revenues. Moreover, Olafsson’s suggestion that pricing decisions were driven by organic market

factors—including the statement that “pricing comes with shortages in the market”—was false

and misleading in light of the Company’s undisclosed practice of implementing massive short

term price increases to boost revenue.

       231.    During the August 4, 2016 earnings conference call, Olafsson also stated that

“competition is fierce” in the U.S. generics market and “[t]here’s no question about it.”




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       232.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts because Teva was not facing “fierce” competition, or

operating in a competitive environment.           In truth, Teva’s undisclosed and inherently

unsustainable strategy to take massive short term price increases depended in large part on a lack

of competition. In fact, during the Relevant Period, Teva increased the prices of multiple drugs,

many of which were done in tandem with its purported competitors. See Section IV.E.

           V.          SEPTEMBER 7 AND 9, 2016

       233.     On September 7, 2016, during a Wells Fargo Securities Healthcare Conference

call, Desheh stated:

       Now, with talking about prices of the base business, product that we’ve been
       selling more than two years already, the prices are very stable there. Might even
       go up a little bit here and there, depending on demand and supply, and demand
       and availability of competing products in the market, but you don’t see -- there
       you don’t see the erosion. Where we see erosion is that you know, you have six
       months exclusivity, you start with the high price, and then obviously more
       competitors go into the market and the price goes down. But when we look at
       the base, there’s no -- there’s no pressure on prices.

       234.     On September 9, 2016, during the Generic Medicines Business Overview call,

Olafsson stated:

       There is no inflation in the generic pricing. . . .

       So what is the secret sauce? It’s not very complex. This has been the same
       winning formula I have talked about many, many times. Really to be top three in
       the market is so important.

                                                ***

       I think what I want to highlight is there will always be cycling of the pricing of
       generics. I have in my career, 23 years, never seen a real inflation. I mentioned
       to some of you before, I have been in the market where price declines was
       approximately 1% to 2%, probably 2%, and I’ve been in the market in 2006 and
       2007 when the price decline was 7%, 8%. And then it’s everything in between.

       So far, what we saw in the end of second quarter was approximately 4% in the
       US and 5% global. So, there will be a fluctuation, and obviously, it will affect



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       every generic Company. But the message I want you to take from this slide is
       with our business, with the size of our portfolio, with the flexibility of our
       manufacturing network, with the industry-leading position in the market, we are
       more shielded towards the prices up and down.

       235.    On the same call, Olafsson made the following statement regarding industry talk

about price inflation: “so first of all, we need to differentiate generics from branded pricing.

And people that say that the generic—there’s a big generic price inflation, are simply wrong.”

       236.    Also during the September 9, 2016 call, a Goldman Sachs analyst noted there had

been speculation that Teva was not raising prices during the approval process for the Actavis

deal and asked if the Company expected the “landscape in terms of pricing to change at all, now

that the deal is closed.” Olafsson responded:

       So first of all, it doesn’t work like we wake up when we are one Company, and
       we can take price increases. Simply, it doesn’t work like that in generics. When
       price increases are taken, there’s some kind of abnormality in the business.
       There are shortages.

       Remember that there’s 208 generic companies out there that are offering product,
       and an average of every molecule we have, there is more than five competitors.
       So there’s always somebody happy to take a little bit lower price. So it’s a very
       competitive business we’re in. I think overall, obviously, we look at each
       opportunity, but we come back to what Andy said and he will say it better, is we
       have an opportunity to work with it. We have a broader portfolio now.

       237.    During the September 9, 2016 conference call, the Company presented Investor

Slides related to pricing pressures in the Generics market. The slides contain the following

statements attributed to Olafsson:

              “Generic Price erosion varies year-to-year” and “Chasing market share will
               destroy value.”

              Listing Teva’s advantages as: “Price challenges are product specific – a broad
               diverse portfolio mitigates risk[;] Strong understanding of the market[;] Offering
               differentiated products – lower competition, durability[;] Competitive cost
               position[;] Industry leading pipeline – customers want access to our new products
               which brings them value.”

              “Price erosion is nothing new.”


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              Listing how Teva is positioned to succeed in the market as: “Teva operations is a
               competitive advantage and capable of creating additional value[;] Allows Teva to
               maximize the value of the best R&D engine in the industry[;] Diverse portfolio
               and competitive cost structure allows for long-term value creation.”

       238.    The statements set forth in the five paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements (i) citing non-price factors for

the decline in generic revenue, (ii) that nothing had changed in the pricing environment in which

Teva operated, and (iii) denying price inflation in the generic business, had the effect of

concealing, and/or failed to disclose, that, in truth, the Company’s reported financial results were

driven primarily by its undisclosed strategy to take massive price increases, either on its own or

in tandem with other manufacturers whom it purportedly competed with. This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA

backlog at the FDA, which would have the effect of introducing new competitors in the market.

In fact, by this time, the risk from Defendants’ undisclosed strategy had begun to materialize.

While Teva generated more than $541 million through price increases during FY16, that figure

represented a decline of more than $200 million, or nearly 30%, from FY15. Much of this

decline would have been known to Teva by September 2016. Having put into play the issue of

the source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its

revenues. Moreover, Desheh’s and Olafsson’s suggestions that pricing decisions were driven by

organic market factors—including the statements that “prices are very stable there . . .

depending on demand and supply” and “When price increases are taken, there’s some kind of

abnormality in the business”—were false and misleading in light of the Company’s undisclosed

practice of implementing massive short term price increases to boost revenue.


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       239.     These statements set forth in ¶¶ 233-37 above were also materially false and

misleading and/or omitted material facts because Teva was not operating in a “very competitive

business.” In truth, Teva’s undisclosed and inherently unsustainable strategy to take massive

short term price increases depended in large part on a lack of competition. In fact, during the

Relevant Period, Teva increased the prices of multiple drugs, many of which were done in

tandem with its purported competitors. See Section IV.E.

           W.          NOVEMBER 15, 2016

       240.     On November 15, 2016, in a press release filed with the SEC on Form 6-K, and

signed by Desheh, Teva reported its 3Q16 financial results. That same day, Teva filed its 3Q16

Form 6-K with the SEC, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 3Q16 Form 6-K. The Company’s 3Q16 Form 6-K also reported a YOY

increase in U.S. generic revenue of $261 million, or 25%, attributed to increased revenues from

Actavis. However, after removing Actavis’ $538 million in U.S. generic revenues that quarter,

Teva’s U.S. generic revenues from its legacy business suffered a YOY decline of $277 million,

or 27%. In discussing the increased revenues that were due to Actavis, Teva disclosed that those

revenues were: “partially offset by loss of revenues following our divestment of certain products

in connection with the acquisition, a decline in sales of budesonide . . . due to increased

competition and the loss of exclusivity on esomeprazole.”

       241.     Teva’s 3Q16 Form 6-K also contained the following statement regarding the

subpoenas the Company had received from the DOJ and the Connecticut Attorney General:

“Teva is not aware of any facts that would give rise to an exposure to the Company with respect

to these subpoenas.”

       242.     On November 15, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

3Q16 earnings conference call. During the call, a Credit Suisse analyst asked:


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       [J]ust around your comments you made around generic drug pricing, you
       mentioned that 7% erosion this quarter, but you said you’re confident it will still
       remain in the mid single-digits going forward. So can you just maybe provide a
       little bit more insight, there’s obviously an area that there’s a lot of investor
       focus, just what gives you the confidence that what’s going to happen in the
       coming quarters will be different than what you saw this quarter?

       243.   In response, Olafsson stated:

       Let me start on the drug pricing, so overall, like previous quarters, there hasn’t
       been any fundamental change in the US drug pricing. And what we saw in the
       difference between the 5% or mid single-digit we guided for going into it, versus
       exiting at 7%, was the impact of the pricing impact on the divested product.

       244.   When pressed on his explanation by a J.P. Morgan analyst, Olafsson reiterated:

“where I sit here today, experiencing the market, there hasn’t again been any fundamental

change.”

       245.   A Wells Fargo analyst also asked Olafsson on the same call if he was saying that

“the acceleration in the price decreases . . . this past quarter aren’t a result of increased

competition . . . and . . . not a result of having to tame previous price increases, or give back

some of those?” In response, Olafsson stated:

       No, basically, the main reason, David, was that we had to divest a very good
       portfolio of products that had limited competition, so we had to divest it. What
       our customers did, as they do, is that there is a new player in the market that took
       over those products, and that became a pricing pressure on roughly about 60
       molecules of -- and these were one of our top -- the top molecules we had in our
       portfolio. So there was an instability that happened in the market during the
       month of August, when the new owners were taking market share. . . . It didn’t
       change the structure of the market, or the chemistry of the market, but we saw the
       impact on the divested molecule significantly more than we saw for on the rest of
       the portfolio which gave us a 7% versus 5%, which we assumed going into the
       quarter.

       246.   The statements set forth in the five paragraphs above were materially false and

misleading and/or omitted material facts. Defendants’ statements (i) citing non-price factors for

the decline in generic revenue, and (ii) that nothing had changed in the pricing environment in

which Teva operated had the effect of concealing, and/or failed to disclose, that, in truth, the


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Company’s reported financial results, including the YOY decline in generic profits, were driven

primarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufacturers whom it purportedly competed with.               This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA

backlog at the FDA, which would have the effect of introducing new competitors in the market.

In fact, by this time, the risk from Defendants’ undisclosed strategy had begun to materialize.

While Teva generated more than $541 million through price increases during FY16, that figure

represented a decline of more than $200 million, or nearly 30%, from FY15. Much of this

decline would have been known to Teva by November 2016. Having put into play the issue of

the source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its

revenues. Moreover, Olafsson’s suggestions that price decreases were driven by organic market

factors—including the explanation that Teva “had to divest a very good portfolio of products that

had limited competition”—was false and misleading in light of the Company’s undisclosed

practice of implementing massive short term price increases to boost revenue, which, by this

time, was no longer sustainable.

           X.         JANUARY 6, 2017

       247.     During a January 6, 2017 Business Outlook Conference Call, Vigodman

announced that Teva would provide 2017 guidance early in January 2017. During the call,

Vigodman claimed Teva’s past success was not due to price increases, stating:

       Since the start of 2014, one of our greatest priorities has been to increase the
       profitability of our generics business. In the first three years of this great effort,
       we have been able to improve significantly the margins of Teva’s standalone
       generics business. This has been accomplished with a strong emphasis on the
       cost of goods sold, product mix, and the overall cost structure.


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       248.     The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported success

of their generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market were driven

primarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufacturers whom it purportedly competed with. Indeed, from FY13

through FY16 Teva generated more than $2.1 billion through price increases alone.                 This

strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. In fact, by this time, the risk from Defendants’ undisclosed strategy had begun to

materialize. While Teva generated more than $541 million through price increases during FY16,

that figure represented a decline of more than $200 million, or nearly 30%, from FY15. Having

put into play the issue of the source of Teva’s revenue growth and the subject of competition in

the generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and

the true source of its revenues.

           Y.          FEBRUARY 15, 2017

       249.     On February 15, 2017, Teva filed its 2016 Annual Report with the SEC on Form

20-F, signed by Desheh. Desheh signed the consolidated balance sheet. The Company’s 2016

Form 20-F also reported a YOY decline in U.S. generic revenues of $39 million, or 5%. When

removing the impact of Actavis’ $1.168 billion in U.S. generic revenues, Teva’s U.S. generic

revenues from its legacy business suffered a YOY decline of $1.4 billion, or 29%. The Form 20-

F explained that the decline:




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       [R]esulted mainly from the loss of exclusivity on esomeprazole . . . and
       aripiprazole . . . , a decline in the sales of budesonide . . . due to increased
       competition, loss of revenues following our divestment of certain products in
       connection with the Actavis Generics acquisition and the decline in sales of
       capecitabine.

       250.    The statements set forth in the paragraph above were materially false and

misleading and/or omitted material facts. Defendants’ statements citing non-price factors for the

decline in generic revenue had the effect of concealing, and/or failed to disclose, that, in truth,

the Company’s reported financial results, including the past success and current YOY decline in

generic profits, were driven primarily by its undisclosed strategy to take massive price increases,

either on its own or in tandem with other manufacturers whom it purportedly competed with.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory

and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing

of the ANDA backlog at the FDA, which would have the effect of introducing new competitors

in the market. In fact, by this time, the risk from Defendants’ undisclosed strategy had begun to

materialize. While Teva generated more than $541 million through price increases during FY16,

that figure represented a decline of more than $200 million, or nearly 30%, from FY15. Having

put into play the issue of the source of Teva’s revenue growth and the subject of competition in

the generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and

the true source of its revenues.

       251.    In the same February 15, 2017 Form 20-F, Teva described the “intense

competition” the Company faced in the U.S. generic market and its “strategic” and “competitive

advantages”:

       In the United States, we are subject to intense competition in the generic drug
       market from domestic and international generic drug manufacturers, brand- name
       pharmaceutical companies through lifecycle management initiatives, authorized
       generics, existing brand equivalents and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product


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       typically results in margin pressures. We believe that our primary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
       customer service and the breadth of our product portfolio.

       252.     The Company also described in the Form 20-F the “intense competition in the

generic market” and the primary factors driving growth in the Teva’s Generic Medicines

segment:

       Sales of generic medicines have benefitted from increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers,
       physicians and pharmacists globally. . . . These conditions also result in intense
       competition in the generic market, with generic companies competing for
       advantage based on pricing, time to market, reputation, customer service and
       breadth of product line. . . . We believe that our robust product pipeline, which
       has been enhanced with the Actavis Generics business, and ability to
       continuously launch new products are critical to our growth in the face of
       continuing price erosion expected in the generics market.

       253.     Teva’s 2016 Form 20-F also described the following Risk Factor:

       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and India)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of companies selling such
       product, including new market entrants, and the timing of their approvals.

       254.     The statements set forth in the five paragraphs above were materially false and

misleading and/or omitted material facts because Teva was not facing “intense competition” or

operating in a competitive environment.           In truth, Teva’s undisclosed and inherently

unsustainable strategy to take massive short-term price increases depended in large part on a lack

of competition. In fact, during the Relevant Period, Teva increased the prices of multiple drugs,

many of which were done in tandem with its purported competitors. See Section IV.E.

           Z.          FALSE AND MISLEADING DENIALS OF TEVA’S PARTICIPATION IN
                       COLLUSIVE CONDUCT

       255.     Teva repeatedly and falsely denied its participation in collusive conduct.


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       256.    In Teva’s August 3, 2017 Form 6-K filed with the SEC, Teva described the

various antitrust matters it faced, including the Connecticut AG and DOJ subpoenas and the

December 2016 State AG lawsuit referenced above, and fraudulently stated that “Teva denies

having engaged in any conduct that would give rise to liability with respect to the above-

mentioned subpoenas and civil suits.” Teva made materially identical false and misleading

statements in each of its periodic reports filed with the SEC between August 3, 2017, and May

10, 2019, including Teva’s Form 6-K filed on November 2, 2017; Teva’s Form 10-K for the year

ended December 31, 2017, filed on February 12, 2018; Teva’s Form 10-Q for the period ended

March 31, 2018, filed on May 3, 2018; Teva’s Form 10-Q for the period ended June 30, 2018,

filed on August 2, 2018; Teva’s Form 10-Q for the period ended September 30, 2018, filed on

November 1, 2018; and Teva’s Form 10-K for the year ended December 31, 2018, filed on

February 19, 2019.

       257.    Further, on October 31, 2017, in response to media reports issued after the State

AGs filed a proposed amendment expanding their first antitrust complaint, a Teva spokeswoman

stated to Courthouse News that “Teva denies these allegations and will continue to defend itself

vigorously in court.” The Company further stated that “[i]n accordance with our values, Teva is

committed to complying with all applicable competition laws and regulations. To this end, we

have a robust compliance program designed to ensure that our employees are aware of

competition laws, regulations and internal policies, and their obligations to abide by them.”

       258.    Teva issued further denials in a December 19, 2018 statement to Business Insider,

in which Teva denied the State AGs’ allegations and said it “will continue to vigorously defend

itself.” On January 18, 2019, Teva stated to Law360: “Overall, we establish prices to enable

patient access, maintain our commitment to innovative and generic medicines and fulfill




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obligations to shareholders.” Teva added that it is “committed to complying with all applicable

laws and regulations and is dedicated to conducting business with integrity and fairness.

Litigation surrounding U.S. generic pricing of several companies, including Teva, continues to

be the subject of inaccurate media stories.” On February 19, 2019, in response to media reports

discussing an unredacted version of the first State AG complaint that had recently been made

public, Teva stated to Bloomberg that it would “vigorously defend itself against these unfounded

allegations.”

       259.     In addition, each of the reports Teva filed with the SEC on Forms 10-Q and 10-K

throughout the Class Period contained certifications pursuant to Section 302 of the Sarbanes-

Oxley Act of 2002 (“SOX Certifications”) signed by Defendants Schultz and McClellan, stating

that the “report does not contain any untrue statement of a material fact or omit to state a material

fact necessary to make the statements made, in light of the circumstances under which such

statements were made, not misleading with respect to the period covered by this report.”

       260.     These statements were false and misleading because, as alleged specifically and

independently herein and at Sections IV.E and VI.H, Teva had in fact engaged in the collusive

conduct the State AGs alleged; Teva was not merely a participant, but the central actor in an

industry-wide scheme to fix prices and allocate customers; and four Teva executives were so

extensively involved in the unlawful conspiracy that they were named personally as defendants

in the State AGs’ May 2019 complaint.

           AA.         FALSE AND MISLEADING STATEMENTS REGARDING ACTAVIS
                       ACQUISITION

       261.     Teva’s Q3 2016 6-K asserted that the Actavis acquisition “had a significant

impact on our generic medicines segment, expanding our product portfolio, R&D capabilities,

product pipeline, and global operational network.”



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          262.   In the press release announcing the Q3 2016 results, Defendant Vigodman stated:

          This has been a year of transition for Teva, underscored this quarter by the close
          of our strategic acquisition of Actavis Generics, which had significant
          contribution to our results. Actavis will continue to contribute in a meaningful
          way to the future growth of our generics business through the strengthened R&D
          capabilities and complementary pipeline and portfolio, and enhance our
          leadership in an increasingly evolving industry.

          263.   During the Nov. 15, 2016, earnings call the same day, Teva made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

          [Vigodman:] The completion of the Actavis acquisition strengthens and broadens
          our R&D capabilities, and highly complements our product pipeline, product
          portfolio, geographical footprint and operational network. It enhances Teva’s
          leadership in an evolving competitive landscape and massive consolidation across
          our customer base. In addition, our integration plans with the Actavis generics
          business are on track.

                                                ***

          [Olafsson:] On August 2, we completed the strategic acquisition of Actavis
          generics. The result is a much stronger, more competitive Teva that is best
          positioned to thrive in an evolving global generics marketplace.

          264.   In response to a question about the Actavis acquisition, Defendant Olafsson

stated:

          The closing of the Actavis transaction has gone very smoothly since day one with
          no operational disrupter. While we were disappointed at the delays with antitrust
          review, the time allows the integration teams at Teva and Actavis Generics to work
          diligently to plan for integration of the two companies in order to ensure that
          combined company would be fully operational immediately as on closing of the
          transaction. As a result, Teva was able to begin capitalizing immediately on the
          benefits offered by the acquisition of Actavis Generics. This included optimizing
          our R&D activities, harmonizing our customer contracts and relationships, and
          realizing economies of scale with our purchase.




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       265.    On December 5, 2016, Teva filed a report on Form 6-K with the SEC, which

included the following false and misleading statements concerning the financial impact of the

Actavis acquisition and integration on the Company’s business prospects and reported financials:

       Erez Vigodman, Teva’s President and [CEO stated:] ... “As we continue to focus
       on integrating and realizing the value of the Actavis Generics transaction, which
       is progressing according to plan, Dipankar and his team will focus on generating
       organic growth through new launches and replenishing the pipe line through our
       industry-leading R&D, and drive efficiencies across the generics organization . . .
       .”

       ...

       [Dipankar] Bhattacharjee[, Teva’s President and CEO, Global Generic Medicines
       Group stated:] “With the integration of Actavis proceeding on schedule and the
       complementary U.S. distribution capabilities provided by our recent acquisition of
       Anda we have a matchless opportunity to add value in the U.S. healthcare system,
       and in the fast-changing global generics marketplace.”

       266.    On February 13, 2017, Teva filed with the SEC the Q4 2016 Press Release. In the

Feb. 13, 2017 earnings call the same day, Defendants Peterburg and Desheh made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

       [Peterburg:] The Company’s priorities continue to be extracting all synergies
       related to the Actavis generic acquisition, successfully launching the key generic
       and specialty products we have planned for 2017, and generating significant cash
       flow to rapidly pay down our existing debt to maintain a strong balance sheet.

       We are reiterating our guidance for 2017, including our earnings per share of
       $4.90 to $5.30. We are very committed to this EPS range, and the management
       team and I will do what it takes to protect it, including additional cost reduction if
       necessary

                                          *       *       *

       [Desheh :] The increase in our operating profit was driven mainly by our generic
       business, following the closing of the Actavis transaction.

                                          *       *       *




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         Total sales were $93 billion, with significant growth in goodwill and intangible assets,
         resulting from the progress made on the Actavis acquisition versus price allocation.

         267.    On February 15, 2017, Teva filed the 2016 20-F. In the 2016 20-F, Teva made

the following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

         In August 2016, we completed the Actavis Generics acquisition. Our strong
         legacy generics business, combined with the Actavis Generics business, has a
         world-leading product portfolio, comprehensive R&D capabilities, robust product
         pipeline and an efficient global operational network. The combined generic
         business has a wide-reaching commercial presence, as the market leader in the
         United States and a top three leadership position in over 40 countries, including
         some of our key European markets. The combined business benefits from a
         leading and diverse pipeline of products, which will help us continue executing
         key generic launches and further expand our product pipeline, focusing on both
         large and small opportunities. We expect that a larger number of smaller but more
         durable launches will help offset expected price erosion while diversifying our
         revenue stream.

                                             *       *        *

         Significant highlights of 2016 included:

                  In August 2016, we completed our acquisition of Actavis Generics. The
                   acquisition had a significant impact on our generic medicines segment,
                   expanding our product portfolio and pipeline, R&D capabilities and
                   global operational network

         268.    The 2016 20-F contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 by Defendants Peterburg and Desheh, stating that the financial information contained in

the 2016 20-F was accurate and disclosed any material changes to the Company’s internal

control over financial reporting.

         269.    On May 11, 2017, Teva filed a report on Form 6-K with the SEC reporting the

Company’s financial and operating results for the quarter ended March 31, 2017 (the “Q1 2017

6-K”).




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       270.    In the Q1 2017 6-K, Teva made the following false and misleading statements

concerning the financial impact of the Actavis acquisition and integration on the Company’s

business prospects and reported financials:

       On August 2, 2016, Teva consummated its acquisition of Allergan plc’s (“Allergan”)
       worldwide generic pharmaceuticals business (“Actavis Generics”). At closing, Teva
       transferred to Allergan consideration of approximately $33.4 billion in cash and
       approximately 100.3 million Teva shares. The acquisition significantly expanded Teva’s
       generics product portfolio and pipeline, R&D capabilities and global operational network.

       271.    In a conference call the same day, Defendants Peterburg and Desheh made the

following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

       [Peterburg:] As it relates to our first priority, I’m pleased to report the synergies related to
       the Actavis Generics acquisition and additional cost reduction, which the company has
       identified, is now on track to realize cumulative net synergies and cost reduction of
       approximately $1.5 billion by the end of 2017.

                                          *       *       *

       Turning to generics. It has been 2 full quarters since the completion of our acquisition of
       Actavis Generics. The acquisition has provided us with many benefits, especially much
       stronger and broader R&D capabilities, which we believe are the engine for any
       substantial generic business. This is essential in today’s world when we are operating
       across such an evolving competitive landscape and ongoing consolidation across our
       customer base. We are very confident that the global business we have built will allow
       Teva to thrive in the long-term future as a leader in the generics industry.

       [Desheh:] The increase in our operating profit was driven mainly by our generic business,
       following the closing of the Actavis transaction.

       272.    The statements referenced above were materially false and misleading.

Considered as a whole, Defendants’ representations misled investors by presenting a materially

false and misleading picture of Teva’s business, financial results and operations by, in addition to

the reasons set forth in Sections IV.E-G and V.AA, failing to disclose and actively concealing

the negative impact resulting from the acquisition and integration of Actavis on the Company’s

financial results and business prospects, which (among other things) exacerbated the risky and


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unsustainable nature of the Price-Hike Strategy, which collapsed shortly after the closing of the

Actavis acquisition in August 2016.

VI.    ADDITIONAL ALLEGATIONS OF SCIENTER

       273.    The Individual Defendants each acted with scienter in that each knew or

recklessly disregarded that the statements identified herein were materially false and misleading

and/or omitted material facts.

           A. THE INDIVIDUAL DEFENDANTS KNEW OF AND CONTROLLED TEVA’S
              GENERICS PRICING.

       274.    Throughout the Relevant Period, the Individual Defendants closely monitored

product-by-product pricing and deliberately chose which products to target for price hikes.

Between 2013 and 2015, when Teva was actively hiking prices and entering into collusive

agreements to drive profits, Teva’s generic pricing was one of the first topics the Individual

Defendants addressed in virtually all of the earnings conference calls throughout the Relevant

Period, and the Individual Defendants frequently discussed targeted price increases and margin

enhancement, including as follows:

              On May 1, 2014, Vigodman told investors that “we have been assessing markets
               and products, in order to terminate products and markets, which will not meet a
               minimum threshold of profitability. I strongly believe that there is significant
               strategic and economic value in global generics leadership. Teva must regain
               focus on its generic business, with strong emphasis on portfolio selection and
               management ….”

              On July 31, 2014, Olafsson represented to investors that “[w]e have taken the
               decision that in some of our markets, we look at the portfolio and we take a
               pricing decision, and see if we stay for this molecule or not.”

              On October 30, 2014, Olafsson suggested to investors that “there’s never a price
               increase on the base business as a whole. Like any other business, if there’s a
               pricing opportunity that comes in the market, we look for that…. When there is
               an opportunity, when there is a shortage in the market, we obviously look for
               pricing like any other business.”




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              On December 11, 2014, Olafsson told investors that “[w]e are looking through
               our portfolio, what are the most profitable products we have. We work hand in
               hand with the manufacturing and the operation, if we need to cut the portfolio to
               reduce our cost; but we still want to retain our leadership in the US market.”

              On January 13, 2015, Vigodman explained to analysts that opportunity for margin
               expansion in the generics business involved strong focus on “optimization of
               products and markets, product selection decisions.”

              On March 12, 2015, Desheh told analysts that to drive “the absolute profit” and
               not just the profit margins, price increases must be managed correctly, stating that
               “[w]e see price increases, we manage it right. You have to manage [it] correctly,
               it can bounce back very, very easily.”

       275.    After the government scrutiny on generic drug price increases heightened, the

Individual Defendants addressed the issues directly with investors and falsely denied the price

hikes and collusive activities:

              On November 29, 2015, Desheh reviewed Teva’s potential exposure from past
               conduct and represented to investors that “our exposure to all these things is very
               minimal.” He further emphasized that Teva played the competitive game “by the
               book and by the rule.”

              On January 11, 2016, Olafsson discussed his generics portfolio and conveyed that
               “on 5%, we might be flat or a slight increase” and the remaining 95% experienced
               a “slight decrease in pricing.”

              On February 11, 2016, in answering an analyst’s question about contracting with
               large customers in the United States, Olafsson stated that “you are really fighting
               on a molecule by molecule basis. If there is a lowering of the prices, you either
               have to walk away from the business and that’s that.” In addition, “[w]e basically
               launched the product. We compete on pricing.”

              On February 11, 2016, while touting Teva’s $1 billion improvement in operating
               profit over a 24-month period, Olafsson offered “how did we do this? Not by
               pricing.” Further, speaking on behalf of the industry, he stated “we and the
               generic industry overall don’t see price inflation of generics as it sometimes is
               portrayed in the media.”

              On May 9, 2016, Olafsson suggested that Teva did not buy market share, but
               instead, “[w]e … are seeing our volumes go down, deliberately.” Furthermore
               “we also walk away when the competition is too fierce on a product.”

              On June 8, 2016, Olafsson stated that, “about two years ago when they started the
               price increases[,] [t]here was a lot of shortages in the market. This is when the


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               FDA went very strongly and had the import bans and things like that, which led to
               shortages, which meant that the overall business was doing much better.”

              On September 9, 2016, Olafsson indicated that “pricing and pharmaceuticals are
               always a hot topic in an election year” and, with 208 generic companies, “an
               average of every molecule we have, there is more than five competitors. So
               there’s always somebody happy to take a little bit lower price. So it’s a very
               competitive business we’re in. I think overall, obviously, we look at each
               opportunity . . . we have an opportunity to work with it.” In turn, Andy Boyer,
               Head of North America Generics after the Actavis acquisition, affirmed that “if . .
               . there’s been a change in marketplace dynamics due to supply chain or someone
               leaving the market, we will evaluate that and price our products accordingly.”

              On December 14, 2017, CEO Kåre Schultz, Teva’s new CEO, stated that “[i]n
               order to secure that we have a long term sustainable portfolio, we are reviewing
               each and every product worldwide, and we will make pricing adjustments to the
               extent that this is necessary.”

       276.    This self-proclaimed personal involvement by the Individual Defendants supports

a strong inference that they possessed knowledge of the true state of affairs of the business, and

thus had knowledge that their representations were misleading, or were reckless in not knowing.

       277.    In the absence of collusion, moreover, Teva’s generic drug price hikes during

2013 to 2015 would have been against its self-interest and unsustainable. The rational response

to the massive price increases would be for “someone happy to take a little bit lower price” and

Teva would either fight “on a molecule by molecule basis” or “walk away from the business and

that’s that.” In a commoditized business with multiple competitors, price increases would indeed

“be a small pricing opportunity that usually comes in and comes out” as companies could only

gain market share by competing on price. Yet, as explained herein, Teva and its co-conspirators

substantially maintained market share on the drugs subject to collusion with negligible pricing

competition.

       278.    Furthermore, contrary to Olafsson’s justifications for Teva’s price hikes that

occurred in 2014, none of the drugs subject to collusive price increases experienced supply

shortages in the market around that time. Manufacturers were required by federal law to report


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any potential drug shortages to the FDA, and no shortage report existed for any of these drugs

around the time of their respective price hikes.

           B. THE INDIVIDUAL DEFENDANTS WERE MOTIVATED TO USE TEVA’S ADS AS
              “CURRENCY” FOR A “TRANSFORMATIONAL” ACQUISITION.

       279.    The Individual Defendants were motivated to inflate the price of Teva Securities,

in particular Teva ADS, in order to complete a “transformational” acquisition. By January 2014,

once the Price-Hike Strategy was fully implemented and had generated material profits toward

fourth quarter 2013 results, Desheh announced this motivation in setting out that “the stock price

will go up and we’ll be able to use our share as a currency . . . to fund transactions.” Upon his

hiring in February 2014, Vigodman was reported to also favor significant M&A activity.

       280.    Unbeknown to investors, Teva was already focused on acquiring Actavis by as

early as the middle of 2014. By the end of 2014, after multiple batches of systematic price hikes,

involving numerous drugs, that generated hundreds of millions of dollars of additional profits,

Teva’s ADS was trading in the mid-$50s. By then, as Vigodman would later acknowledge on

July 27, 2015, Defendants had developed a list of acquisition targets, with Actavis at the top.

Concealed from investors at this time, Teva had already approached Actavis, but was rejected.

       281.    By the end of the first quarter of 2015, the Price-Hike Strategy resulted in another

batch of hikes, yielding additional inflated profits and revenues. Teva’s ADS was trading near

$63. Defendants’ “willingness” to perform a “‘transformational’ acquisition in the generics

space” was well-known to analysts, as was their “urgency to diversify via M&A” as Barclays

and Leerink wrote on April 7 and 16, 2015, respectively. On April 21, 2015, Teva attempted to

purchase Mylan. Mylan’s Board dismissed the offer six days later.

       282.    Undeterred, during a June 10, 2015 Goldman Sachs conference, Teva again

announced glowing results, with Vigodman emphasizing to investors the “profound change in



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the generic business” and Olafsson noting the improvement of “$1 billion . . . in 14 months, 16

months,” while concealing that the Price-Hike Strategy undergirded this turn-around. Fueled by

profits from the fraud, by July 27, 2015, the price of Teva’s ADS reached an all-time high of

$72.

        283.   That day, Teva announced the $40 billion acquisition of Actavis from Allergan.

Vigodman explained that the improvement in generics was a “precondition” for accomplishing

their motivation for a deal. Indeed, without the inflated securities as a “currency,” Teva did not

have the cash; the $40 billion price tag was roughly twenty years of Teva’s average annual

income from 2013 to 2015. They raised the cash from Plaintiffs and other investors.

        284.   By the second quarter 2015, however, the Price-Hike Strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was increasingly unable to make

additional large price increases. The price-hike-related revenue and profit began to deteriorate,

even as the Teva needed to raise the capital necessary to pay Actavis’s $40 billion price tag. As

questions were raised regarding the deteriorating pricing environment and Teva’s weakening

financials, Defendants flatly denied that Teva was deriving profits from extraordinary price

increases, or that Teva was facing pricing pressure. It was not until Teva completed over $27

billion in public offerings by July 28, 2016, and closed the Actavis deal on August 2, 2016, that

they disclosed that their generics business was now the subject of government subpoenas. Soon

after that, the truth began to leak into the marketplace, and the fraud fell apart.

           C. THE INDIVIDUAL DEFENDANTS SPOKE REPEATEDLY ABOUT TEVA’S PRICING
              OF GENERIC DRUGS.

        285.   The Individual Defendants repeatedly claimed that they had knowledge of the

sources of Teva’s generics profitability, particularly knowledge of whether Teva had taken price

increases and whether those price increases contributed to the increased profitability of Teva’s



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generics division. For example, on October 29, 2015, Vigodman claimed awareness that “all the

improvement . . . in our . . . margins is not driven by price. It is driven by quantities and by mix

and by efficiency measures. Not by price, 2014, 2015.” Similarly, on February 11, 2016,

Olafsson claimed he knew that the “$1 billion improvement in operating profit over 24 months

period,” was achieved “[n]ot by pricing but by portfolio mix, new products, and efficiency

measures.” On November 19, 2015, when asked about industry price increases, Desheh claimed

that “Teva was not associated with any of that.”

       286.    The Individual Defendants also claimed knowledge of when Teva would take

price increases, limiting them to instances with shortages. For example, on October 30, 2014

Vigodman claimed he knew that Teva looked for pricing only “when there is a shortage in the

market.” On August 4, 2016, Olafsson claimed that Teva would increases prices only where

there were “shortages in the market,” then “there might be a small pricing opportunity.”

       287.    The Individual Defendants further claimed they were aware of the rate of pricing

decline that Teva was experiencing in 2016, and how it compared to prior years. For example,

on June 3, 2016, Vigodman asserted he knew that “[w]hat we see is a 4% to 5% erosion. That’s

not something which is different from what we said during 2015.” Earlier, on May 9, 2016,

Olafsson asserted awareness that despite “a tougher pricing environment or price deflation,”

“Teva has not seen any fundamental change or worsening in the pricing environment. . . . What

this boils down to is each individual company’s business model. . . . Nothing has happened in

the last two quarters that has changed the pricing environment.” Similarly, on September 7,

2016, Desheh claimed that the pricing environment for Teva’s base generic business was “very

stable,” and that “there’s no pressure on prices.”




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       288.    The Individual Defendants also claimed knowledge of whether Teva was

competing in a functional and competitive generics market. For example, on July 27, 2015,

Olafsson asserted that he knew that “there’s fierce competition on most of [Teva’s] portfolio, if

not all the portfolio.” During that same call, Vigodman added, “We believe in competition, and

we’ll do what is needed in order to win all the markets we operate.” On November 19, 2015,

Desheh claimed he knew that Teva was “playing a competitive game . . . playing it fairly . . . by

the book and by the rule.”

       289.    This self-proclaimed personal involvement by the Individual Defendants’

supports a strong inference that they possessed knowledge of the true state of affairs of the

business, and thus had knowledge that their representations were misleading, or were reckless in

not knowing.

           D. THE INDIVIDUAL DEFENDANTS, AND ANALYSTS, WERE KEENLY FOCUSED ON
              TEVA’S GENERICS BUSINESS.

       290.    The fact that the Individual Defendants repeatedly publicized that Teva’s generics

segment, fueled by its U.S. division, was driving the Company’s turnaround during the Relevant

Period supports a strong inference of scienter. For example, on May 13, 2015, Desheh described

the turn-around in generics as “nothing short of a revolution.” On June 10, 2015, Olafsson

touted improvement of the “generic business by . . . $1 billion [] in 14 months, 16 months.” That

same day, Vigodman touted “the profound change in the generic business,” citing increased

operating profit from 2013 to 2014.

       291.    Analysts accordingly focused on Teva’s generics businesses, and particularly its

U.S. division, as a financial driver for the Company, further supporting a strong inference of

scienter. For example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of

the generics business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva



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continues to make progress on generics profitability . . . we remain encouraged by the recovery

in Teva’s generic business.”       The same day Cowen and Company noted that Teva’s

“outperformance was a result of better than expected U.S. generic sales.”

       292.    Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

peppered the Individual Defendants with questions about pricing pressure over the course of

several months, which were met with detailed answers: For example, on February 11, 2016,

Guggenheim asked Olafsson about “pricing pressure in the generics business,” with Olafsson

claiming to know that “on the pricing . . . we didn’t see anything change in fourth quarter.” On

September 7, 2016, Wells Fargo asked whether Teva was “seeing the same generic erosion,

pricing erosion that some of the other companies” had, to which Desheh asserted he knew that

“the base [generics] business . . . the prices are very stable there.” The Individual Defendants’

sustained focus on Teva’s generics business, and its pricing, supports an inference of scienter.

           E. THE MAGNITUDE, IMPORTANCE, AND DURATION OF THE FRAUD.

       293.    During the Relevant Period, Teva made astronomical increases in the prices of its

generic drugs, including multiple price hikes of more than 800%, and some more than 1700%.

Such massive price increases impacted more than 55 separate drugs, over a four-year period.

Given the intense focus on pricing in the generic drug industry, and the fact that Teva’s senior

executives, including the Individual Defendants, were asked questions regarding Teva’s pricing

and pricing trends during every earnings conference call and at many industry meetings, it is

implausible that the Individual Defendants—the most senior executives of the Company—were

not aware of price increases on this scale in Teva’s core business unit.

       294.    These massive price increases also contributed billions of dollars to Teva’s

bottom line. Indeed, from 2013 through mid-2017, Defendants’ fraud generated more than $2

billion in additional revenues. Further, given that the costs of implementing price increases are


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effectively zero, these massive increases in revenue flowed directly into Teva’s profits—which

increased by similar amounts. For example, Teva’s profits from Pravastatin, one of Teva’s better

selling generics, amounted to at least $370 million after instituting price increases of up to 437%.

Similarly, Teva increased the price of Propranolol HCL by nearly 300% and obtained nearly

$256 million in profits. Teva also gained over $143 million in such profits from increases of up

to 306% in its prices for Baclofen, $110 million from increases of up to 182% in its prices for

Fluocinonide; $138 million from increases of up to 579% in its prices for Methotrexate Sodium;

and $102 million from increases of up to 1111% in its prices for Ciprofloxacin HCL.

       295.    The intense national focus on price increases in the generic drug business from

the beginning of the Relevant Period demonstrates that Defendants must have been aware of

what was going on with respect to pricing at Teva.           Even assuming that the Individual

Defendants—Teva’s top executives—were not put on notice by massive and unexplained price

spikes in the Company’s core generics division, the historic rise in generic drug prices

immediately before and during the Relevant Period was well-publicized. Indeed, the gargantuan

prices increases by Teva and other generic manufacturers led Congress to commence an

industry-wide investigation beginning in 2014. On October 2, 2014, Defendant Vigodman

received a letter from U.S. Senator Bernie Sanders and U.S. Representative Elijah Cummings,

putting Teva on notice of an investigation and requesting pricing data and other information

regarding the Company’s generics business. Congress asked Defendants to provide information

regarding massive increases in the price of Teva’s generic drugs that coincided with similar

increases by other generic drug manufacturers. For example, the letter requested information

regarding “the underlying causes of recent increases in the price of [Teva’s] drugs” that have

increased by “as much as 736 percent for Divalproex Sodium and 573 percent for Pravastatin




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Sodium from October 2013 to April 2014. Over that time period, the average market price went

up by as much as $735 for Divalproex Sodium and $426 for Pravastatin Sodium,” depending on

the formulation.

       296.    As noted above, Teva refused to appear to testify or to produce documents in

response to the Congressional inquiry. This Congressional investigation, the subsequent DOJ

subpoena to the Company, and the widespread publicity surrounding the price hikes that

spawned these investigations, gave rise to a duty to investigate the existence of price increases at

Teva and a duty to monitor changes in the Company’s generic drug pricing. At a minimum,

Teva’s and the Individual Defendants’ false and misleading statements were recklessly made, in

dereliction of their duty to investigate and monitor changes in the pricing of the Company’s core

products.

       297.    Likewise, in 2016, the Price-Hike Strategy deteriorated as Teva began to

experience significant pricing pressure and accelerated price erosion, and was no longer able to

implement additional price hikes; as a result Teva’s generic drug profits plummeted. Indeed,

Teva’s deteriorating financial condition in 2017 called into question whether it could service its

massive $35 billion debt, forced the Company to take a staggering $6.1 billion impairment

charge to its generics business, and reduce its dividend. The stronger inference by far is that the

Individual Defendants were aware of the source of this decline, or were reckless in not knowing.

            F. TEVA’S TURN-AROUND NARRATIVE RELIED ON EXTRAORDINARY PRICE
               INCREASES.

       298.    By the end of 2013, Teva’s U.S. generics business suddenly began reporting

significant growth. For example, in 4Q13, its U.S. generics division reported earnings of $1,178

million, as compared to $1,034 million the year before—an increase of approximately $144




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million, or nearly 14%. This was a striking turn around. Relative to 2012, Teva’s net revenues

for the nine month period ending September 30, 2013, were down year-over-year.

       299.   By April 7, 2014, National Alliance Securities analysts had taken note of Teva’s

new-found financial success: although its generics division had “dramatically underperformed in

2013” as compared to its peers, only a few months after the end of 2013, Teva’s performance in

generics was, remarkably, “the Best YTD” among its peers.

       300.   By the end of 2014, Defendants’ remarkable “turnaround” story for the

Company’s generics business had propelled the Company’s ADS price from around $37 in late

October 2013, to $56 by the end of 2014.

       301.   Teva’s financial success continued into 2015, and by the end of July 2015, its

stock price exceeded $70 per share.

       302.   It is implausible that the Individual Defendants, who directly oversaw, and spoke

publicly at length about, the “turnaround” in Teva’s generics business, were unaware of the true

source of the Company’s changed fortunes. The far more compelling inference is that these

executives, whose ascension and arrival coincided with massive price increases, and whose

departures coincided with expanding governmental probes into those same price increases, were

well aware that Teva’s newfound success was driven by these price increases.

           G. THE FRAUD CONCERNS THE CORE OF TEVA’S OPERATIONS.

       303.   Teva’s production of generic drugs was the Company’s core operation during the

Relevant Period. During the Relevant Period, Teva was the largest manufacturer of generic

drugs in the world, controlling 13% of the generic drug market by mid-2015. Generic drug sales

accounted for a substantial portion of Teva’s revenues and operations during the Relevant

Period. For example, in 2014, Teva’s revenues from the segment including generics accounted

for 42.13% of the Company’s total revenues.         In 2015, the percentage of the Company’s


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revenues from the segment including generics jumped to roughly 50%. It is implausible that the

Individual Defendants, who were the Company’s senior-most executives, were unaware of the

historically colossal price increases being implemented by the Company—particularly given the

significant positive impact those price increases were having on Teva’s financial performance.

As the Company’s most senior executives, the Individual Defendants had access to information

concerning these price increases. At a minimum, they were reckless in misleadingly telling

investors that the Company’s improved financial outlook was due to cost-cutting, product mix

and other factors without investigating whether changes in prices for the Company’s products

were not a factor in that turnaround.

           H. THE COLLUSIVE NATURE OF THE CONCEALED PRICE INCREASES SUPPORTS
              SCIENTER.

       304.    That the fraud involves collusion by Teva with other generic drug manufacturers

to fix prices in their industry further supports scienter for several reasons. In each instance of a

collusive price increase, the drug’s major manufacturers, including Teva, enacted large price

increases at or around the same time, raising prices to exactly, or nearly exactly, the same level.

For some, Teva was the first to raise prices, and others followed; other times, Teva followed

another manufacturer’s lead.

       305.    Price Increases Against Self-Interest. There was no reasonable commercial or

economic justification for the price increases in the drugs at issue. No shortage or sudden

increase in demand explains Teva’s price increases, contrary to the Individual Defendants’

explicit statements. Thus, absent a collusive understanding among competitors, a manufacturer

that acted alone to enact significant price increases ran a tremendous risk of losing all, or most,

of its market share if competitors undercut the suddenly-inflated price. As an empirical fact,

each manufacturer was able to substantially increase, and maintain increases on, the prices for



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the subject drugs within a short period of time; no competitor sought to seize increased market

share by undercutting the other market participants with even a slightly-smaller price increase.

Without a deliberate strategy, such price increases would have been against Teva’s self-interest.

The fact that Teva was so often willing to expose its market share to predation by other

manufacturers whose prices sat many multiples below Teva’s plausibly suggests that, in reality,

there was no risk at all; Teva had reached a collusive understanding that other market

participants would themselves raise prices soon thereafter, and/or that Teva’s “fair share” of the

market would remain untouched despite its extraordinary price increase.

       306.    Motive and Opportunity. Companies and individuals involved in generic drug

pricing, sales, and marketing are, as in any other industry, motivated to increase the profit earned

on their products. In the generic drug industry specifically, the natural profit motive may bend

toward a motive to collude, due to the cold realities of marketing products that are, despite their

scientific sophistication, a commodity. Because federal law requires generic drugs to be “readily

substitutable,” price is the only meaningful mechanism by which generic drug manufacturers

may differentiate their products, a circumstance which over time, and absent collusion, drives

prices down to a point just above the manufacturers’ marginal costs of production. Each of the

drugs at issue is a long-established generic in a mature market in which prices had leveled off to

a steady equilibrium. The manufacturers of the Collusive Drugs, therefore, had a common

motive to increase their profits by conspiring to raise prices in tandem, overriding the natural

downward pressure on prices.

       307.    In the context of this motive, each Collusive Drug’s market is characterized by

factors that, as a matter of economics, present the opportunity to collude, including:

              High Concentration The market for each Collusive Drug was an
               oligopoly by a handful of manufacturers who collectively controlled
               substantially all of the market.


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             High Barriers to Entry Entering a generic pharmaceutical market requires
              significant lead time for development and regulatory approval. The cost
              is significant; the process of obtaining regulatory approval alone can cost
              millions. Further, there is financial risk that the recoupment of any
              investment could be delayed or never happen. Regulatory approval,
              known as an “ANDA” approval, could be denied or delayed for months
              or years due to technical failures or other factors. According to the GAO
              and others (including Teva), during the Relevant Period the FDA was
              significantly “backlogged,” and thus potential market entrants could have
              to wait years for approval. It has been reported that in 2015 ANDA
              approvals often took 40 months or more.

             Demand Inelasticity the Collusive Drugs are all important, and in many
              cases absolutely critical, to the end-consumer’s health and well-being. As
              a general matter, demand for such drugs is inelastic, i.e., the quantity
              demanded does not vary significantly as price changes, as the consumer
              cannot simply walk away as prices rise. Another factor contributing to
              demand inelasticity is that health insurance plans typically will pay for
              medications regardless of price, so long as the drug is on the plan’s
              approved list. Counsel undertook statistical analysis of the market for
              each of the Collusive Drugs, and confirmed inelasticity for each drug and
              empirically observed that volume did not change as the price increased.

             Lack of Alternative Products Doctors choose to prescribe specific drugs
              to their patients for reasons related to the specific pharmacological
              distinctions among the drugs in a particular class and, consequently, they
              cannot simply substitute one product for another when price varies. This
              is true of the Collusive Drugs. For instance, Pravastatin is one of several
              generic statins, but unique for its relatively low level of binding to blood
              plasma proteins, which may have life-altering implications for certain
              patients.

             Inherent Fungibility of Generic Drugs Each manufacturer’s version of
              each of the Collusive Drugs is, by nature, interchangeable with any other
              manufacturers. By law, all generic drugs must be readily substitutable for
              another generic of the same brand drug.

       308.   Inter-Firm Communications The State AGs’ CAC describes evidence showing

Teva, through its directors, officers, and employees—including the Individual Defendants—

engaged in extensive direct communication with other manufacturers. For example, the State

AGs allege that over 1,500 communications occurred between certain of Teva’s “senior sales

executives and other individuals responsible for the pricing, marketing and sales of generic

drugs” and employees at 15 other manufacturers between July 1, 2013 and July 30, 2014.




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        309.     Furthermore, Plaintiffs’ counsel’s investigation identified a multitude of trade

shows and conferences that afforded individuals responsible for Teva’s generic drug prices an

opportunity to interact with their counterparts at other manufacturers during the relevant period,

many of which occurred in close proximity to price increases that Teva and/or another

manufacturers implemented on generic drugs. A list of such events, indicating attendance by

Olafsson, Oberman, Cavanaugh, Kevin Galownia (“Galownia”),18 and Nisha Patel (“Patel”)19 is

attached hereto as Appendix B. In all instances identified in that appendix, representatives of at

least one other manufacturer—and typically many more—also attended.

        310.     Trade shows and conferences provided opportunities for one-on-one meetings

with between Teva personnel, including several of the Individual Defendants, and those of other

manufacturers.     For instance, at both the 2013 and 2014 annual meetings of the National

Association of Chain Drug Stores (“NACDS”), Teva reserved a “strategic exchange” bungalow.

NACDS advertised “strategic exchange” bungalows as “opportunities to meet and discuss

strategic issues with key trading partners.” In essence, Teva paid for a secluded area where its

personnel could meet privately with others, including other manufacturers.

            I. GOVERNMENT EVIDENCE SUPPORTS AN INFERENCE OF SCIENTER.

        311.     Corroborating the inferences drawn from Plaintiffs’ counsel’s investigation, the

State AGs’ CAC alleges, based on specifically-described communications, seven drug markets

where Teva conspired to fix prices and/or allocate markets, namely the markets for:



18
     Galownia has been Teva’s VP of Pricing Operations since January 2018, and formerly was
     Teva’s Senior Director, Marketing from January 2010 to March 2014, and its Senior
     Director, Marketing Operations from September 2014 to December 2017.
19
     Patel was Teva’s Director of Strategic Customer Marketing from April 2013 to August 2014
     and Director of National Accounts from September 2014 to December 2016, and Patel was
     on maternity leave on or about August to December 2013.


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Acetazolamide, Glipizide-Metformin, Glyburide, Glyburide-Metformin, Leflunomide, Nystatin,

and Theophylline.

       312.    The State AGs focus many of their drug-specific collusion allegations on the

communications of Malek, Heritage’s President.        In dealing with Teva, Malek coordinated

market allocation and price increases with a particular Teva employee, with whom he had a

preexisting relationship. This employee joined Teva in April 2013, and was on maternity leave

from August through December 2013. On information and belief, this employee is Nisha Patel

(“Patel”), Teva’s Director of Strategic Customer Marketing from April 2013 to August 2014 and

Director of National Accounts from September 2014 to December 2016. Patel’s tenure at Teva,

based on publicly available social media sites, aligns with that of Malek’s Teva contact. The

following is a brief timeline of those interactions, and their anticompetitive outcomes:

              July 2013: After three calls between Malek and Patel spanning more than
               43 minutes, Nystatin appeared on an internal Teva list of “potential” price
               increases, despite a Nystatin price increase having met internal resistance
               the prior month, when Teva first considered the prospect. Patel went on
               maternity leave soon afterwards.

              February 7, 2014: After several contacts between Patel and Malek,
               Nystatin again appeared on an internal Teva spreadsheet as a candidate
               for a price increase.

              April 4, 2014: Teva increased the Wholesale Acquisition Cost (“WAC”),
               the list price of a generic manufacturer’s drug to a wholesaler or a direct
               purchaser without discounts, for Nystatin and Theophylline.

              April 15, 2014: Malek and Patel had a 17 minute conversation, during
               which they discussed price increases and/or market allocation as to at
               least the seven drugs referenced above. Patel and Malek determined that,
               as Teva had raised WAC on Nystatin and Theophylline days earlier, Teva
               would “take the lead” on implementing price increases for those drugs,
               and other competitors would follow. Heritage would lead on the other
               five.

              April 16-17, 2014: Multiple Teva employees communicated with Zydus,
               a competitor in the market for Acetazolamide.

              May 1-6, 19-22, 2014: Patel had at least three calls and exchanged at least
               30 text messages with the Actavis pricing manager responsible for
               Glyburide-Metformin.


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              May 9, 2014: A Teva employee responsible for pricing spoke with their
               counterpart a Mylan, a competitor in the market for Glipizide-Metformin;
               these employees remained in close communication through 2014.

              July 8, 2014: Teva refused to bid when a large Heritage customer
               requested a quote on Nystatin from Teva, in response to Heritage’s price
               increase on the drug.

              By July 9, 2014: Teva had increased prices on Nystatin, Theophylline,
               Glyburide, and Glyburide-Metformin, and Heritage had increased prices
               on all seven drugs Malek and Patel had discussed on April 15. If Teva
               did not increase prices, it furthered the agreement by refraining from
               bidding competitively, lowering prices, or, in the case of Leflunomide,
               leaving the market entirely.

              July 25, 2014: After a large wholesaler solicited bids from Teva and
               Aurobindo on Glyburide, Teva spoke with Heritage (and Heritage with
               Aurobindo) “to ensure uniformity and compliance with the scheme,” and
               resolved that Teva and Aurobindo would decline to provide a bid.

       313.    These seven examples of Teva’s reaching anticompetitive agreements are drawn

just from the limited subset of drugs manufactured by both Teva and Heritage, a relatively small

player in the industry. The State AGs have indicated that the common thread of the State AGs’

CAC is Heritage, and that they plan to bring separate complaints focused on companies other

than Heritage. The States are investigating collusive conduct relating to nearly 200 additional

drugs, and filed a significantly expanded complaint in May 2019, as set forth herein.

       314.    The DOJ also continues to actively investigate Teva, as evidenced by its motion

to stay discovery in the Propranolol Antitrust matter on the ground that the plaintiffs’ allegations

of price-fixing “overlap[] substantially with one aspect of [DOJ’s] criminal investigation.” The

U.S. District Court for the Southern District of New York., in sustaining the Propranolol

Antitrust allegations over Teva’s motion to dismiss, reasoned that “[t]he presence of an ongoing

investigation into the same subject matter as alleged in the pleadings here raises an inference of

conspiracy.” The DOJ intervened similarly in In re Generic Pharmaceutical Pricing Antitrust

Litigation, Case No. 2:16-md-02724 (E.D. Pa.) (the “Generics MDL”), seeking stays and

asserting that the drugs at issue—including Baclofen, Fluocinonide, Pravastatin, and


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Propranolol—overlap with the DOJ’s criminal investigation, further corroborating the existence

of illegal price-fixing as to those drugs.

            J. THE INDIVIDUAL DEFENDANTS’ HIGH-LEVEL POSITIONS, ACCESS TO
               INFORMATION, AND CONTROL OF TEVA’S PUBLIC STATEMENTS.

        315.    As the Company’s top executives, the Individual Defendants—including

Vigodman, Desheh, Oberman, and Olafsson, respectively the Presidents, CEOs, CFOs, President

and CEO of Teva Americas Generics, and President and CEO of Teva’s Global Generics

Medicines Group (the divisions where the heart of the misconduct alleged herein took place)—

controlled the Company’s day-to-day operations and were informed of and responsible for

monitoring Teva’s generics business. The Individual Defendants had access to various sources

of information concerning Teva’s U.S. generics business, including pricing. These sources gave

these Defendants access to information that was adverse to their public statements during the

Relevant Period. Because of their high-level positions, each was provided with, or had access to,

copies of the documents alleged herein to be false or misleading prior to, or shortly after, their

issuance, and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of their positions and access to material non-public information concerning

the Company, the Individual Defendants knew or recklessly disregarded that the adverse facts

alleged herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations that were being made to investors were materially false, misleading, and

incomplete. As a result, the Individual Defendants were responsible for the accuracy of Teva’s

corporate statements, and each is therefore responsible and liable for the representations

contained therein or omitted therefrom.

        316.    Defendant Vigodman served as Teva’s President and CEO from February 11,

2014 to February 6, 2017 and as a Teva Director from June 22, 2009 to February 6, 2017.



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Vigodman signed and certified certain of Teva’s reports on Forms 20-F (including the 2014 and

2015 Form 20-F SOX Certifications) and 6-K, including consolidated balance sheets, filed with

the SEC during the Relevant Period, as set forth herein. Vigodman had a duty to monitor any

conduct that threatened to undermine the veracity of these filings, including the conduct alleged

herein. Vigodman had access to pricing data for the Company’s generic drugs. Notwithstanding

the certifications signed by Vigodman and his access to pricing data, Vigodman knowingly or

recklessly failed to disclose the overwhelming significance of the price increase plan to the

financial resurgence of Teva.

       317.    Vigodman also, in response to a direct question on pricing practices during an

October 29, 2015 investor conference, falsely assured investors that, “[w]e are very responsible .

. . in everything that pertains to prices on the generic side and on the specialty side.” He

continued, “[a]nd I will even put it another way, all the improvements you see in our – in

margins is not driven by price. It is driven by quantities, and by mix, and by efficiency

measures, not by price, 2014, 2015. And that’s a very important message.”

       318.    Defendant Desheh served as Teva’s CFO from July 2008 to June 30, 2017, except

from October 30, 2013 to February 11, 2014, when he served as Teva’s Interim CEO and Interim

President. Desheh also served as Teva’s Group EVP from 2012 to June 30, 2017. Desheh

signed and certified certain of Teva’s reports on Forms 20-F (including the 2013, 2014, 2015,

and 2016 Form 20-F SOX Certifications) and 6-K filed with the SEC during the Relevant Period,

including consolidated balance sheets, as set forth herein. Desheh had a duty to monitor any

conduct that threatened to undermine the veracity of these filings, including the conduct alleged

herein. Desheh had access to pricing data for the Company’s generic drugs. Notwithstanding

the certifications signed by Desheh and his access to pricing data, Desheh knowingly or




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recklessly failed to disclose the overwhelming significance of the price increase plan to the

financial resurgence of Teva.

       319.    During the Relevant Period, Desheh made additional false and misleading

statements regarding the Company’s pricing. For example, during a November 2015 investor

conference, Desheh addressed pricing head on: “There is a lot of noise around pricing issues.

Some of it is coming from politicians [who are] driving agenda[s]. . . . Our exposure to all these

things is very minimal. . . . I believe there are many examples for competitive environment, real

competition, like we see in generic market in the United States. . . . So it’s a highly competitive

environment with players coming from all over the world with a very fierce price competition.”

Even in the face of this direct question, Desheh never disclosed the price increase plan.

       320.    Defendant Olafsson served as President and CEO of Teva’s Global Generics

Medicines Group from July 1, 2014 to December 5, 2016. In that role, Olafsson had access to

pricing data for the Company’s generic drugs. Olafsson also possessed the power and authority

to control the contents of the Company’s reports to the SEC concerning Teva’s U.S. generics

business and was provided with copies of the Company’s reports and press releases alleged

herein to be misleading before, or shortly after, their issuance and had the ability and opportunity

to prevent their issuance or cause them to be corrected. Olafsson also would have received

reports showing the amount of profit earned from price increases on Teva’s generic drugs.

       321.    Olafsson assured investors during the Relevant Period that Teva’s strong

performance in its generics business was not the result of pricing changes: “This is $1 billion

improvement in operating profit over 24 months period. So how did we do this? Not by pricing

but by portfolio mix, new products, and efficiency measures.” In response to an analyst request

regarding the source of price increases, Olafsson falsely responded as follows: “So first of all, it




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doesn’t work like we wake up when we are one Company, and we can take price increases.

Simply, it doesn’t work like that in generics. When price increases are taken, there’s some kind

of abnormality in the business. There are shortages. . . . So there’s always somebody happy to

take a little bit lower price. So it’s a very competitive business we’re in.” Even in the face of

this direct question, Olafsson never disclosed the price increase plan.

           K. THE SHORT PERIOD OF TIME BETWEEN THE FALSE STATEMENTS AND THE
              CORRECTIVE DISCLOSURES SUPPORTS SCIENTER.

       322.    On August 4, 2016, three days after the Notes Offering, and two days after the

Actavis transaction closed, Teva reported second quarter 2016 financial results that reflected a

$434 million decline in revenues in its U.S. generics segment compared to the second quarter of

2015. Teva also disclosed for the first time that it was subject to DOJ and State AG price-fixing

investigations. In fact, on July 12, 2016—the day before Teva suddenly decided to rush its bond

offering to market—Teva had been served with a subpoena by the Connecticut Attorney

General; and three weeks earlier, on June 21, 2016, Teva had been served a subpoena by the

DOJ, indicating that Teva was now a focus of the investigations into illegal price collusion. The

timing of these events, with Defendants rushing an offering to market and increasing the

Company’s guidance immediately after receiving government subpoenas regarding their pricing

policies, strongly supports an inference of scienter.

       323.    On January 6, 2017, less than six months after raising its guidance on the same

day it announced the surprise bond offering, Teva significantly lowered its guidance, admitting

that its generics business was underperforming as a result of the pricing pressures it had claimed

immunity from. As Vigodman described in the January 6, 2017 conference call, Teva “ha[s] an

EBITDA gap of $1.2 billion emanating from our US generics business.”




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       324.    Market reaction to Defendants’ disclosures was fast and furious. Commentators

noted: “The larger point here is this: how is it possible that 2017 EPS guidance was cut by as

much as 18% within the space of six months with largely the same senior management team in

place?”   The temporal proximity of Defendants’ disclosures that pricing pressures were

impacting Teva’s generics business, less than six months after they raised guidance and assured

investors that there would be no such effect, further supports an inference of scienter.

           L. THE INDIVIDUAL DEFENDANTS WERE PERSONALLY MOTIVATED BY
              COMPENSATION.

       325.    The Individual Defendants made millions of dollars in personal compensation

from the reported success of the Company’s U.S. generics business during the Relevant Period.

They received cash bonuses of as much as 158% of their annual salaries based on performance

metrics directly impacted by the illicit revenues derived from fixing and maintaining prices,

rigging bids, and allocating customers and markets. Teva also made substantial equity grants to

Defendants Vigodman, Desheh, Olafsson, and likely other senior officers, including options to

purchase shares, awards of restricted shares, and awards of Performance Share Units (“PSUs”).

       326.    For 2015, Teva reported paying defendant Desheh more than $1.8 million in cash

and $1.7 million in equity compensation. (His compensation as not disclosed for 2014 or 2016.)

For 2015 and 2016, Teva reported paying defendant Olafsson more than $4.8 million in cash and

more than $3.5 million in equity compensation. (His compensation was not disclosed for 2014.)

For 2014 to 2016, Teva reported paying defendant Vigodman more than $8.4 million in cash and

more than $5 million in equity compensation.

       327.    The Individual Defendants’ compensation structure incentivized fraud. The intent

of the Company’s Compensation Policy for Executive Officers and Directors (the

“Compensation Policy”) was



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       [T]o incentivize [Teva’s] executive officers by creating a strong link between their
       performance and compensation.          Therefore, a significant portion of the total
       compensation package provided to Teva’s executive officers is based on measures that
       reflect both Teva’s short- and long-term goals and performance, as well as the executive
       officer’s individual performance and impact on shareholder value.

        328.   Teva’s Compensation Policy stated that a “significant component” of that policy

the Company’s annual cash bonus program. Teva described the bonuses as “strictly pay-for-

performance . . . as payout eligibility and levels are determined based on actual financial and

operational results, as well as individual performance.” While the Compensation Policy laid out

the general parameters of the bonus program, it gave Teva’s Board and its Compensation

Committee some flexibility to alter the measurements used to award cash bonuses year-to-year.

               1. 2014 Compensation

        329.   In 2014, Defendants Vigodman, Desheh, and Olafsson received cash bonuses and

equity compensation based, in significant part, on Teva’s achievement of certain financial

targets, which were impacted by the revenues generated from the anti-competitive conduct and

collusion.

        330.   According to the 2014 Form 20-F, more than 70% of Vigodman’s cash bonus was

tied to such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non-

GAAP net revenue, and 14.2% for cash flow). He was entitled to a bonus of 140% of salary for

achieving 100% of the targets, and a maximum of 200% of salary if 125% of the targets were

met.

        331.   Vigodman’s total reported compensation was nearly $4.5 million; he received a

salary of $1,183,888, a bonus of $1,868,477 (approximately 158% of salary), and a one-time

bonus of $237,401 for “significant achievements and efforts,” including Teva “strengthen[ing]

its leading position in generics.” He also was awarded options to purchase 280,702 shares at

$41.05; a grant of 15,660 restricted shares; and a grant of 30,869 PSUs based on targets of


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cumulative non-GAAP operating profit and cumulative non-GAAP net revenue from 2014 to

2016.

         332.   Because Olafsson and Desheh were not among Teva’s five highest paid

executives in 2014, their salaries and cash bonuses were not disclosed (Olafsson joined Teva in

July 2014). Olafsson was awarded options to purchase 88,238 shares at a price of $54.02; a

grant of 18,229 PSUs; and an additional grant of 17,773 PSUs based on Teva’s 2014

performance. Desheh was awarded options to purchase 98,581 shares at a price of $48.76 and a

grant of 20,066 PSUs.

                2. 2015 Compensation

         333.   In 2015, defendants Vigodman, Desheh, and Olafsson received cash bonuses and

equity compensation based, in significant part, on Teva’s achievement of certain financial

targets, which were impacted by the revenue generated from the anti-competitive conduct and

collusion.

         334.   According to the 2015 Form 20-F, more than 70% of Vigodman’s cash bonus was

tied to such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non-

GAAP net revenue, and 14.2% for free cash flow). He was entitled to a bonus of up to 200% of

salary if 125% of the targets were met.

         335.   Vigodman’s total reported compensation was approximately $5.7 million; he

received a salary of $1,363,682 and a bonus of $2,253,581 (approximately 165% of salary). He

also was awarded options to purchase 163,859 shares at a price of $57.35 and a grant of 30,869

PSUs based on Teva’s 2014 to 2015 cumulative performance.

         336.   According to the 2015 Form 20-F, Desheh and Olafsson also were entitled to

bonuses based on such financial targets (specifically, 25% for non-GAAP operating profit, 15%




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for net revenue, and 10% for free cash flow), in amounts of up to 200% of salary if 120% of the

targets were met.

        337.     Desheh’s total reported compensation was approximately $4.3 million; he

received a salary of $733,863 and a bonus of $1,110,824 (approximately 151% of salary). He

also was awarded options to purchase 89,376 shares at a price of $57.35 and a grant of 16,838

PSUs.

        338.     Olafsson’s total reported compensation was approximately $3.9 million; he

received a salary of $954,955 and a bonus of $1,449,375 (approximately 151% of salary). He

also was awarded options to purchase 94,343 shares at a price of $57.35; options to purchase an

additional 160,114 shares at a price of $59.19 “[i]n light of the increase in . . . scope of work and

responsibilities as head of . . . Global Generics Medicines Group in connection with the Actavis

acquisition”; and a grant of 17,773 PSUs based on Teva’s 2014 to 2015 cumulative performance.

        339.     Teva’s ADS price reached a high of $72 on July 27, 2015, making the potential

value of the Individual Defendants’ 2014 and 2015 options quite significant at the height of the

alleged fraudulent scheme. However, because Teva was a “foreign private issuer” during the

Relevant Period, it was not required to report insider sales and, therefore, it is unknown whether

these Individual Defendants, or any other insider, engaged in suspicious trading activity.

Evidence of insider trading, if any, could be obtained in discovery.

           M. CONTEMPORANEOUS RED FLAGS INDICATED THAT DEFENDANTS’
              STATEMENTS WERE FALSE OR MISLEADING.

        340.     Contemporaneous red flags alerted the Individual Defendants to the possibility

that their statements were false and misleading. At a minimum, the Individual Defendants

recklessly failed to review or check information that they had a duty to monitor under these

circumstances.



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       341.    Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s]

drugs.” This should have placed the Individual Defendants on alert to discover whether Teva

had taken price increases and to what extent. Despite this, on October 30, 2014, Vigodman,

when faced with an analyst question on the subject, denied that Teva derived revenues from price

increases. Similarly, Congress invited Teva to testify at a November 20, 2014 hearing on

whether “there was a rational economic reason as to . . . huge price increases.” Again, this

should have sparked an internal inquiry from Teva’s executives. Yet, on December 11, 2014,

when faced with the assertion from an analyst that wholesalers were seeing large price increases,

Olafsson flatly denied that Teva was involved in those practices.

       342.    The State AG and DOJ Investigations: The fact that the DOJ and the State AGs

began investigations into Teva’s competitors related to their pricing practices also supports a

strong inference of scienter.

       343.    In particular, the Individual Defendants failed to disclose the DOJ and State AG

subpoenas in SEC disclosures filed in conjunction with the Notes Offering and Notes Offering

materials, but then disclosed them approximately two weeks after completing the Offering (and

only two days after the Actavis deal—which the Notes Offering funded—closed). The failure to

disclose receipt of the subpoenas until the Notes Offering was completed supports scienter, as

does the fact that many of Teva’s competitors disclosed their receipt of a subpoena immediately,

in the very next SEC disclosure. Moreover, those subpoenas triggered a legally mandatory duty

to inquire into Teva’s pricing practices, including the price increases made in tandem with

competitors. Yet, the Individual Defendants thereafter made materially false and misleading




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statements about their exposure to price erosion, including during Teva’s September 9, 2016,

Generics Day.

       344.     These government investigations have uncovered direct evidence of collusion.

Connecticut’s AG, George Jepsen, who initiated and led the State AGs’ investigation, has

publicly emphasized that the State AGs’ CAC’s allegations have a strong basis in direct

evidence. In an October 31, 2017 interview with CNBC, held after the filing of the proposed

State AGs’ CAC, Jepsen emphasized that the State AGs’ CAC’s now-expanded allegations

rested on compelling evidence: “We’ve uncovered – through emails, text messages, and

telephone patterns, plus cooperating witnesses – a very compelling case of systematic and

pervasive price fixing within the industry.”

       345.     GAO Report: On September 12, 2016, the GAO, which Congress had

commissioned over two years earlier, publicly released the August 2016 GAO Report,

documenting its audit of Medicare Part D data from June 2015 to August 2016. The GAO found

hundreds of unexplained “extraordinary price increases,” defined as the price of a particular drug

increasing over 100% within a 12-month period, and that some drug prices increased more than

1,000%. Teva had numerous drugs that showed extraordinary price increases in the GAO report.

The facts of the GAO report support the inference that the Individual Defendants spoke the

alleged false statements with scienter.

       346.     November 3, 2016 Bloomberg Article.        On November 3, 2016, Bloomberg

reported that Teva was the subject of the DOJ criminal inquiry, and that the DOJ and State AGs

could likely bring charges later in the year. Despite this, Vigodman, almost two weeks later, on

November 15, 2016, claimed that he was “not aware of any fact that would give rise to an

exposure to Teva with respect to the investigation.” The State AGs suit and the DOJ charges




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against Glazer and Malek soon followed, and, subsequently, those investigations have expanded

massively. Indeed, Teva has produced over one million documents to the DOJ. The close

proximity of Vigodman’s statement to the announcement of the charges diminishes the

plausibility of innocent explanations or denials put forth by the Individual Defendants.

         347.   Teva’s Further Denials of Liability Despite Its Purported Investigation of the

Facts. As set forth above, Teva repeatedly denied any involvement in collusive conduct during

the Class Period, and continues to do so. For example, on November 7, 2019, Defendant Schultz

stated during an investor earnings conference call: “We have, of course, shared more than 1

million documents with [the DOJ]. We have not found any evidence that we were in any way

part of any structured collusion or price fixing.” Such statements underscore that the 34 Act

Defendants knew Teva was a central actor in collusive conduct, or at a minimum, recklessly

failed to review or check information they had a duty to monitor that would have revealed that

fact.

              N. THE ABRUPT DEPARTURES OF TOP EXECUTIVES.

         348.   That three of the Individual Defendants—Olafsson, Vigodman, and Desheh—

unexpectedly resigned from Teva or had their employment with Teva terminated at a critical

time, as the Company’s Price-Hike Strategy was deteriorating and Teva was in regulators’

crosshairs, further supports scienter.

         349.   There is a strong inference that the termination of Olafsson was connected to his

fraudulent cover-up of the Price-Hike Strategy and the subsequent decline in Teva’s profits as

the strategy collapsed. The explanation for his termination as “retirement” was false (Olafsson

was only 48 years old at the time, and he found a job elsewhere not long afterward), and the first

charges from the DOJ and State AGs regarding their pricing investigations were released only

days later.


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       350.    There is a similarly strong inference regarding Vigodman’s termination. He was

fired without a replacement just two months after Olafsson was terminated, just one month after

Teva significantly revised its 2017 guidance downwards, resulting in part from increased price

erosion and dwindling generic profits, and only one week before Teva reported disappointing

financial results for Q4 2016.

       351.    Finally, less than two months after Desheh left Teva, and in the very first

reporting period after all Defendants were gone, Teva took a staggering $6.1 billion charge

against its U.S. generics business, and announced a radical 75% reduction in dividend payments

to shareholders. This supports an inference that it was these Individual Defendants who were

blocking the true financial state of the Company from coming to light.

           O. CORPORATE SCIENTER

       352.    Teva possessed scienter by virtue of the fact that the Individual Defendants, who

acted with scienter as set forth above, had binding authority over the Company. In addition,

certain allegations herein establish Teva’s corporate scienter based on (i) the state of mind of

employees whose intent can be imputed to the Company, and/or on (ii) the knowledge of

employees who approved the statements alleged herein despite knowing the statements’ false and

misleading nature.

       353.    It can be inferred that senior corporate executives at Teva possessed scienter such

that their intent can be imputed to the Company. Given the nature of the Price-Hike strategy,

which required the involvement of numerous divisions within Teva to implement and had a

material impact on Teva’s financial statements, additional unknown executives sufficiently

senior to impute their scienter to Teva were also aware of the Price-Hike Strategy.

       354.    As yet unidentified employees also approved the false statements despite knowing

of their false and misleading nature. As discussed, Teva had in place extensive processes to


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track its financial performance on a daily, quarterly, and yearly basis. From this, it can be

inferred that someone at Teva approved of the false and misleading statements in Teva’s

financial statements concerning the source of its generics profits, while knowing that the true

source of the profits was the Price-Hike Strategy. It can also be inferred that someone approved

the false and misleading statements that Teva was competing intensely on price, someone who

knew of the Price-Hike Strategy, and that it was largely dependent on a lack of competition.

VII.    LOSS CAUSATION

        355.       In addition to the allegations herein, Defendants’ fraudulent conduct directly and

proximately caused Plaintiffs to suffer substantial losses as a result of purchasing Teva Securities

at artificially inflated prices during the Relevant Period.

        356.       Defendants, through each category of false and misleading statements and

omissions, concealed the truth about Teva’s core business strategy that materially contributed to

Teva’s financial and operational success during the Relevant Period, as well as collusive

conduct.    By concealing, among other things, the Price-Hike Strategy, that Teva was not

competing on price, that the strategy was driving known material trends, that as the strategy

failed and pricing competition increased Teva’s financial condition was deteriorating, that Teva

in fact was engaged in collusion and was the central actor in an industry wide conspiracy, and

that the negative impact of the Actavis acquisition and integration of the acquired business on

Teva’s financial results and business prospects, Defendants also concealed the numerous and

related risks associated with their false statements and omissions, including but not limited to,

the risks that:

                   the strategy was highly risky and not sustainable, and as the strategy
                    failed, Teva’s profits would collapse;

                   by their nature, especially when done in tandem with competitors, price
                    hikes might appear to arise from anti-competitive and/or collusive


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                   conduct and, thus, draw the attention of government investigators and
                   law enforcement agencies, precipitating possible legal actions, civil
                   liabilities, and criminal sanctions;

                  should the Price-Hike Strategy come under public, legislative, or law
                   enforcement scrutiny, the viability of sustaining the resulting higher
                   revenues and/or implementing new price hikes would be severely
                   undermined, and would thereby undercut a major driver of the generic
                   segment’s profit;

                  if pricing pressure or competition increased, Teva would be far more
                   susceptible to a rapid and material decline in price-hike-related profits,
                   resulting in poor financial results and undercutting reported and
                   forecasted profits;

                  upon the failure of the Price-Hike Strategy, the Company could be
                   further disrupted by the termination of the senior managers who were
                   responsible for the strategy, and by any increased difficulty in hiring
                   qualified replacements; and

                  as the Price-Hike Strategy in fact failed over time, the resulting revenue
                   and profit declined, and Teva was prevented from making additional
                   price increases, those trends would continue.

       357.       The concealed risks bear directly on Teva’s ability to generate and sustain its

profits and its ability to service the over $30 billion in debt payable to Plaintiffs and other

investors.

       358.       Beginning in August 2016, the concealed risks began to materialize through a

series of negative events and disclosures that revealed, on a piecemeal basis, the false and

misleading nature of Defendants’ Relevant Period statements and omissions. Despite these

partially corrective events and disclosures, Teva Securities’ prices remained artificially inflated

and were prevented from declining to their true value by Defendants continuing to make

materially false and misleading statements that had the effect of, at least temporarily, concealing

their fraud. As the relevant truth leaked out into the market from August 2016 to May 2019,

Plaintiffs suffered losses, which were foreseeable and caused by the materialization of the risks

that Defendants’ fraudulent conduct concealed from investors, as set forth below.




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           A. AUGUST 4-5, 2016

       359.   After the close of trading on August 4, 2016—just two days after the Actavis

transaction closed—Teva filed its Q2 2016 6-K, reporting 2Q 2016 results, including a $434

million decline in revenue in the U.S. generics segment compared to the second quarter of 2015.

       360.   Moreover, the Q2 2016 6-K disclosed for the first time that (i) “[o]n June 21,

2015 [sic], Teva USA received a subpoena from the Antitrust Division of the United States

Department of Justice seeking documents and other information relating to the marketing and

pricing of certain of Teva USA’s generic products and communications with competitors about

such products;” and (ii) “[o]n July 12, 2016, Teva USA received a subpoena from the

Connecticut Attorney General seeking documents and other information relating to potential

state antitrust law violations.” These disclosures were the first indication to the market that

Defendants were implicated in the DOJ’s and State AGs’ antitrust investigations.

       361.   The Q2 2016 6-K falsely and misleadingly stated that Teva had received its DOJ

subpoena on June 21, 2015 (around the time other generic drug companies received and

disclosed similar subpoenas, e.g., Actavis received a DOJ subpoena on June 25, 2015), when

Teva actually had received its DOJ subpoena on June 21, 2016 (as revealed in the 3Q2016 Form

6-K filed with the SEC on November 15, 2016, without any explanation for the correction).

       362.   On this news, the prices of Teva Securities declined. Between the close of trading

on August 4, 2016 and on August 5, 2016, the price of Teva’s ADS fell $1.24 or 2.24% to close

at $54.21, and the prices of the 2021 Notes, 2022 Notes, 2026 Notes, and 2046 Notes fell,

respectively, $4.82 (0.48%), $0.60 (0.58%), $1.50 (0.15%), and $6.12 (0.6%). Teva’s market

capitalized was reduced by approximately $1.13 billion.

       363.   This marked the beginning of the relevant truth leaking out, as Teva’s collusive

pricing strategy began to collapse. The disclosure of the subpoenas was a materialization of the


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risk that, after nearly two years of ongoing investigations, the DOJ and State AGs would seek

evidence from Teva in connection with Teva’s pricing practices.

           B. NOVEMBER 3, 2016, DECEMBER 13-16, 2016

       364.   On November 3, 2016, during the trading day on the NYSE, Bloomberg published

an article titled “U.S. Charges in Generic-Drug Probe to Be Filed by Year End,” describing the

DOJ’s “sweeping” two-year investigation related to the soaring prices of generic drugs and how

executives from more than a dozen generic pharmaceutical manufacturers, including Teva, were

suspected of colluding to raise the prices of generic drugs. The article broke the news that the

first criminal charges against executives of those companies could emerge by the end of the year,

and that State AGs were seeking to bring claims against generic manufacturers.

       365.   On this news, the prices of Teva Securities declined once again. Between the

close of trading on November 2, 2016 and the close of trading on November 3, 2016, Teva’s

ADS price fell $4.13 or 9.53% to close at $39.20, and the prices of Teva’s 2021 Notes, 2022

Notes, 2026 Notes and 2046 Notes fell, respectively, $8.83 (0.89%), $0.14 (0.14%), $11.19

(1.15%), and $27.94 (3.02%). Teva’s market capitalized declined by approximately $4 billion.

       366.   The next trading day on the TASE, Teva’s ordinary shares, priced in Israeli New

Shekels (“ILS”), fell ILS 7.10, or 4.43%, from a close of ILS 160.40 on November 3, 2016 to a

close of ILS 153.30 on November 6, 2016.

       367.   In a November 3, 2016 article titled “News of Charges in Price-Fixing Inquiry

Sends Pharmaceuticals Tumbling,” The New York Times reported that the news that the DOJ and

State AGs’ investigations found serious evidence of criminal conduct caused significant declines

in the price of Teva Securities. On November 4, 2016, S&P Capital IQ lowered its rating of

Teva ADS from “buy” to “hold” and its 12-month price target by $34 to $50 per share, noting

that “[w]e think this could pose yet another challenge to an industry that has been hit hard by


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charges of high drug prices and will be an overhang on the shares.” HSBC in its November 4,

2016 analyst report, downgraded Teva from “buy” to “hold” and lowered its price target from

$66 per share to $44 per share, noting “US DOJ investigation into alleged US generic drug price

collusion creates significant uncertainty” for Teva and for investors. In a November 10, 2016

article titled “DOJ’s price-fixing investigation could lead to sizable liabilities, analyst says,”

Fierce Pharma reported that analysts tracking the generic drug industry believed that liability

from the investigations could have a sizable financial impact on Teva, estimated at $700 million.

       368.    Within weeks the expected governmental actions materialized. On December 13,

2016, the DOJ, by means of an Information, charged Malek and Glazer, the top two executives at

Heritage, with two felony counts of violating Section 1 of the Sherman Act for fixing the price of

Glyburide (as early as April 2014 until at least December 2015), a drug for which Teva held 75%

of the market, and of Doxycycline (as early as April 2013 until at least December 2015), for

which Teva was a major market participant as a result of the Actavis acquisition.

       369.    The DOJ announced these charges in a press release the following day, stating

that the charges resulted from an ongoing federal antitrust investigation into price fixing, bid

ridding, and other anti-competitive conduct relating to generic drugs. The charges against Glazer

and Malek were also unsealed that day, alleging, inter alia, that various corporations and

individuals co-conspired with Glazer and Malek.

       370.    That same day, December 14, 2016, the State AGs, led by the Connecticut

Attorney General, filed their lawsuit against Teva and several of its peers for civil violations of

the antitrust laws, accusing Teva of conspiring to allocate the markets for and fix the prices of

generic drugs, including for Glyburide, and of participating in a larger market-wide collusive

conspiracy. Forbes reported the next day, in an article titled “State Attorneys General Accuse




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Six Generic Companies Of Fixing Drug Prices,” that the State AGs’ complaint revealed new

information regarding Teva’s potential exposure, made “clear which companies could be

implicated in the antitrust investigation federal prosecutors are pursuing,” and also noted that

Glazer and Malek were cooperating.

       371.    As Forbes reported the following day, the State AGs complaint revealed new

information regarding Teva’s potential exposure relating to two generic drugs, in that it “makes

clear which companies could be implicated in the antitrust investigation federal prosecutors are

pursuing” and that Glazer and Malek were cooperating; according to the publicly available

complaint, Malek had a direct relationship with an unnamed Teva employee and the two agreed

to raise the prices of Glyburide

       372.    On the news of the DOJ charges and the filing of the State AGs’ complaint, the

prices of Teva Securities continued to decline. Between the close of trading on December 13,

and December 16, 2016, the ADS price fell $1.15, or 3%, to close at $36.51, and the price of the

Company’s 2021 Notes, 2022 Notes, 2026 Notes, and 2046 Notes declined, respectively, $0.80

(0.84%), $1.12 (1.15%), $1.58 (1.72%), and $17.54 (2.5%). On the TASE, the price of Teva’s

ordinary shares declined ILS 1.90, or 1.33%, from a close of ILS 142.90 on December 13, 2016

to a close of ILS 141.00 on December 18, 2016.

           C. NOVEMBER 15, 2016

       373.    On November 15, 2016, before trading opened on the NYSE, Teva filed a press

release with the SEC reporting Q3 2016 financial results that were well below consensus

expectations, largely due to poor sales in Teva’s generics divisions, including a $277 million

YOY decline in revenue in Teva’s “legacy” U.S. generics segment (i.e., in the pre-Actavis-

transaction portion of Teva’s U.S. generics business). In the Company’s November 15, 2016

earnings call, the Company also revised downward its 2016 guidance, and disclosed for the first


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time that the rate of price erosion for its generic drugs has increased from 5% to 7%, although

Olafsson falsely claimed that the increase was the result of divestitures from the Actavis

transaction, and thus was limited to one quarter, thus continuing to conceal Teva’s collusive

pricing conduct.

       374.    In addition, Vigodman directly addressed the ongoing DOJ investigation of anti-

competitive conduct in the generic drug industry, emphasizing that “based on all of our efforts to

date, internal and external … we are not aware of any fact that would give rise to an exposure to

Teva with respect to the investigation.”

       375.    These denials softened the blow of Teva’s negative financial results and guidance.

Nevertheless, the prices of Teva Securities continued to decline. Between the close of trading on

November 14 and 15, 2016, the ADS price fell $3.43 or 8.36%, on high trading volume, to close

at $37.60, and the price of Teva’s 2021 Notes, 2022 Notes, 2026 Notes, and 2046 Notes

declined, respectively, $2.12 (0.22%), $1.02 (1.03%), $6.67 (0.71%), and $7.81 (0.9%). The

price of Teva’s ordinary shares declined ILS 7.20, or 4.6%, from a close of ILS 157.10 on

November 14, 2016 to a close of ILS 149.90 on November 15, 2016.

       376.    Analysts responded negatively to the new information concerning the Company’s

disappointing financial results. That day, in a report titled, “Are The Wheels Coming Off? Sure

Feels That Way,” Piper Jaffray lowered its price target from $57 per share to $43 per share,

noting that “it appears to us that Teva painted an overly sanguine picture of its generics business

at its investor event in September [during the Generics Day],” and describing Q3 2016 as a

“credibility-damaging quarter,” because, in the face of Olafsson’s explanation that the price

erosion would be limited, it was “difficult for us to take that assertion at face value.” Also that

day, Deutsche Bank wrote “TEVA reported 3Q revenue that was below our estimate on lower




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generic sales . . . the company saw higher than expected price erosion in 3Q” and, as a result,

lowered its price target for the Company from $68 per share to $54 per share on “lower growth

assumptions for generics.” Likewise, in a November 16, 2016 report, Morgan Stanley lowered

its price target for the Company from $63 per share to $42 per share, as a result of the lower than

expected generics growth and worse than expected price erosion.

           D. DECEMBER 5-6, 2016

       377.    After the close of trading on December 5, 2016, Teva filed a Form 6-K

announcing that Olafsson would be stepping down as President and CEO of the Company’s

Global Generic Medicines Group and that, effective immediately, he would be replaced by

Bhattacharjee. Teva offered no explanation for Olafsson’s departure, instead claiming he was

“retiring” even though he was only in his late 40s and quickly obtained other employment.

       378.    Analysts tied Olafsson’s abrupt termination to the disappointing results in Teva’s

generics segment and concerns over pricing pressure. On December 6, Morningstar reported:

“Teva’s announcement [that it] will replace Siggi Olafsson as CEO of the generics segment does

not inspire confidence. Recent pricing pressure in the generic drug market . . . remain[s]

significant near-term challenge[] for Teva, which makes the abrupt leadership change a

concerning development at a critical time for the company.” A December 5 BTIG report noted

“[w]ithout Siggi Olafsson at the helm of Teva’s global generic segment, we think investor

sentiment could worsen as the market has remained focused on price erosion for the

[company’s] base generic business” and that “the departure of Mr. Olaffson [sic] creates more

uncertainty as we head into 2017.”

       379.    On this news, on December 6, 2016, the prices of Teva Securities continued to

decline. Between the close of trading on December 5 and on December 6, 2016, the ADS price

fell $2.01, or 5.43%, to close at $35.03, and the price of Teva’s 2021 Notes, 2026 Notes, and


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2046 Notes fell, respectively, $2.11 (0.22%), $7.90 (0.85%), and $17.01 (1.95%).             Teva’s

ordinary share price declined ILS 6.90, or 4.91%, from a close of ILS 140.50 on December 5,

2016 to a close of ILS 133.60 on December 6, 2016.

           E. JANUARY 6, 2017

       380.    On January 6, 2017, before the beginning of the trading day on the NYSE, Teva

filed a press release on Form 6-K announcing a significant reduction in the 2017 guidance

previously released on July 13, 2016. In the investor conference call that day, Vigodman

claimed that the “significantly” reduced guidance resulted from “significant headwinds” faced by

“[t]he entire healthcare sector” to which Teva “ha[d] not been immune,” and “some issues

specific to Teva” resulting in “an EBITDA gap of $1.2 billion emanating from our US generics

business.” In addition to the materialization of the concealed risks described herein, this was the

materialization of the risk of Defendants using an “assumption” for price erosion in the July 13,

2016 guidance that was empirically false at the time; specifically, Defendants assumed a pricing

environment that was “stable”— i.e., 4%-5% erosion rate disclosed in prior years and quarters—

when, in fact, pricing pressure was causing a more rapid decline.

       381.    As a result of this new negative information, the prices of Teva Securities

continued to decline. Between the close of trading on January 5 and January 6, 2017, the ADS

price fell $2.86, or 7.53%, to close at $35.10, the prices of Teva’s 2021 Notes, 2022 Notes, 2026

Notes and 2046 Notes declined $7.38 (0.77%), $0.46 (0.47%), $10.96 (1.17%), and $17.75

(2.01%), respectively. On the TASE, between the close of trading on January 5, 2017, and the

close of the next trading day (January 8, 2017), the price of Teva’s ordinary shares declined ILS

7.90, or 5.49%, from a close of ILS 143.90 to a close of ILS 136.

       382.    Analysts tied this disclosure to the fact that the prior guidance was “inflated” as a

result of understating generic drug price erosion. In a report dated January 6, 2017, Evercore ISI


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conducted its own price erosion analysis for the Company and noted that, as a result of its lower

than expected revenues and EPS, “I think it’s pretty clear that mgmt’s prior expectation for

2017 were very inflated.” Similarly, the same day, Maxim Group downgraded its rating of the

Company from “buy” to “hold” and its price target for the Company from $49 per share to $41

per share and noted “challenges in the near term to the core generic . . . business are becoming

bigger issues.” In a January 8, 2017 report, Piper Jaffray stated that “Teva once again provided

disappointing guidance, further eroding what in our view was already limited management

credibility.”

              F. FEBRUARY 6-7, 2017

        383.     On February 6, 2017, after the close of trading on the NYSE, in a Form 6-K filed

with the SEC, Teva announced the termination of Vigodman as CEO, effective immediately and

without a permanent replacement, and the conclusion of his service on the Board of Directors.

        384.     Analysts tied Vigodman’s abrupt departure to the Company’s poor financial

performance in its generics business since no later than Q2 2016, as well as sustained difficulties

for the generics business ahead.      For example, in a February 6, 2017 report titled “CEO

Transition Adds Further Uncertainty to Story,” J.P. Morgan reported “we view today’s update as

a disappointment, with arguably the two most important executives at Teva stepping down (Erez

and Siggi Olafsson, CEO of generics) within the last several months at a time of significant

fundamental challenges. With Teva facing headwinds across both its generics (incremental

competition, pricing headwinds) and branded business . . . we continue to believe a near-term

recovery in the company’s business is unlikely.” Similarly, that day, Wells Fargo concluded that

“more investors will be uneasy with the uncertainty of an unexpected and abrupt CEO

departure.”




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       385.   As a result of this news, the prices of Teva Securities continued to decline.

Between the close of trading on February 6 and on February 7, 2017, the ADS price fell $2.16, or

6.29%, to close at $32.19, and the price of Teva’s 2021 Notes, 2022 Notes, 2026 Notes and 2046

Notes fell $0.74 (0.77%), $0.71 (0.73%), $13.69 (1.51%) and $32.33 (3.76%), respectively. The

price of Teva’s ordinary shares declined ILS 4.10, or 3.2%, from a close of ILS 128.10 on

February 6 to a close of ILS 124.00 on February 7, 2017.

           G. AUGUST 3-7, 2017

       386.   On August 3, 2017, before the NYSE opened, Teva filed a press release on a

Form 6-K announcing lower-than-expected Q2 2017 financial results.               The Company

(i) attributed its poor financial results to poor performance in its U.S. generics business (with

reported profits of only $691 million, far below analyst expectations) and “accelerated price

erosion”; (ii) was required to take a $6.1 billion accounting charge permanently writing-down the

value of the generics business; and (iii) imposed a 75% reduction in the Company’s longstanding

dividend. The Company also significantly lowered its guidance for 2017, revising downward its

earlier-reported guidance from January 2017 for the Company’s net revenues, operating income,

EBITDA, EPS, and cash flow. On the Company’s earnings conference call held that day,

Defendant McClellan, Teva’s interim CFO, explained that the poor results and reduced guidance

were partly the result of increased price erosion and price pressure. Importantly, Bhattacharjee

further noted the “impact of the shelf stock adjustments that [Teva has] done,” as a “key

element” of the revised outlook. Shelf stock adjustments are contractual provisions that require

charge backs to customers when prices decline. It was highly foreseeable that prices would

decline on at least the 60 drugs subject to the Price-Hike Strategy, drugs for which Teva had

increased price by at least 50%, and as much as 1543% over the Relevant Period. Teva’s $6.1

billion permanent impairment charge directly reduced Teva’s bottom line dollar-for-dollar.


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During the August 3, 2017 earnings call, Defendant Peterburg stated that the $6.1 billion charge

was “to reduce goodwill associated with out U.S. Generics business unit, which include both the

Teva legacy business and the Actavis Generics business.”

       387.    Analysts reacted harshly. That day, J.P. Morgan wrote, “Teva reported weaker-

than-expected results but more importantly lowered in 2017 sales and EPS guidance . . . and cut

its dividend by 75%. . . . U.S. generic weakness appears to be at the heart of these reductions.”

Morgan Stanley downgraded Teva ADS to “Underweight,” commenting that they had

“underappreciated the risk of genetics pricing pressure to Teva’s earnings and dividend.”

       388.    Jefferies wrote, “Mgt Had Effectively No Choice but to Cut the Dividend;

Maintaining Debt Covenants a Key Concern.” Oppenheimer noted, “it may be difficult for

Teva’s board to attract top talent (meaningful pharma CEO experience) given the company’s

ongoing challenges,” as the CEO and CFO positions remained unfilled. Analysts were further

concerned about Teva’s ability to sustain its debt and debt rating. Jefferies wrote: “Can It Get

Any Worse?,” noting that “[a]t present, Teva has a debt covenant that requires a minimum

leverage of 4.25 x (net debt/EBITDA) by YE17 . . . . If mgt’s ever-shrinking EBITDA guidance

. . . erodes much further, it is possible Teva may not meet the [debt] obligation.” The reality was

that Teva’s poor results, guidance reduction, and the risk that it could not satisfy its debt

obligations were the materialization of the risks associated with the Price-Hike Strategy and its

ultimate demise. There was no realistic prospect that the strategy could be revived, or that it

could again generate the same profits. The result was the write down of the generics business by

$6.1 billion, and Teva cutting its dividend by 75%.

       389.    With the true financial condition of the Company more evident, credit rating

agencies immediately issued rating downgrades. On August 3, 2017, Moody’s downgraded




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Teva’s debt rating to Baa3 (one step above “junk”), with a negative outlook, reflecting slower-

than-anticipated deleveraging “as Teva contends with weakness in its US generics business.”

Likewise, on August 4, Fitch Ratings also downgraded Teva to BBB- (one step above “junk”),

with a negative outlook.

       390.    As investors digested the news, the prices of Teva Securities dropped. Between

the close of trading on August 2, 2017, and the close of trading on Monday, August 7, 2017, the

price of Teva’s ADS fell $12.66, or 40.51%, to close at $18.59, and the price of the 2021 Notes,

the 2022 Notes, the 2026 Notes, and the 2046 Notes fell $30.10 (3.05%), $4.14 (4.13%), $40.88

(4.20%), and $57.51 (6.34%), respectively. The price of Teva’s ordinary shares declined ILS

40.02, or 35.96%, from a closing price of ILS 111.30 on August 2 to a closing price of ILS 71.28

on Sunday, August 6, 2017.

            H. NOVEMBER 2, 2017

       391.    On November 2, 2017, Teva filed a press release on a Form 6-K announcing

lower-than-expected Q3 2017 financial results, including a 9% decline in U.S. generic quarterly

revenues compared to Q3 2016. The Company attributed the decrease to “pricing declines

resulting from customer consolidation and accelerated FDA approvals for additional generic

versions of competing off-patent medicines as well as volume decline of methylphenidate

extended-release tablets (Concerta® authorized generic) due to the launch of a competing

product.”

       392.    As a result of this new negative information, the prices of Teva Securities

continued to decline. Between the close of trading on November 1 and on November 2, 2017,

the ADS price fell $2.79 or 19.90% to close at $11.23, the price of the 2021 Notes, 2022 Notes,

2026 Notes, and 2046 Notes fell $2.61 (2.76%), $3.98 (4.17%), $40.88 (4.20%), and $57.51

(6.34%), respectively, and the price of Teva’s ordinary shares fell ILS 6.7 to close at ILS 42.38.


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       393.    Analysts reacted negatively. For example, RBC Capital Markets stated that the

results were even “below our cautious expectations,” and that the “magnitude of weakness in the

US generics business in both revenue and margins was surprising.” Wells Fargo found Teva’s

results “especially disappointing.”

           I. FEBRUARY 8, 2018

       394.    On February 8, 2018, Teva filed a press release on a Form 8-K announcing Q4

2017 and FY 2017 financial results, including a staggering $17.1 billion goodwill impairment, of

which $10.4 billion related to Teva’s U.S. generics business. Teva stated that the $10.4 billion

writedown was based in part on “further deterioration in the U.S. generics market”—including

“[p]ricing challenges due to government regulation”—and Teva’s resulting expectation of

“larger pricing declines” than previously anticipated.

       395.    As a result of this new negative information, the prices of Teva Securities

continued to decline. Between the close of trading on February 7, 2018 and the close of trading

on February 8, 2018, the price of Teva’s ADS fell $2.21 or 10.6% to close at $18.64; the price of

the 2022 Notes, 2026 Notes, and 2046 Notes fell $1.10 (1.21%), $0.86 (1.07%), and $1.75

(2.33%), respectively; and the price of Teva’s ordinary shares fell ILS 5.00 to close at ILS 67.00.

       396.    Analysts reacted negatively. Wells Fargo noted that Teva had missed consensus

expectations “by a significant margin,” pointed to “commentary about generic pricing worsening

in 4Q,” and concluded that investors “should see [Teva’s $17.1 billion impairment] as reflective

of how challenging the situation is.” IBI Brokerage noted that the impairment charge was

“almost entirely for the generics business in the US,” and that Teva’s 2018 guidance was “way

below market expectations.”




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            J. DECEMBER 7-10, 2018

         397.   On December 9, 2018, an article in The Washington Post quoted statements from

Connecticut Assistant AG Joseph Nielsen that the State AG investigation had expanded to at

least 16 companies and 300 drugs, and exposed “the largest cartel in the history of the United

States.” While the article noted Teva’s continued denial of engaging in any anticompetitive

conduct, and its statement in a court filing that allegations of a price-fixing conspiracy “are

entirely conclusory and devoid of any facts,” the price of Teva Securities dropped substantially

with the disclosure of the State AGs’ expanded investigation.

         398.   Between the close of trading on December 7, 2018 (the last trading day before the

announcement) and the close of trading on December 10, 2018, the price of Teva’s ADS fell

$0.97 or 5% to close at $18.44, and the price of the 2022 Notes, 2026 Notes, and 2046 Notes fell

$1.25 (1.38%), $1.13 (1.39%), and $1.70 (2.43%), respectively. Between the close of trading on

December 6, 2018 (the last trading day on the TASE before the announcement), and the close of

trading on December 10, 2018, the price of Teva’s ordinary shares fell ILS 8.90 to close at ILS

69.10.

            K. MAY 10-13, 2019

         399.   On May 10, 2019, after the market closed, the State AGs filed a 524-page

antitrust complaint revealing previously undisclosed facts regarding Teva’s participation in the

generic drug price-fixing conspiracy. The May 2019 complaint details Teva’s price-fixing with

regards to at least 86 different generic drugs, compared to just 7 drugs in the previously filed

action. The complaint further asserts that the Company implemented significant price increases

for approximately 112 generic drugs, including extraordinary price hikes of over 1,000%, and

details Teva’s role as a “consistent participant” and a central player in the conspiracy. Further,

the May 2019 complaint names four Teva employees personally as defendants: Cavanaugh,


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 Patel, Kevin Green (Teva’s former Director of National Accounts), and David Rekenthaler

 (Teva’s former Vice President, Sales U.S. Generics).

          400.   On this news, the price of Teva’s ADS declined by 14.83%, from a closing price

 of $14.36 on May 10, 2019, to a closing price of $12.23 on May 13, 2019 (the following trading

 day), and the price of the 2021 Notes, 2022 Notes, 2026 Notes, and 2046 Notes fell $0.65

 (0.68%), $1.43 (1.5%), $1.78 (2.14%), and $2.16 (3.00%), respectively. On the TASE, the price

 of Teva’s ordinary shares fell ILS 7.14, from a closing price of ILS 52.25 on May 7, 2019 (the

 last trading day before the news) to a closing price of ILS 45.11 on May 13, 2019.

          401.   Analysts were surprised by the revelations in the State AGs’ May 10, 2019

 complaint. For example, Bernstein warned that “the price-fixing lawsuit is worse than we

 expected” and “there seem to be specific cases in the lawsuit that are going to be hard to explain

 away.”     J.P. Morgan stated that “[w]e were open to the majority of price spikes being

 ‘explainable’ by way of shortages, limited competition (only two or three competitors), and price

 ‘signaling,’ a grey area of antitrust law. So we were sorely disappointed by the nature of the

 direct quotes attributed to Teva employees in the expanded complaint.”

VIII.     PLAINTIFFS ARE ENTITLED TO A PRESUMPTION OF RELIANCE

          402.   Plaintiffs are entitled to a presumption of reliance on Defendants’ material

 misrepresentations and omissions pursuant to the fraud-on-the-market doctrine. At all relevant

 times, the markets for Teva ADS, Notes, and ordinary shares were open and efficient for the

 following reasons, among others:

             (a) Teva’s ADS met the requirements for listing on, and were listed and
                 actively traded on, the NYSE, a highly efficient and automated market;

             (b) Teva’s ordinary shares met the requirements for listing on, and were
                 listed and actively traded on, the TASE, a highly efficient and automated
                 market;



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           (c) The average weekly trading volume of Teva Securities, including Teva ADS,
               Notes, and ordinary shares, was significant;

           (d) As a registered and regulated issuer, Teva filed public reports with the SEC and
               the NYSE;

           (e) Teva was “dual-listed” in the U.S. and Israel, and reported to Israeli securities
               regulators accordingly;

           (f) Teva was eligible to file simplified SEC filings;

           (g) Teva regularly communicated with the public through established market
               communication channels, including through the regular dissemination of
               news releases on major newswire services, communications with the
               financial press, and other wide-ranging public disclosures; and

           (h) Teva was followed by numerous securities and credit analysts employed by major
               brokerage firms, such as Bank of America Merrill Lynch, Barclays Capital,
               BMO Capital, Citigroup, Goldman Sachs, J.P. Morgan, Needham & Company,
               Susquehanna Financial Group, UBS, and Wells Fargo, who wrote reports that
               were published, distributed, and entered the public domain.

           (i) The material misrepresentations and omissions alleged herein would induce a
               reasonable investor to misjudge the value of Teva Securities; and

           (j) Without knowledge of the misrepresented or omitted facts, Plaintiffs purchased or
               otherwise acquired Teva Securities between the time that Defendants made the
               material misrepresentations and omissions and the time that the truth was
               revealed, during which period the price of Teva Securities was artificially
               inflated by Defendants’ misrepresentations and omissions.

       403.    Accordingly, the markets for Teva Securities promptly digested current

information regarding Teva from all publicly available sources and the price of Teva Securities

reflected such information. As a result of the materially false or misleading statements or

omissions of material fact alleged herein, Teva Securities thus traded at artificially inflated prices

during the Relevant Period. Plaintiffs purchased or otherwise acquired Teva Securities at such

inflated prices in reliance upon the integrity of the market price and other market information

relating to Teva. Under these circumstances, a presumption of reliance under the fraud-on-the-

market doctrine applies.




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       404.    Further, Plaintiffs relied upon Defendants to disclose material information as

required by law. Plaintiffs would not have purchased or otherwise acquired Teva Securities at

artificially inflated prices if Defendants had disclosed all material information as required. Thus,

to the extent Defendants concealed or improperly failed to disclose material facts with regard to

Teva, Plaintiffs are entitled to a presumption of reliance pursuant to Affiliated Ute Citizens of

Utah v. United States, 406 U.S. 128 (1972), and its progeny.

IX.    THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
       DO NOT APPLY.

       405.    Neither the statutory safe harbor of the Private Securities Litigation Reform Act

of 1995, nor the “bespeaks caution” doctrine applicable to forward-looking statements under

certain circumstances, applies to the materially false or misleading statements alleged herein.

       406.    The statements complained of herein were not forward-looking. Rather, each was

a statement concerning then-present or historical facts, or purported facts, as of the time the

statement was made.

       407.    To the extent any of the materially false or misleading statements alleged herein,

or any portion thereof, can be construed as forward-looking, such statements were not

accompanied by meaningful cautionary language identifying important facts that could cause

actual results to differ materially from those in the statements. Given the then-existing facts

contradicting Defendants’ statements, any generalized risk disclosures made by Teva or other

Defendants were insufficient to insulate Defendants from liability for their materially false or

misleading statements or omissions.

       408.    To the extent the statutory safe harbor otherwise may apply to any of Defendants’

materially false or misleading statements alleged herein, or any portion thereof, Defendants are

liable under the Exchange Act for any such false or misleading forward-looking statement



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because at the time such statement was made, the speaker knew that the statement was untrue or

misleading, or the statement was approved by an executive officer of Teva who knew that the

statement was untrue or misleading.

 X.       CLAIMS FOR RELIEF

                                              COUNT I
                 For Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                      in Connection with Plaintiffs’ Domestic Acquisitions of
                                         Teva ADS and Notes
                                       (Against All Defendants)

          409.    Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          410.    During the Relevant Period, Defendants made, disseminated or approved the false

and misleading statements specified above, which they knew or recklessly disregarded were false

and misleading in that the statements contained material misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

          411.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they:

                  (a) Employed devices, schemed, and artifices to defraud;

                  (b) Made untrue statements of material fact or omitted to state materials
                      facts necessary in order to make the statements made, in light of the
                      circumstances under which they were made, not misleading; and/or

                   (c) Engaged in acts, practices and a course of business that operated as a
                       fraud or deceit upon Plaintiffs in connection with their purchases of
                       Teva Securities during the Relevant Period.

          412.    Plaintiffs have suffered damages in that, in reliance on the integrity of the market,

it paid artificially inflated prices for Teva Securities. Plaintiffs would not have purchased Teva




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Securities at the prices it paid, or at all, if they had been aware that the market prices of those

securities had been artificially and falsely inflated by Defendants’ misleading statements.

          413.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their purchases of Teva Securities during the Relevant

Period.

                                           COUNT II
                       For Violation of Section 20(a) of The Exchange Act
                     in Connection with Plaintiffs’ Domestic Acquisitions of
                                      Teva ADS and Notes
                              (Against The Individual Defendants)

          414.   Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          415.   This Count is asserted pursuant to Section 20(a) of the Exchange Act against each

of the Individual Defendants.

          416.   As alleged above, Teva violated Section 10(b) of the Exchange Act and Rule 10b-

5 promulgated thereunder.       During their tenures as officers and/or directors of Teva, the

Individual Defendants acted as controlling persons of Teva within the meaning of Section 20(a)

of the Exchange Act, and were culpable participants in the alleged wrongful conduct that is the

basis of Count I. The Individual Defendants held senior executive positions with the Company

and were directly involved in the Company’s day-to-day operations; they had the power to, and

did, control or influence the policies and practices underlying the securities violations alleged

herein. This included the power, which they exercised, to influence and control Teva’s public

statements with respect to its operations, corporate governance, and regulatory compliance.

          417.   By reason of the foregoing, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act as controlling persons of Teva.




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                                             COUNT III
                          For Violation of The Israel Securities Law, 1968
                 in Connection with Plaintiffs’ Acquisitions of Teva Ordinary Shares
                                      (Against All Defendants)

          418.     Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          419.     This Count is asserted pursuant to the Israel Securities Law, 1968.

          420.     Throughout the Relevant Period, Teva’s ADS and ordinary shares were “dual

listed” on both the NYSE and the TASE under Israeli law.20 Section 1 of the Israel Securities

Law defines a “foreign corporation” as “a corporation incorporated in Israel whose securities are

listed for trade on a foreign stock exchange.” The NYSE is a “foreign stock exchange” under the

Israel Securities Law. Because Teva is incorporated in Israel and has its securities, such as the

ADSs, listed for trading on the NYSE, it is a “foreign corporation” under the Israel Securities

Law. Therefore, the TASE correctly recognizes Teva as a dual-listed company.

          421.     For dual-listed “foreign corporations,” Israeli law applies the reporting

requirements (including the anti-fraud requirements) of the country of primary listing. See Israel

Securities Law, §§ 1, 35T, 35DD, 35EE. Thus, Israeli law applies the reporting requirements

(including the anti-fraud requirements) of the United States to “foreign corporations” that are

dual-listed in Israeli and the United States. See Israel Securities Law, §§ 1, 35T, 35DD, 35EE.

          422.     Section 1 of the Israel Securities Law defines “the foreign law” as “the law

applying to a foreign corporation because its securities are listed for trade on a foreign stock

exchange, including the rules of that foreign stock exchange.” A “foreign corporation” must

agree to comply with the foreign law as a matter of Israeli law. See Securities Law § 35T(a)(1).

Indeed, a foreign corporation listed in the U.S., like Teva, generally only needs to file its U.S.

20
     See http://www.tase.co.il/eng/marketdata/stocks/marketdata/pages/marketdata.aspx (last
     visited Jan. 18, 2019).


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SEC filings in Israel (without further alteration or translation) in order to comply with Israeli

reporting requirements. As a matter of Israeli securities law, Teva agreed to comply with the

U.S. securities laws and the rules of the NYSE to fulfill its obligations under Israeli law.

       423.    Thus, in the case of Teva, Israeli law adopts and applies U.S. statutes, regulations,

and rules, including the anti-fraud provisions of the United States securities laws, to enforce

Teva’s disclosure obligations.      See Israel Securities Law, §§ 35T, 35DD, 35EE; Verifone

Holdings, Inc. v. Stern, Class Action 3912-01-08, decision rendered Nov. 16, 2008; Stern v.

Verifone Holdings, Inc., Class Action 3912-01-08, decision rendered Aug. 25, 2011 (subsequent

to and in light of Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247 (2010)); Letter from Israel

Securities Authority to the SEC (Feb. 18, 2011), https://www.sec.gov/comments/4-617/4617-

45.pdf (last visited Jan. 18, 2019).

       424.    In a motion to dismiss filed on December 1, 2017, in the Class Action, defendants

Teva, Vigodman, Desheh, Olafsson, and others

       agree[d] that Israeli law mirrors U.S. law here. The Israeli dual-listing regime
       was purposefully created in 2000 to make the Tel Aviv Stock Exchange more
       attractive to Israeli companies (like Teva) who otherwise might list their securities
       only on exchanges outside of Israel. See generally, e.g., Marcus Best & Jean-Luc
       Soulier, Israel §21.1, International Securities Law Handbook (4th ed. 2014).
       Because issuers find it unattractive to be subject to multiple and diverging
       regulatory regimes, Israel simply adopts the securities law requirements of the
       foreign jurisdiction – in this case, the United States – instead of enforcing
       “requirements that apply to Israeli companies listed solely on the TASE.” Id. As
       Plaintiffs acknowledge, both Israeli case law and the Israel Securities Authority’s
       public statements support the view that, as a matter of Israeli law, Israel
       voluntarily applies U.S. liability standards to dual-listed companies like Teva.
       Compl., ¶1084; see In re VeriFone Holdings, Inc. Sec. Litig., No. 07-cv-06140
       EMC, 2014 WL 12646027, at *1 (N.D. Cal. Feb. 18, 2014) (noting, in case
       involving securities fraud claims under Israeli law and a dual-listed company, that
       “the Israeli district court ruled twice that U.S. law, and not Israeli law, applies”).




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        425.   Accordingly, Defendants are liable under Israeli law as a result of their violations

of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and Section 20(a)

of the Exchange Act, in connection with Plaintiffs’ acquisitions of Teva ordinary shares.

        426.   This Count incorporates Counts I and II by reference.

XI.     JURY DEMAND

        427.   Plaintiffs hereby demand a trial by jury.

XII.    PRAYER FOR RELIEF

        428.   WHEREFORE, Plaintiffs pray for relief and judgment as follows:

               (a) Awarding Plaintiffs damages, including interest;

               (b) Awarding Plaintiffs their reasonable costs and expenses incurred in
                   this action, including attorneys’ fees and experts’ fees; and

               (c) Granting such other and further relief as the Court may deem just and
                   proper.


Dated: May 28, 2020                          Respectfully submitted,

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                          APPENDIX A
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                                                               Teva Pre‐  Teva
                                                               Increase Maximum
         Drug                    Form               Strength    Month Price Month                                    Percentage Price Increase by Manufacturer
Anagrelide HCL                                                                          TEVA
                     AAA CAPS REGULAR ORDINARY     0.5MG       Mar‐2014     Dec‐2015    243%
                     AAA CAPS REGULAR ORDINARY     1MG         Mar‐2014     Dec‐2016    242%

Baclofen                                                                                TEVA       NORTHSTAR RX     UPSHER‐SMITH
                     ABA TABS UNCOAT REGULAR ORD 10MG          Mar‐2014     Feb‐2015    306%              779%              694%
                     ABA TABS UNCOAT REGULAR ORD 20MG          Mar‐2014     Dec‐2014    411%              654%              736%

Bumetanide                                                                              TEVA             SANDOZ
                     ABA TABS UNCOAT REGULAR ORD 0.5MG         Mar‐2014     Feb‐2015    566%
                     ABA TABS UNCOAT REGULAR ORD 1MG           Mar‐2014      Jul‐2016   417%               296%
                     ABA TABS UNCOAT REGULAR ORD 2MG           Mar‐2014      Jul‐2016   652%               220%

Cabidopa‐Levodopa                                                                       TEVA     MAYNE PHARMA              MYLAN
                     ABA TABS UNCOAT REGULAR ORD 10‐100MG       Jun‐2016    Dec‐2016     51%               86%               73%

Carpamazepine                                                                           TEVA   MYLAN INSTITUTION   TORRENT PHARM
                     ABA TABS UNCOAT REGULAR ORD 200MG          Aug‐2014    Dec‐2016    909%                423%            1508%
                     ABC TABS UNCOAT REGULAR CHE 100MG          Aug‐2014    Jun‐2015    497%                                 444%

Cephalexin                                                                              TEVA     RANBAXY PHARM
                     DEA PWD/GRAN SOL/SUSP REG     125MG/5ML   Mar‐2014     Jan‐2015    189%
                     DEA PWD/GRAN SOL/SUSP REG     250MG/5ML   Mar‐2014      Jul‐2014   171%               320%

Cimetidine                                                                            TEVA
                     ABA TABS UNCOAT REGULAR ORD 300MG          Jun‐2013    Feb‐2016 296%
                     ABA TABS UNCOAT REGULAR ORD 400MG          Jun‐2013    Jun‐2018 869%
                     ABA TABS UNCOAT REGULAR ORD 800MG          Oct‐2015    Jun‐2018 1072%

Ciprofloxacin HCL                                                                     TEVA
                     ACA TABS COATED REGULAR ORD   250MG       May‐2016     Jan‐2017 353%
                     ACA TABS COATED REGULAR ORD   500MG       Apr‐2016     Oct‐2016 417%
                     ACA TABS COATED REGULAR ORD   750MG       Dec‐2014     Jan‐2017 1111%
                     NBA OPHTHALMIC LIQUID EYE     0.3%        Dec‐2015     Nov‐2016 506%

Clemastin Fum                                                                           TEVA
                     ABA TABS UNCOAT REGULAR ORD 2.68MG          Jul‐2013   Dec‐2016    223%
                     DAA SYRUP REGULAR           0.67MG/5ML      Jul‐2012   Apr‐2015    296%

Clotrimazole                                                                            TEVA
                     MC‐ DERM LIQD EMULSION ETC    1%           Aug‐2014    Dec‐2017    500%

Cromolyn Sodium                                                                         TEVA
                     KA‐ INHALANT SOLUTON SYSTMC   20MG/2ML      Jul‐2014   Jun‐2018    392%
                     NBA OPHTHALMIC LIQUID EYE     4%           Feb‐2016    May‐2016    339%

Cyrpoheptadine HCL                                                                      TEVA
                     ABA TABS UNCOAT REGULAR ORD 4MG           Mar‐2014     Nov‐2017    110%
                     DAA SYRUP REGULAR           2MG/5ML       Jun‐2017     May‐2018     99%


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                                                                 Teva Pre‐  Teva
                                                                 Increase Maximum
            Drug                   Form               Strength    Month Price Month                                      Percentage Price Increase by Manufacturer
Danazol                                                                                   TEVA         LANNETT
                       AAA CAPS REGULAR ORDINARY      100MG       Jan‐2015    Apr‐2017     90%             69%
                       AAA CAPS REGULAR ORDINARY      200MG       Jan‐2015    Mar‐2016    169%             60%
                       AAA CAPS REGULAR ORDINARY       50MG       Jan‐2015     Jul‐2017    60%             97%

Diclofenac                                                                                TEVA
                       ACA TABS COATED REGULAR ORD     50MG       Jan‐2013    Aug‐2015    310%

Dicloxacillin Sodium                                                                      TEVA
                       AAA CAPS REGULAR ORDINARY      250MG      Mar‐2014     May‐2017    147%
                       AAA CAPS REGULAR ORDINARY      500MG      Mar‐2014     Aug‐2017     98%

Diltiazem HCL                                                                             TEVA
                       ABA TABS UNCOAT REGULAR ORD    120MG       Jul‐2013    Jan‐2016    205%
                       ABA TABS UNCOAT REGULAR ORD     30MG       Jul‐2013     Jul‐2016   247%
                       ABA TABS UNCOAT REGULAR ORD     60MG       Jul‐2013     Jul‐2016   238%
                       ABA TABS UNCOAT REGULAR ORD     90MG       Jul‐2013    Jan‐2016    221%

Dipyridamole                                                                              TEVA   IMPAX GENERICS           WEST WARD              ZYDUS PHARM
                       ABA TABS UNCOAT REGULAR ORD     25MG       Jun‐2015    Apr‐2018    291%            127%                  396%                     221%
                       ABA TABS UNCOAT REGULAR ORD     50MG       Jun‐2015    Dec‐2017    413%                                                           252%
                       ABA TABS UNCOAT REGULAR ORD     75MG        Jul‐2015   Feb‐2018    238%                                                           231%

Divalproex Sodium                                                                         TEVA    NORTHSTAR RX    SUN PHARMACEUTICAL            DR REDDY'S LAB
                       ACA TABS COATED REGULAR ORD    125MG      Feb‐2014     Jun‐2018    366%
                       ACA TABS COATED REGULAR ORD    250MG      Mar‐2013     Jun‐2018    444%            311%                   116%
                       ACA TABS COATED REGULAR ORD    500MG      Mar‐2013     May‐2018    179%                                                             70%

Doxazosin Mesy                                                                            TEVA     APOTEX CORP                 MYLAN               PAR PHARM
                       ABA TABS UNCOAT REGULAR ORD      1MG       Jul‐2013    Jan‐2015    862%           1427%                  708%                     770%
                       ABA TABS UNCOAT REGULAR ORD      2MG       Jul‐2013    Oct‐2015    743%           1605%                 1185%                     691%
                       ABA TABS UNCOAT REGULAR ORD      4MG       Jul‐2013    Oct‐2015    666%           1254%                 1404%                     535%
                       ABA TABS UNCOAT REGULAR ORD      8MG       Jul‐2013    Mar‐2014    817%            589%                  247%                     480%

Enalapril                                                                               TEVA            MYLAN       MYLAN INSTITUTION    WOCKHARDT AMERICA
                       ABA TABS UNCOAT REGULAR ORD      10MG      Jun‐2013    Aug‐2015 1470%            1978%                    379%                1270%
                       ABA TABS UNCOAT REGULAR ORD     2.5MG      Jun‐2013    Aug‐2015 2216%            1651%                    486%                1045%
                       ABA TABS UNCOAT REGULAR ORD      20MG      Jun‐2013    Dec‐2016 1728%            1962%                    644%                1327%
                       ABA TABS UNCOAT REGULAR ORD       5MG      Jun‐2013    Nov‐2017 864%             2329%                    381%                1212%

Estazolam                                                                                 TEVA   MAYNE PHARMA
                       ABA TABS UNCOAT REGULAR ORD      1MG      Mar‐2014     May‐2017    135%            290%
                       ABA TABS UNCOAT REGULAR ORD      2MG      Mar‐2014     Jun‐2018    132%            263%

Estradiol                                                                                 TEVA   MAYNE PHARMA                  MYLAN
                       ABA TABS UNCOAT REGULAR ORD 0.5MG          Jul‐2012    Apr‐2013    159%            408%                  132%
                       ABA TABS UNCOAT REGULAR ORD 1MG            Jul‐2012    Jan‐2016    198%            335%                  230%
                       ABA TABS UNCOAT REGULAR ORD 2MG            Jul‐2012    Dec‐2016    237%            375%                  158%

Etotolac                                                                                  TEVA          SANDOZ
                       ACA TABS COATED REGULAR ORD   400MG       Mar‐2013     Dec‐2015    501%
                                                                                             2
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                                                               Teva Pre‐  Teva
                                                               Increase Maximum
         Drug                    Form               Strength    Month Price Month                                    Percentage Price Increase by Manufacturer
                    ACA TABS COATED REGULAR ORD   500MG         Mar‐2013 May‐2015       425%               333%

Etodolac SR                                                                             TEVA
                    BCA TABS COATED LG/ACT ORD    400MG         Jul‐2013    Jan‐2014    200%
                    BCA TABS COATED LG/ACT ORD    500MG         Jul‐2013    Nov‐2013    210%
                    BCA TABS COATED LG/ACT ORD    600MG         Jul‐2013     Jul‐2016    90%

Fluconazole                                                                             TEVA   GLENMARK PHARMA     GREENSTONE LTD
                    ABA TABS UNCOAT REGULAR ORD   100MG        Jun‐2013     Aug‐2013    574%               929%             679%
                    ABA TABS UNCOAT REGULAR ORD   150MG        May‐2013     Aug‐2013    487%               704%             276%
                    ABA TABS UNCOAT REGULAR ORD   200MG        Jun‐2013     Nov‐2015    523%               769%             478%
                    ABA TABS UNCOAT REGULAR ORD   50MG         Jun‐2013     Nov‐2015    536%               663%
                    DEA PWD/GRAN SOL/SUSP REG     40MG/ML      Oct‐2013     Oct‐2014    332%

Fluocinonide                                                                           TEVA         TARO PHARM     MAYNE PHARMA
                    MA‐ DERMATOLOGICAL OINTMENT   0.05%        May‐2014     Dec‐2014 182%                  376%
                    MB‐ DERMATOLOGICAL CREAMS     0.05%        May‐2014     Feb‐2015 290%                  233%              464%
                    ME‐ DERMATOLOGICAL JELLY      0.05%         Jul‐2012     Jul‐2015 2345%
                    MB‐ DERMATOLOGICAL CREAMS     0.05%        Oct‐2012     Dec‐2014 1072%

Fluoxetine HCL                                                                        TEVA
                    AAA CAPS REGULAR ORDINARY   40MG           May‐2015     Nov‐2015 227%
                    ABA TABS UNCOAT REGULAR ORD 10MG            Jan‐2015    Jun‐2018 769%
                    DJA NONSPECIFIC LIQ, REGULA 20MG/5ML         Jul‐2015   Oct‐2016 1264%

Flutamide                                                                               TEVA
                    AAA CAPS REGULAR ORDINARY     125MG        Nov‐2015      Jul‐2016    55%

Fosinipril Sodium                                                                       TEVA
                    ABA TABS UNCOAT REGULAR ORD 10MG            Feb‐2015    Oct‐2015     53%
                    ABA TABS UNCOAT REGULAR ORD 20MG            Feb‐2015    Sep‐2015     60%
                    ABA TABS UNCOAT REGULAR ORD 40MG            Feb‐2015    Apr‐2016     51%

Glimepiride                                                                             TEVA      DR REDDY'S LAB           MYLAN               PAR PHARM         PERRIGO
                    ABA TABS UNCOAT REGULAR ORD 1MG             Jan‐2015    Feb‐2015    304%               110%             147%                     311%           297%
                    ABA TABS UNCOAT REGULAR ORD 2MG             Jan‐2015     Jul‐2015   181%                96%             146%                     327%
                    ABA TABS UNCOAT REGULAR ORD 4MG             Jan‐2015    Aug‐2015    199%                                173%                     336%          196%

Glipizide Metform                                                                       TEVA
                    ACA TABS COATED REGULAR ORD   2.5‐250MG     Dec‐2012    Dec‐2015     56%
                    ACA TABS COATED REGULAR ORD   2.5‐500MG     Oct‐2012    Aug‐2015    106%
                    ACA TABS COATED REGULAR ORD   5‐500MG       Feb‐2013    Feb‐2016    142%

Griseofulvin                                                                            TEVA
                    DGA REDY‐MDE SUSPENSION, RE   125MG/5ML     Feb‐2015    Mar‐2016    276%

Hydroxyzine Pam                                                                         TEVA
                    AAA CAPS REGULAR ORDINARY     100MG        Mar‐2014     Nov‐2016     78%
                    AAA CAPS REGULAR ORDINARY     25MG         Mar‐2014      Jan‐2018   173%
                    AAA CAPS REGULAR ORDINARY     50MG         Mar‐2014     May‐2018    134%


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                                                                Teva Pre‐  Teva
                                                                Increase Maximum
        Drug                      Form               Strength    Month Price Month                            Percentage Price Increase by Manufacturer
Ketoconazole                                                                           TEVA    TARO PHARM
                      ABA TABS UNCOAT REGULAR ORD 200MG         Mar‐2014     Jan‐2017 1156%           700%
                      MB‐ DERMATOLOGICAL CREAMS   2%            Mar‐2014     Sep‐2016 590%           1191%

Ketoprofen                                                                             TEVA
                      AAA CAPS REGULAR ORDINARY     50MG          Jul‐2013   Apr‐2018 1246%
                      AAA CAPS REGULAR ORDINARY     75MG          Jul‐2013   May‐2018 746%

Ketorolac Trometh                                                                       TEVA
                      ACA TABS COATED REGULAR ORD   10MG          Jul‐2013   May‐2016   409%

Loperamide HCL                                                                          TEVA
                      AAA CAPS REGULAR ORDINARY     2MG          Aug‐2014    Feb‐2016   119%

Megestrol Ace                                                                           TEVA
                      ABA TABS UNCOAT REGULAR ORD 20MG           Feb‐2015    Jun‐2015    37%
                      ABA TABS UNCOAT REGULAR ORD 40MG           Feb‐2015    Jun‐2015    35%

Meperdine HCL                                                                           TEVA   EPIC PHARMA     PAR PHARM                WEST WARD
                      ABA TABS UNCOAT REGULAR ORD 100MG          Aug‐2014    Dec‐2017   433%           460%          577%                     322%
                      ABA TABS UNCOAT REGULAR ORD 50MG            Jul‐2014   May‐2016   439%           259%          460%                     256%

Methotrexate Sodium                                                                     TEVA
                      ABA TABS UNCOAT REGULAR ORD 2.5MG          Jun‐2013    Jan‐2015   579%

Methydolpa                                                                              TEVA
                      ABA TABS UNCOAT REGULAR ORD 250MG          Jan‐2015    Jan‐2017   280%
                      ABA TABS UNCOAT REGULAR ORD 500MG          Jan‐2015    Feb‐2017   216%

Mexiletine HCL                                                                          TEVA
                      AAA CAPS REGULAR ORDINARY     150MG        Aug‐2014    Apr‐2017   124%
                      AAA CAPS REGULAR ORDINARY     200MG        Aug‐2014    Aug‐2015    73%
                      AAA CAPS REGULAR ORDINARY     250MG        Aug‐2014    May‐2015   107%

Nadolol                                                                                TEVA         MYLAN
                      ABA TABS UNCOAT REGULAR ORD 20MG           Jun‐2013    Nov‐2014 722%           126%
                      ABA TABS UNCOAT REGULAR ORD 40MG           Jun‐2013    Oct‐2016 1143%          147%
                      ABA TABS UNCOAT REGULAR ORD 80MG           Jun‐2013    Jan‐2017 595%           121%

Nefazodone HCL                                                                          TEVA
                      ABA TABS UNCOAT REGULAR ORD   100MG       Aug‐2014     Nov‐2016   126%
                      ABA TABS UNCOAT REGULAR ORD   150MG       Aug‐2014     Aug‐2017   122%
                      ABA TABS UNCOAT REGULAR ORD   200MG       Aug‐2014     Nov‐2016   120%
                      ABA TABS UNCOAT REGULAR ORD   250MG       Aug‐2014     Nov‐2016   125%
                      ABA TABS UNCOAT REGULAR ORD   50MG        Aug‐2014     Sep‐2017   120%

Nortriptyline HCL                                                                       TEVA
                      AAA CAPS REGULAR ORDINARY     10MG         Jan‐2015    Sep‐2016   158%
                      AAA CAPS REGULAR ORDINARY     25MG         Jan‐2015    Oct‐2016   127%
                      AAA CAPS REGULAR ORDINARY     50MG         Jan‐2015    Aug‐2016   111%
                      AAA CAPS REGULAR ORDINARY     75MG         Jan‐2015    Aug‐2016   111%
                                                                                           4
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                                                                   Teva Pre‐  Teva
                                                                   Increase Maximum
           Drug                      Form               Strength    Month Price Month                                     Percentage Price Increase by Manufacturer

Nystatin                                                                                    TEVA
                         ABA TABS UNCOAT REGULAR ORD 500MU         Mar‐2014    Nov‐2015      52%

Oxybutynin CL                                                                              TEVA           PAR PHARM      UPSHER‐SMITH
                         ABA TABS UNCOAT REGULAR ORD 5MG           May‐2013     Jan‐2016   869%                 479%             592%

Penicillin V Potassium                                                                     TEVA    CITRON PHARMA, LLC          SANDOZ               PAR PHARM
                         ABA TABS UNCOAT REGULAR ORD   250MG       Aug‐2014    Jun‐2017    235%                257%              242%
                         ABA TABS UNCOAT REGULAR ORD   500MG       Oct‐2016    Mar‐2017    440%                                                            737%
                         DEA PWD/GRAN SOL/SUSP REG     125MG/5ML   Jan‐2015    Dec‐2016    106%
                         DEA PWD/GRAN SOL/SUSP REG     250MG/5ML   Jan‐2015     Jul‐2017   120%

Pravastatin Sod                                                                            TEVA          APOTEX CORP     LUPIN PHARMA             ZYDUS PHARM MYLAN INSTITUTION      GLENMARK
                         ABA TABS UNCOAT REGULAR ORD   10MG         Jul‐2013   Feb‐2014    417%                 460%              570%                    489%                         PHARMA
                         ABA TABS UNCOAT REGULAR ORD   20MG         Jul‐2013   Nov‐2013    373%                 446%              450%
                         ABA TABS UNCOAT REGULAR ORD   40MG         Jul‐2013   Nov‐2013    437%                 413%              574%                     517%              173%
                         ABA TABS UNCOAT REGULAR ORD   80MG         Jul‐2013   May‐2014    191%                 249%              229%                                                    159%

Prazosin HCL                                                                               TEVA
                         AAA CAPS REGULAR ORDINARY     1MG         Nov‐2012    Jan‐2016    635%
                         AAA CAPS REGULAR ORDINARY     2MG         Nov‐2012    Nov‐2015    243%
                         AAA CAPS REGULAR ORDINARY     5MG         Nov‐2012    Jan‐2016    345%

Propranolol HCL                                                                             TEVA    HERITAGE PHARMA     IMPAX GENERICS                   MYLAN        NORTHSTAR RX   PAR PHARM
                         ABA TABS UNCOAT REGULAR ORD   10MG        Dec‐2014     Jan‐2016   1347%               1193%             894%                     796%
                         ABA TABS UNCOAT REGULAR ORD   20MG        Dec‐2014     Jan‐2016   1542%               1227%             967%                                         56%
                         ABA TABS UNCOAT REGULAR ORD   40MG        Dec‐2014     Jan‐2016   1694%               1282%            1446%                                         95%         851%
                         ABA TABS UNCOAT REGULAR ORD   80MG        Dec‐2014    Nov‐2015    1730%                985%            1005%
                         BAA CAPS LG/ACT ORDINARY      120MG       May‐2013    Jun‐2014     276%
                         BAA CAPS LG/ACT ORDINARY      160MG       May‐2013    Oct‐2014     199%
                         BAA CAPS LG/ACT ORDINARY      60MG        May‐2013    Jun‐2014     252%
                         BAA CAPS LG/ACT ORDINARY      80MG        May‐2013    May‐2014     298%

Ranitidine HCL                                                                             TEVA
                         ABA TABS UNCOAT REGULAR ORD 150MG          Jun‐2013   Jan‐2017    611%
                         ABA TABS UNCOAT REGULAR ORD 300MG          Jun‐2013   Oct‐2016    509%

Theophylline                                                                               TEVA
                         BBA TABS UNCOAT LG/ACT ORD    100MG       Mar‐2014     Jul‐2014   187%
                         BBA TABS UNCOAT LG/ACT ORD    200MG       Mar‐2014     Jul‐2014   172%
                         BBA TABS UNCOAT LG/ACT ORD    300MG       Mar‐2014    Apr‐2017    613%
                         BBA TABS UNCOAT LG/ACT ORD     450MG      Mar‐2014     Jul‐2016    21%

Tolmetin Sodium                                                                            TEVA
                         AAA CAPS REGULAR ORDINARY     400MG        Jul‐2013   Jun‐2017    265%

Trazodone HCL                                                                              TEVA       MUTUAL PHARM         PAR PHARM               APOTEX CORP
                         ABA TABS UNCOAT REGULAR ORD   100MG        Jun‐2015   Feb‐2016    112%                 98%              120%
                         ABA TABS UNCOAT REGULAR ORD   150MG        Jun‐2015    Jul‐2016   134%                234%                                        137%
                         ABA TABS UNCOAT REGULAR ORD    50MG        Jun‐2015   Feb‐2016    119%                107%                86%
                                                                                               5
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                                                                Teva Pre‐  Teva
                                                                Increase Maximum
         Drug                          Form          Strength    Month Price Month           Percentage Price Increase by Manufacturer


Source: IQVIA National Sales Perspective® data.




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                          APPENDIX B
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February 20-22, 2013 Generic Pharmaceutical Association (“GPhA”) (n/k/a Association
           for Accessible Medicines) Annual Meeting in Orlando, Florida
Teva           Allan Oberman (President & CEO, Teva Americas Generics) and
attendees      Siggi Olafsson (President, Actavis Pharma)
               Aurobindo: unidentified representatives
Co-            Heritage: unidentified representatives
conspirator    Mylan: Tony Mauro (President Mylan North America)
Attendees
               Zydus: unidentified representatives

              June 4-5, 2013 GPhA CMC Workshop in Bethesda, Maryland
Teva           Unidentified representatives
attendees
                Aurobindo: unidentified representatives
Co-             Heritage: unidentified representatives
conspirator     Mylan: unidentified representatives
Attendees       Sun: unidentified representatives
                Zydus: unidentified representatives

      October 28-30, 2013 GPhA Fall Technical Conference in Bethesda, Maryland
Teva           Unidentified representatives
attendees
                Aurobindo: unidentified representatives
                Heritage: unidentified representatives
Co-             Mylan: Dan Snider (Vice President Morgantown RD, Mylan Inc.), Carmen
conspirator     Shepard (Senior VP, Global Policy and Regulatory, Mylan Pharmaceuticals
attendees       Inc.), Marcie McClintic (Vice President and Chief of Staff, Mylan Inc.)
                Sun: unidentified representatives
                Zydus: unidentified representatives

                            February 19-21, 2014 GPhA An
Teva           Allan Oberman (President and CEO, Teva Americas Generics) and
attendees      other representatives from Teva Pharmaceuticals USA, Inc.
               Aurobindo: unidentified representatives
               Heritage: unidentified representatives
               Mylan: Tony Mauro (President, Mylan North America), Marcie
Co-            McClintic Coates (VP and Head of Global Regulatory Affairs, Mylan
conspirator    Inc.), Andrew Miller (Senior Vice President, Head, Global Complex
attendees      Products Operations, Mylan, Inc.)
               Sun: unidentified representatives
               Zydus: unidentified representatives




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                June 3-4, 2014 GPhA CMC Workshop in Bethesda, Maryland
Teva              Unidentified representatives
attendees
                  Heritage: unidentified representatives
Co-               Mylan: unidentified representatives
conspirator
                  Sun: unidentified representatives
attendees
                  Zydus: unidentified representatives

            October 27-29, 2014 GPhA Fall Technical Conference in Bethesda, MD
Teva              Scott Tomsky (Vice President, Generic Regulatory Affairs, North
attendees         America, Teva Pharmaceuticals)
                  Aurobindo: unidentified representatives
                  Citron: unidentified representatives
Co-               Heritage: unidentified representatives
conspirator       Mylan: Marcie McClintic Coates (Vice President and Head of
attendees         Global Regulatory Affairs, Mylan Inc.)
                  Sun: unidentified representatives
                  Zydus: unidentified representatives

               November 19-21 2014, Annual IGPA Conference in Miami, FL
Teva              Yehudah Livneh (Vice President, Global Policy, Asia and EMIA,
attendees         Teva Pharmaceuticals), Allan Oberman (President and CEO, Teva
                  Americas Generics)
Co-               Mylan: Rajiv Malik (President, Mylan Inc.), Nawel Bailey Rojkjaer (Senior
conspirator       Director, International Affairs Office of Global Policy, Mylan GmbH)
attendees

               February 9-11, 2015 GPhA Annual Meeting in Miami Beach, FL
Teva attendees Brian Rubenstein (Executive Counsel, Teva Pharmaceuticals)

                  Aurobindo: unidentified representatives
Co-               Heritage: unidentified representatives
conspirator       Mylan: Deborah Autor (Senior Vice President, Strategic Global Quality
attendees         & Regulatory Policy, Mylan, Inc.), Rajiv Malik (President, Mylan, Inc.)
                  Zydus: unidentified representatives

                  June 9-10, 2015 GPhA CMC Workshop in Bethesda, MD

Teva attendees Scott Tomsky (Vice President, Generic Regulatory Affairs, North America,
               Teva Pharmaceuticals), Siva Vaithiyalingam (Director of Regulatory
               Affairs, Teva Pharmaceuticals)
               Aurobindo (through its affiliate AuroMedics): unidentified representatives
               Citron: unidentified representatives


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Conspirator   Heritage: unidentified representatives
attendees     Mylan: Timothy Ames (Vice President, Global Strategic Regulatory Affairs,
              Mylan Inc.), Dawn Culp (Vice President, Global Regulatory Affairs Policy,
              Mylan, Inc.), Dan Snider (Vice President, Morgantown RD, Mylan
              Pharmaceuticals Inc.), Bryan Winship (Senior Director, Quality
              Management, Strategic Global Quality and Regulatory Policy, Mylan, Inc.)
              Sun: unidentified representatives
              Zydus: unidentified representatives

     June 1-4, 2014 Healthcare Distribution Alliance BLC Meeting (Phoenix, AZ)
Teva          Theresa Coward (Sr. Director, Sales and Trade Relations);
Attendees     Jessica Peters (Director, Trade Relations)
              Mylan: Richard Isaac (Sr. Manager, Strategic Accounts); Lance
Co-           Wyatt (Director, National Accounts)
Conspirator
              Heritage: Neal O’Mara (Sr. Director, National Accounts); Anne Sather
Attendees
              (Sr. Director, National Accounts)

  June 7-10, 2015 Healthcare Distribution Alli.5ance BLC Meeting (San Antonio, TX)
              Theresa Coward (Senior Director of National Sales); Nick Gerebi (Director of
              National Accounts); Jessica Peters (Director, National Accounts); Nisha Patel
              (Director, National Accounts); Gary Skalske (Sr. Director of Sales, Impax
              Laboratories, Inc.), Christine Baeder (Vice President Commercial Operations,
              Teva Pharmaceuticals USA), Brad Bradford (Director National Accounts,
Teva          Teva Pharmaceuticals USA), Christopher Doerr (Senior Director, Trade
Attendees     Operations, Teva Pharmaceuticals USA), Cassie Dunrud (Associate Director,
              Teva Pharmaceuticals USA), Jeff Herberholt (Senior Manager, Regional
              Accounts), Jeff McLard (Senior Director, National Accounts), Jason Nagel
              (Associate Director, Trade Relations), Michelle Osmian (Director, Customer
              Operations)
              Aurobindo: Julie Faria (Senior Manager, Sales Operations & Contract
              Administration, AuroMedics Pharma LLC), Charles Rath (National
              Trade Relations Manager, AuroMedics PharmaLLC)
              Citron: Susan Knoblauch (Director, National Accounts), Laura Short (Vice
              President of Sales), Karen Strelau (Executive Vice President of Sales and
              Marketing)
              Heritage: Jeffrey (Jeff) Glazer (CEO and Vice Chairman); Jason Malek
              (Senior Vice President Commercial Operations); Neal O’Mara (Director,
              National Accounts); Anne Sather (Director, National Accounts);
              Matthew (Matt) Edelson (Associate Director, National Accounts)




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Conspirator     Mylan: John Baranick (Director, Trade Relations, Mylan Specialty, L.P.),
Attendees       Todd Bebout (Vice President – NA Supply Chain Management, Mylan Inc.);
                Janet Bell (Director, National Accounts, Mylan, Inc.); Richard Isaac (Senior
                Manager, Strategic Accounts, Mylan Inc.); Stephen Krinke (National
                Account Manager, Mylan Inc.); Robert O’Neill (Head of Sales Generic, NA,
                Mylan Inc.); Sean Reilly (National Account Manager, Mylan Inc.); John
                Shane (Director, Trade Relations, Mylan Specialty L.P.); Erik Williams (VP
                NA Pricing & Contracts, Mylan Inc.); Lance Wyatt (Director, National
                Accounts, Mylan Inc.)
                Sun: Daniel Schober (Vice President, Trade Sales), Steven Smith (Sr.
                Director of Sales)
                Zydus: Maria Bianco-Falcone (Director of Offer Development and
                Trade Operations), Scott Goldy (Sales Director), Kevin Green (Sr.
                Director of Sales), Maria McManus (Corporate Account Manager),
                Louis Pastor (Sr. Director, Trade Operations), Kristy Ronco (Vice
                President, Sales), Jodi Weber (Corporate Account Manager)

  April 20-2013, 2013 National Association of Chain Drug Stores (“NACDS”) Annual
                             Meeting (Palm Beach, FL)
                Jeremy Levin (President and CEO); Allan Oberman (President and CEO of
                Teva Americas Generics); Maureen Cavanaugh (SVP and COO of North
Teva            America Generics); Theresa Coward (Sr. Director Sales and Trade Relations);
Attendees       Michael Sine (Director, Corporate Account Group); Jonathan Kafer (EVP,
                Sales and Marketing); David Marshall (VP of Operations); David
                Rekenthaler (VP of Sales)
                Mylan: Joe Duda (President); Tony Mauro (Chief Commercial Officer);
                Robert Potter (SVP of North America National Accounts and Channel
Co-             Development); Jeffrey May (VP of North America Product Strategy);
Conspirator     Jim Nesta (VP of Sales)
Attendees



            August 10-13, 2013 NACDS Total Store Expo (Las Vegas, Nevada)
                Allan Oberman (President and CEO of Teva Americas Generics); Maureen
                Cavanaugh (SVP and COO of North America Generics); Theresa Coward
Teva            (Sr. Director Sales and Trade Relations); David Rekenthaler (VP of Sales);
Attendees       Kevin Galowina (Head of Marketing Operations); Jessica Peters (Manager of
                Corporate Accounts)
                Mylan: Mike Aigner (Director National Accounts); Kevin McElfresh
                (Executive Director National Accounts) Joe Duda (President); Robert Potter
                (SVP North America National Accounts and Channel Development); Rob
Co-             O’Neill (Head of Sales); Lance Wyatt (Director National Accounts)




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Conspirator      Heritage: Jeffrey Glazer (CEO and Chairman); Matthew Edelson (Sr.
Attendees        Director of Sales); Jason Malek (SVP, Commercial Operations); Gina
                 Gramuglia (Commercial Operations); Neal O’Mara (Sr. Director,
                 National Accounts); Anne Sather (Sr. Director, National Accounts)


  December 3, 2013 NACDS 2013 NYC Week and Annual Foundation Dinner (NYC)
Teva             Maureen Cavanaugh (SVP and COO of North America Generics);
Attendees        Theresa Coward (Sr. Director Sales); David Rekenthaler (VP of Sales)
                 Mylan: Joe Duda (President); Tony Mauro (COO); Robert Potter (SVP of
Co-
                 North America National Accounts and Channel Development); Rob
Conspirator      O’Neill (Head of Sales)
Attendees

                August 23-26, 2014 NACDS Total Store Expo (Boston, MA)
                 Maureen Cavanaugh (SVP and COO of North America Generics); David
Teva             Rekenthaler (VP of Sales); Kevin Galowina (Head of Marketing
Attendees        Operations); Jessica Peters (Manager of Corporate Accounts); Nisha Patel
                 (Director of National Accounts)
                 Mylan: Joe Duda (President); Tony Mauro (President); Robert Potter (SVP
                 of North America National Accounts); Mike Aigner (Director, National
                 Accounts); Kevin McElfresh (Executive Director, National Accounts);
                 Gary Tighe (Director, National Accounts); Lance Wyatt (Director, National
                 Accounts)
Co-
                 Heritage: Jeffrey Glazer (CEO and Chairman); Jason Malek (SVP,
Conspirator
                 Commercial Operations); Heather Beem (National Account Manager,
Attendees        Institutional); Katie Brodowski (Associate Director Institutional Sales);
                 Matthew Edelson (Senior Director of Sales); Gina Gramuglia
                 (Commercial Operations); Neal O’Mara (Sr. Director, National
                 Accounts); Anne Sather (Sr. Director, National Accounts)


              April 26-29, 2014 NACDS 2014 Annual Meeting (Scottsdale, AZ)
                Allan Oberman (President and CEO of Teva Americas Generics); Maureen
Teva
                Cavanaugh (SVP and COO of North America Generics); Theresa Coward
Attendees
                (Sr. Director Sales and Trade Relations); David Rekenthaler (VP of Sales)
                Mylan: Joe Duda (President); Tony Mauro (President); Robert Potter (SVP
Co-             of North America National Accounts and Channel Development); Rob
Conspirator     O’Neill (Head of Sales)
Attendees       Heritage: Jeffrey Glazer (CEO and Chairman)


  December 3, 2014 NACDS 2014 NYC Week and Annual Foundation Dinner (NYC)



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                 Maureen Cavanaugh (SVP and Chief Operating Officer of North America
Teva
                 Generics); David Rekenthaler (VP of Sales); Theresa Coward (Sr. Director of
Attendees
                 Sales); Jessica Peters (Director, National Accounts)
Co-              Mylan: Tony Mauro (COO); Mike Aigner (Director National Accounts);
Conspirator      Robert Potter (SVP of North America National Accounts)
Attendees

              April 25-28, 2015 NACDS 2015 Annual Meeting (Palm Beach, FL)
Teva             Maureen Cavanaugh (SVP and COO of North America Generics);
Attendees        Theresa Coward (Sr. Director of Sales)
                 Mylan: Tony Mauro (President); Robert Potter (SVP of North America
Co-
                 National Accounts and Channel Manager); Rob O’Neill (Head of
Conspirator
                 Sales); Gary Tighe (Director National Accounts)
Attendees

                 August 22-25, 2015 NACDS Total Store Expo (Denver, CO)
                 Theresa Coward (Sr. Director of Sales); Maureen Cavanaugh (SVP and
Teva             COO of North America Generics); Kevin Galowina (Head of Marketing
Attendees        Operations); Jessica Peters (Manager of Corporate Accounts); Nisha Patel
                 (Director of National Accounts
                 Mylan: Mike Aigner (Director National Accounts); Tony Mauro (President);
                 Robert Potter (SVP of North America National Accounts and Channel
                 Development); Kevin McElfresh (Executive Director, National Accounts);
Co-              Robert O’Neill (Head of Sales Generic, NA)
Conspirator
                 Heritage: Jeffrey Glazer (CEO and Chairman); Jason Malek (SVP of
Attendees
                 Commercial Operations); Neal O’Mara (Sr. Director, National Accounts);
                 Anne Sather (Sr. Director, National Accounts); Matthew Edelson (Associate
                 Director, National Accounts); Gina Gramuglia (Commercial Operations)

February 23-26, 2014 Efficient Collaborative Retail Marketing Retail Pharmacy Efficient
                    Program Planning Session (Amelia Island, FL)
Teva             Unidentified representatives
attendees
Co-              Heritage: unidentified representatives
conspirator
attendees

February 22-25, 2015 Efficient Collaborative Retail Marketing Annual Retail Pharmacy
                   Efficient Program Planning Session (Destin, FL)
Teva             Unidentified representatives
attendees




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Co-             Heritage: unidentified representatives
conspirator
attendees

  May 12-15, 2014 Minnesota Multistate Contracting Alliance for Pharmacy National
                     Member Conference in Bloomington, MN
Teva            Nick Gerebi (National Account Manager)
attendees
Co-            Heritage: Anne Sather (Director, National Accounts)
conspirator    Mylan: Jan Bell (Director, National Accounts)
attendees

              February 16-18, 2015 National Pharmacy Forum (Tampa, FL)
                Nick Gerebi (Director, National Accounts), Jeff McClard (Senior
Teva
                Director, National Accounts), Cam Bivens (Director, National Accounts),
attendees       Brad Bradford (Director, National Accounts)
Co-             Mylan: Lee Rosencrance (District Manager). Martin Wingerter (Director of
conspirator     National Accounts), Jan Bell (Director of National Accounts), Heather Paton
attendees       (VP Institutional Sales), Mark Pittinger (Senior Director National Accounts)




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                          APPENDIX C
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                    Schwab Capital Trust: Acquisitions of Teva Securities


                Series Name                          Security      Trade Date   Quantity     Price
Schwab Fundamental International Large Company   Ordinary shares    02/12/14       1,830   ILS 155.20
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    03/27/14       1,337   ILS 171.26
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    04/10/14         800   ILS 181.60
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    04/23/14         823   ILS 179.16
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    05/22/14       2,158   ILS 176.10
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    06/26/14       2,938   ILS 179.50
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    07/17/14         819   ILS 184.20
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    08/13/14         887   ILS 178.47
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    01/14/15       1,812   ILS 223.20
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    02/10/15       1,509   ILS 219.60
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    07/16/15       5,154   ILS 242.20
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    07/21/15         956   ILS 244.40
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    08/31/15         860   ILS 255.58
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    09/10/15       1,314   ILS 243.09
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    05/30/16       1,451   ILS 199.49
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    06/23/16       2,626   ILS 196.70
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    07/10/16         933   ILS 197.80
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    08/22/16         925   ILS 200.15
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    09/29/16       2,827   ILS 179.90
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    12/15/16       8,768   ILS 142.40
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    01/09/17       1,505   ILS 135.50
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    02/02/17       1,623   ILS 128.50
Index Fund



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                    Schwab Capital Trust: Acquisitions of Teva Securities


                   Series Name                       Security      Trade Date   Quantity     Price
Schwab Fundamental International Large Company   Ordinary shares    03/30/17      13,572   ILS 119.10
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    04/24/17       1,814   ILS 115.90
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    05/22/17       4,067   ILS 107.00
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    06/22/17       8,905   ILS 112.40
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    09/14/17      30,903    ILS 66.50
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    12/14/17      34,815    ILS 63.40
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    01/29/18       4,389    ILS 73.25
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    03/15/18      15,630    ILS 62.70
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    06/21/18      15,000    ILS 87.50
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    08/16/18       3,417    ILS 84.30
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    10/21/18       6,003    ILS 89.23
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    11/18/18       2,847    ILS 82.40
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    12/31/18       5,964    ILS 58.65
Index Fund
Schwab Fundamental International Large Company   Ordinary shares    04/03/19       2,660    ILS 53.93
Index Fund
Schwab International Index Fund                  Ordinary shares    02/24/14       2,225   ILS 169.08
Schwab International Index Fund                  Ordinary shares    03/12/14       3,470   ILS 171.05
Schwab International Index Fund                  Ordinary shares    04/16/14       3,000   ILS 174.82
Schwab International Index Fund                  Ordinary shares    05/29/14       3,297   ILS 174.06
Schwab International Index Fund                  Ordinary shares    07/03/14       2,737   ILS 185.85
Schwab International Index Fund                  Ordinary shares    07/20/14       3,039   ILS 186.78
Schwab International Index Fund                  Ordinary shares    10/07/14       6,896   ILS 196.60
Schwab International Index Fund                  Ordinary shares    02/26/15       7,900   ILS 223.57
Schwab International Index Fund                  Ordinary shares    03/18/15       2,242   ILS 246.50
Schwab International Index Fund                  Ordinary shares    03/24/15       3,493   ILS 248.23
Schwab International Index Fund                  Ordinary shares    03/31/15       3,797   ILS 248.67
Schwab International Index Fund                  Ordinary shares    04/08/15       2,166   ILS 253.00
Schwab International Index Fund                  Ordinary shares    05/28/15       4,152   ILS 234.71
Schwab International Index Fund                  Ordinary shares    07/07/15       2,429   ILS 233.60
Schwab International Index Fund                  Ordinary shares    09/30/15       3,123   ILS 219.09
Schwab International Index Fund                  Ordinary shares    11/19/15       5,506   ILS 238.60
Schwab International Index Fund                  Ordinary shares    11/30/15       5,708   ILS 236.99


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                     Schwab Capital Trust: Acquisitions of Teva Securities


                   Series Name                Security      Trade Date   Quantity     Price
Schwab International Index Fund           Ordinary shares    12/10/15      11,000   ILS 253.00
Schwab International Index Fund           Ordinary shares    01/21/16       4,964   ILS 244.30
Schwab International Index Fund           Ordinary shares    02/29/16       2,335   ILS 220.40
Schwab International Index Fund           Ordinary shares    03/22/16       3,065   ILS 209.20
Laudus International MarketMasters Fund   Ordinary shares    05/13/14         329   ILS 173.20
Laudus International MarketMasters Fund   Ordinary shares    09/28/14          79   ILS 196.40
Laudus International MarketMasters Fund   Ordinary shares    11/05/14          89   ILS 219.30
Laudus International MarketMasters Fund   Ordinary shares    05/05/15          93   ILS 239.00
Laudus International MarketMasters Fund   Ordinary shares    12/10/15         389   ILS 253.05
Laudus International MarketMasters Fund   Ordinary shares    01/05/16          40   ILS 255.00
Laudus International MarketMasters Fund   Ordinary shares    04/18/16          39   ILS 208.50
Schwab International Index Fund           ADS                11/08/16       3,535       $38.77
Schwab International Index Fund           ADS                12/20/16       4,051       $36.25
Schwab International Index Fund           ADS                04/20/17       5,200       $30.76
Schwab International Index Fund           ADS                05/31/17       6,190       $27.86
Schwab International Index Fund           ADS                06/22/17       5,726       $32.52
Schwab International Index Fund           ADS                08/03/17       5,989       $23.75
Schwab International Index Fund           ADS                10/24/17      17,637       $14.28
Schwab International Index Fund           ADS                12/11/17      13,857       $16.44
Schwab International Index Fund           ADS                03/09/18      11,601       $19.18
Schwab International Index Fund           ADS                05/31/18      20,714       $21.50
Schwab International Index Fund           ADS                08/21/18       9,118       $25.17
Schwab International Index Fund           ADS                10/25/18       8,005       $20.30
Schwab International Index Fund           ADS                11/13/18       8,000       $23.53
Schwab International Index Fund           ADS                11/19/18       7,720       $22.00
Schwab International Index Fund           ADS                12/14/18       7,098       $18.46
Schwab International Index Fund           ADS                12/31/18      13,544       $15.42
Schwab International Index Fund           ADS                03/11/19       8,863       $15.78
Laudus International MarketMasters Fund   ADS                07/11/14      12,699       $54.24
Laudus International MarketMasters Fund   ADS                07/14/14      14,476       $54.74
Laudus International MarketMasters Fund   ADS                07/15/14       6,441       $54.56
Laudus International MarketMasters Fund   ADS                07/16/14       4,825       $54.11
Laudus International MarketMasters Fund   ADS                07/17/14       4,155       $53.60
Laudus International MarketMasters Fund   ADS                07/21/14       3,728       $54.31
Laudus International MarketMasters Fund   ADS                07/22/14       2,706       $55.19
Laudus International MarketMasters Fund   ADS                08/01/14       6,434       $54.50
Laudus International MarketMasters Fund   ADS                08/05/14       2,390       $52.75
Laudus International MarketMasters Fund   ADS                08/06/14       2,992       $51.95
Laudus International MarketMasters Fund   ADS                08/07/14       5,546       $51.90
Laudus International MarketMasters Fund   ADS                08/08/14       7,207       $51.04
Laudus International MarketMasters Fund   ADS                01/30/15       1,126       $57.22
Laudus International MarketMasters Fund   ADS                01/30/15      13,416       $57.38
Laudus International MarketMasters Fund   ADS                07/28/15       3,044       $71.11
Laudus International MarketMasters Fund   ADS                07/29/15       2,348       $71.24
Laudus International MarketMasters Fund   ADS                10/26/15       5,520       $59.39


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                     Schwab Capital Trust: Acquisitions of Teva Securities


                   Series Name               Security   Trade Date   Quantity   Price
Laudus International MarketMasters Fund   ADS            11/02/15       7,813     $60.83
Laudus International MarketMasters Fund   ADS            11/03/15       2,829     $61.57
Laudus International MarketMasters Fund   ADS            11/03/15       7,916     $62.05




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                    Schwab Strategic Trust: Acquisitions of Teva Securities


                   Series Name               Security      Trade Date Quantity     Price
Schwab International Equity ETF          Ordinary shares    02/13/14       945   ILS 154.60
Schwab International Equity ETF          Ordinary shares    02/13/14     1,512   ILS 154.60
Schwab International Equity ETF          Ordinary shares    03/03/14     1,512   ILS 172.20
Schwab International Equity ETF          Ordinary shares    03/04/14       756   ILS 171.40
Schwab International Equity ETF          Ordinary shares    03/17/14     1,512   ILS 170.60
Schwab International Equity ETF          Ordinary shares    03/18/14       945   ILS 172.10
Schwab International Equity ETF          Ordinary shares    04/02/14     1,512   ILS 187.30
Schwab International Equity ETF          Ordinary shares    04/15/14     1,512   ILS 174.60
Schwab International Equity ETF          Ordinary shares    04/15/14       945   ILS 174.60
Schwab International Equity ETF          Ordinary shares    04/28/14       945   ILS 171.50
Schwab International Equity ETF          Ordinary shares    05/07/14     1,512   ILS 170.00
Schwab International Equity ETF          Ordinary shares    05/07/14     1,323   ILS 170.00
Schwab International Equity ETF          Ordinary shares    05/21/14     2,079   ILS 174.40
Schwab International Equity ETF          Ordinary shares    06/03/14     1,134   ILS 176.50
Schwab International Equity ETF          Ordinary shares    06/12/14     1,323   ILS 179.00
Schwab International Equity ETF          Ordinary shares    06/20/14     1,512   ILS 183.70
Schwab International Equity ETF          Ordinary shares    06/25/14     1,134   ILS 179.10
Schwab International Equity ETF          Ordinary shares    07/08/14     2,268   ILS 182.80
Schwab International Equity ETF          Ordinary shares    07/09/14     1,323   ILS 184.10
Schwab International Equity ETF          Ordinary shares    07/17/14     1,134   ILS 182.90
Schwab International Equity ETF          Ordinary shares    07/24/14     1,512   ILS 187.50
Schwab International Equity ETF          Ordinary shares    08/13/14     1,701   ILS 178.00
Schwab International Equity ETF          Ordinary shares    08/26/14     1,890   ILS 186.50
Schwab International Equity ETF          Ordinary shares    08/27/14     1,134   ILS 187.70
Schwab International Equity ETF          Ordinary shares    09/15/14     1,134   ILS 187.20
Schwab International Equity ETF          Ordinary shares    09/19/14     2,268   ILS 190.80
Schwab International Equity ETF          Ordinary shares    09/24/14     1,323   ILS 188.70
Schwab International Equity ETF          Ordinary shares    09/25/14       567   ILS 188.70
Schwab International Equity ETF          Ordinary shares    09/26/14     1,890   ILS 188.70
Schwab International Equity ETF          Ordinary shares    10/10/14     1,890   ILS 199.90
Schwab International Equity ETF          Ordinary shares    10/17/14     3,780   ILS 187.50
Schwab International Equity ETF          Ordinary shares    11/17/14     1,890   ILS 221.60
Schwab International Equity ETF          Ordinary shares    12/02/14     2,268   ILS 225.80
Schwab International Equity ETF          Ordinary shares    12/12/14     1,890   ILS 224.20
Schwab International Equity ETF          Ordinary shares    12/16/14     1,890   ILS 220.40
Schwab International Equity ETF          Ordinary shares    12/19/14     2,646   ILS 221.90
Schwab International Equity ETF          Ordinary shares    12/26/14     2,646   ILS 223.70
Schwab International Equity ETF          Ordinary shares    01/02/15     1,134   ILS 222.00
Schwab International Equity ETF          Ordinary shares    01/07/15     2,268   ILS 224.10
Schwab International Equity ETF          Ordinary shares    01/07/15     1,323   ILS 224.10
Schwab International Equity ETF          Ordinary shares    01/12/15       945   ILS 225.70
Schwab International Equity ETF          Ordinary shares    01/21/15     2,268   ILS 229.60
Schwab International Equity ETF          Ordinary shares    02/02/15     1,890   ILS 221.80
Schwab International Equity ETF          Ordinary shares    02/05/15     1,890   ILS 222.40
Schwab International Equity ETF          Ordinary shares    02/09/15       567   ILS 221.00


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                   Series Name               Security      Trade Date Quantity     Price
Schwab International Equity ETF          Ordinary shares    02/20/15     2,268   ILS 217.70
Schwab International Equity ETF          Ordinary shares    02/26/15     1,890   ILS 223.50
Schwab International Equity ETF          Ordinary shares    02/26/15     2,268   ILS 223.50
Schwab International Equity ETF          Ordinary shares    03/03/15     1,890   ILS 225.00
Schwab International Equity ETF          Ordinary shares    03/05/15     2,268   ILS 225.20
Schwab International Equity ETF          Ordinary shares    03/09/15       756   ILS 228.00
Schwab International Equity ETF          Ordinary shares    03/20/15     2,268   ILS 249.60
Schwab International Equity ETF          Ordinary shares    03/24/15     2,835   ILS 246.30
Schwab International Equity ETF          Ordinary shares    03/30/15     2,457   ILS 247.40
Schwab International Equity ETF          Ordinary shares    03/31/15     1,890   ILS 249.60
Schwab International Equity ETF          Ordinary shares    04/01/15     1,890   ILS 245.50
Schwab International Equity ETF          Ordinary shares    04/09/15     2,835   ILS 254.00
Schwab International Equity ETF          Ordinary shares    04/09/15     2,646   ILS 254.00
Schwab International Equity ETF          Ordinary shares    04/20/15     2,268   ILS 251.00
Schwab International Equity ETF          Ordinary shares    04/27/15     2,646   ILS 245.80
Schwab International Equity ETF          Ordinary shares    05/07/15     1,890   ILS 232.60
Schwab International Equity ETF          Ordinary shares    05/08/15     3,024   ILS 232.60
Schwab International Equity ETF          Ordinary shares    05/15/15     1,890   ILS 233.50
Schwab International Equity ETF          Ordinary shares    05/19/15     1,890   ILS 236.00
Schwab International Equity ETF          Ordinary shares    05/20/15     2,646   ILS 234.90
Schwab International Equity ETF          Ordinary shares    05/29/15     1,890   ILS 234.80
Schwab International Equity ETF          Ordinary shares    06/08/15     4,725   ILS 233.90
Schwab International Equity ETF          Ordinary shares    06/16/15     3,780   ILS 231.80
Schwab International Equity ETF          Ordinary shares    06/18/15     3,000   ILS 227.88
Schwab International Equity ETF          Ordinary shares    06/22/15     1,528   ILS 227.50
Schwab International Equity ETF          Ordinary shares    06/23/15     1,910   ILS 226.00
Schwab International Equity ETF          Ordinary shares    07/02/15     3,056   ILS 232.10
Schwab International Equity ETF          Ordinary shares    07/07/15     1,146   ILS 233.50
Schwab International Equity ETF          Ordinary shares    07/09/15     2,865   ILS 234.30
Schwab International Equity ETF          Ordinary shares    07/14/15     1,910   ILS 241.50
Schwab International Equity ETF          Ordinary shares    07/20/15     1,528   ILS 244.40
Schwab International Equity ETF          Ordinary shares    07/27/15     3,247   ILS 260.40
Schwab International Equity ETF          Ordinary shares    08/06/15     2,101   ILS 270.40
Schwab International Equity ETF          Ordinary shares    08/31/15     1,910   ILS 257.00
Schwab International Equity ETF          Ordinary shares    09/08/15     1,910   ILS 247.70
Schwab International Equity ETF          Ordinary shares    09/09/15     4,775   ILS 247.60
Schwab International Equity ETF          Ordinary shares    09/10/15     2,292   ILS 241.00
Schwab International Equity ETF          Ordinary shares    09/16/15     1,910   ILS 251.60
Schwab International Equity ETF          Ordinary shares    10/01/15     1,910   ILS 226.30
Schwab International Equity ETF          Ordinary shares    10/02/15     1,910   ILS 226.30
Schwab International Equity ETF          Ordinary shares    10/09/15     1,528   ILS 226.20
Schwab International Equity ETF          Ordinary shares    10/12/15     1,910   ILS 224.80
Schwab International Equity ETF          Ordinary shares    10/13/15     2,865   ILS 229.40
Schwab International Equity ETF          Ordinary shares    10/14/15     2,292   ILS 220.50
Schwab International Equity ETF          Ordinary shares    10/27/15     2,292   ILS 230.30


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                   Series Name               Security      Trade Date Quantity     Price
Schwab International Equity ETF          Ordinary shares    11/05/15     3,438   ILS 234.00
Schwab International Equity ETF          Ordinary shares    11/12/15     2,292   ILS 229.50
Schwab International Equity ETF          Ordinary shares    11/17/15     2,865   ILS 231.90
Schwab International Equity ETF          Ordinary shares    12/02/15     3,438   ILS 248.00
Schwab International Equity ETF          Ordinary shares    12/04/15     3,820   ILS 247.20
Schwab International Equity ETF          Ordinary shares    12/04/15       955   ILS 247.20
Schwab International Equity ETF          Ordinary shares    12/10/15     1,910   ILS 253.00
Schwab International Equity ETF          Ordinary shares    12/10/15     3,056   ILS 253.00
Schwab International Equity ETF          Ordinary shares    12/16/15     1,910   ILS 252.80
Schwab International Equity ETF          Ordinary shares    12/16/15     2,674   ILS 252.80
Schwab International Equity ETF          Ordinary shares    12/18/15     1,910   ILS 253.70
Schwab International Equity ETF          Ordinary shares    12/29/15     3,056   ILS 258.20
Schwab International Equity ETF          Ordinary shares    01/04/16     1,337   ILS 255.30
Schwab International Equity ETF          Ordinary shares    01/05/16     2,865   ILS 255.00
Schwab International Equity ETF          Ordinary shares    01/11/16     3,820   ILS 249.30
Schwab International Equity ETF          Ordinary shares    01/13/16     2,865   ILS 254.90
Schwab International Equity ETF          Ordinary shares    01/22/16     4,393   ILS 245.60
Schwab International Equity ETF          Ordinary shares    01/25/16     2,483   ILS 251.10
Schwab International Equity ETF          Ordinary shares    01/28/16    10,000   ILS 248.58
Schwab International Equity ETF          Ordinary shares    03/03/16     2,940   ILS 218.70
Schwab International Equity ETF          Ordinary shares    03/04/16     5,880   ILS 218.70
Schwab International Equity ETF          Ordinary shares    03/29/16     5,488   ILS 207.00
Schwab International Equity ETF          Ordinary shares    03/31/16     2,548   ILS 202.70
Schwab International Equity ETF          Ordinary shares    04/26/16     3,528   ILS 211.50
Schwab International Equity ETF          Ordinary shares    05/02/16     1,960   ILS 201.00
Schwab International Equity ETF          Ordinary shares    05/10/16     3,136   ILS 200.30
Schwab International Equity ETF          Ordinary shares    05/13/16     2,940   ILS 200.30
Schwab International Equity ETF          Ordinary shares    05/31/16     3,724   ILS 200.10
Schwab International Equity ETF          Ordinary shares    06/03/16     2,548   ILS 207.40
Schwab International Equity ETF          Ordinary shares    06/16/16     8,000   ILS 201.38
Schwab International Equity ETF          Ordinary shares    06/16/16     6,600   ILS 201.40
Schwab International Equity ETF          Ordinary shares    06/17/16     2,800   ILS 201.40
Schwab International Equity ETF          Ordinary shares    06/21/16     3,000   ILS 198.30
Schwab International Equity ETF          Ordinary shares    06/27/16     4,000   ILS 190.70
Schwab International Equity ETF          Ordinary shares    06/28/16     5,400   ILS 190.40
Schwab International Equity ETF          Ordinary shares    06/29/16     2,000   ILS 193.90
Schwab International Equity ETF          Ordinary shares    07/12/16     1,600   ILS 199.90
Schwab International Equity ETF          Ordinary shares    07/19/16     3,000   ILS 209.60
Schwab International Equity ETF          Ordinary shares    07/20/16     3,800   ILS 210.40
Schwab International Equity ETF          Ordinary shares    07/22/16     2,000   ILS 212.70
Schwab International Equity ETF          Ordinary shares    07/27/16     1,600   ILS 209.20
Schwab International Equity ETF          Ordinary shares    08/16/16     2,730   ILS 205.40
Schwab International Equity ETF          Ordinary shares    09/02/16     2,184   ILS 189.80
Schwab International Equity ETF          Ordinary shares    09/07/16     3,276   ILS 192.30
Schwab International Equity ETF          Ordinary shares    09/13/16     1,820   ILS 194.40


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                   Series Name               Security      Trade Date Quantity     Price
Schwab International Equity ETF          Ordinary shares    09/16/16     1,820   ILS 196.20
Schwab International Equity ETF          Ordinary shares    09/20/16     2,184   ILS 190.70
Schwab International Equity ETF          Ordinary shares    09/28/16     1,820   ILS 184.50
Schwab International Equity ETF          Ordinary shares    10/06/16     3,276   ILS 172.50
Schwab International Equity ETF          Ordinary shares    10/17/16     2,730   ILS 169.50
Schwab International Equity ETF          Ordinary shares    10/20/16     3,640   ILS 166.10
Schwab International Equity ETF          Ordinary shares    10/28/16     2,912   ILS 165.60
Schwab International Equity ETF          Ordinary shares    11/03/16     3,276   ILS 160.40
Schwab International Equity ETF          Ordinary shares    11/11/16     3,640   ILS 159.20
Schwab International Equity ETF          Ordinary shares    11/17/16     2,730   ILS 147.50
Schwab International Equity ETF          Ordinary shares    11/18/16     3,640   ILS 147.50
Schwab International Equity ETF          Ordinary shares    12/01/16     3,640   ILS 144.00
Schwab International Equity ETF          Ordinary shares    12/08/16     3,640   ILS 134.90
Schwab International Equity ETF          Ordinary shares    12/28/16     1,760   ILS 140.40
Schwab International Equity ETF          Ordinary shares    12/28/16     2,640   ILS 140.40
Schwab International Equity ETF          Ordinary shares    12/28/16     3,520   ILS 140.40
Schwab International Equity ETF          Ordinary shares    01/03/17     5,280   ILS 143.90
Schwab International Equity ETF          Ordinary shares    01/05/17     3,520   ILS 143.90
Schwab International Equity ETF          Ordinary shares    01/10/17     3,520   ILS 133.30
Schwab International Equity ETF          Ordinary shares    01/26/17     3,520   ILS 127.90
Schwab International Equity ETF          Ordinary shares    01/31/17     3,520   ILS 123.40
Schwab International Equity ETF          Ordinary shares    02/07/17     3,168   ILS 124.00
Schwab International Equity ETF          Ordinary shares    02/09/17     4,224   ILS 121.60
Schwab International Equity ETF          Ordinary shares    02/10/17     3,520   ILS 121.60
Schwab International Equity ETF          Ordinary shares    02/21/17     3,520   ILS 137.50
Schwab International Equity ETF          Ordinary shares    03/02/17     4,400   ILS 128.20
Schwab International Equity ETF          Ordinary shares    03/10/17     3,520   ILS 121.30
Schwab International Equity ETF          Ordinary shares    03/15/17     5,280   ILS 124.20
Schwab International Equity ETF          Ordinary shares    03/30/17     3,520   ILS 119.10
Schwab International Equity ETF          Ordinary shares    04/03/17     3,520   ILS 116.20
Schwab International Equity ETF          Ordinary shares    04/03/17     2,640   ILS 116.20
Schwab International Equity ETF          Ordinary shares    04/07/17     3,520   ILS 116.50
Schwab International Equity ETF          Ordinary shares    04/11/17    19,360   ILS 117.60
Schwab International Equity ETF          Ordinary shares    04/12/17     2,112   ILS 116.60
Schwab International Equity ETF          Ordinary shares    04/19/17     3,520   ILS 113.60
Schwab International Equity ETF          Ordinary shares    04/25/17     3,520   ILS 111.60
Schwab International Equity ETF          Ordinary shares    04/26/17     3,520   ILS 113.70
Schwab International Equity ETF          Ordinary shares    05/04/17     3,520   ILS 111.40
Schwab International Equity ETF          Ordinary shares    05/05/17     2,464   ILS 111.40
Schwab International Equity ETF          Ordinary shares    05/10/17     3,520   ILS 110.40
Schwab International Equity ETF          Ordinary shares    05/11/17     3,168   ILS 110.50
Schwab International Equity ETF          Ordinary shares    05/30/17     2,112   ILS 101.50
Schwab International Equity ETF          Ordinary shares    05/30/17     3,520   ILS 101.50
Schwab International Equity ETF          Ordinary shares    05/30/17     3,168   ILS 101.50
Schwab International Equity ETF          Ordinary shares    06/08/17     3,520   ILS 102.90


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                    Schwab Strategic Trust: Acquisitions of Teva Securities


                   Series Name               Security      Trade Date Quantity     Price
Schwab International Equity ETF          Ordinary shares    06/13/17     3,520   ILS 108.30
Schwab International Equity ETF          Ordinary shares    06/22/17     7,040   ILS 112.40
Schwab International Equity ETF          Ordinary shares    06/29/17    13,200   ILS 115.40
Schwab International Equity ETF          Ordinary shares    07/03/17     3,520   ILS 117.00
Schwab International Equity ETF          Ordinary shares    07/07/17     3,520   ILS 113.00
Schwab International Equity ETF          Ordinary shares    07/13/17     3,168   ILS 117.60
Schwab International Equity ETF          Ordinary shares    07/17/17     3,520   ILS 113.70
Schwab International Equity ETF          Ordinary shares    07/31/17     3,168   ILS 115.20
Schwab International Equity ETF          Ordinary shares    08/02/17     3,520   ILS 111.30
Schwab International Equity ETF          Ordinary shares    08/08/17     4,048    ILS 66.48
Schwab International Equity ETF          Ordinary shares    08/11/17     3,168    ILS 62.78
Schwab International Equity ETF          Ordinary shares    08/16/17     3,168    ILS 64.35
Schwab International Equity ETF          Ordinary shares    08/16/17     3,520    ILS 64.35
Schwab International Equity ETF          Ordinary shares    08/24/17     3,168    ILS 58.95
Schwab International Equity ETF          Ordinary shares    08/30/17     3,520    ILS 55.84
Schwab International Equity ETF          Ordinary shares    09/11/17     4,400    ILS 63.55
Schwab International Equity ETF          Ordinary shares    09/13/17     3,520    ILS 68.51
Schwab International Equity ETF          Ordinary shares    09/20/17     2,816    ILS 60.80
Schwab International Equity ETF          Ordinary shares    09/27/17     3,520    ILS 62.12
Schwab International Equity ETF          Ordinary shares    09/27/17     3,520    ILS 62.12
Schwab International Equity ETF          Ordinary shares    10/05/17     5,280    ILS 65.23
Schwab International Equity ETF          Ordinary shares    10/10/17     2,816    ILS 55.71
Schwab International Equity ETF          Ordinary shares    10/24/17     2,816    ILS 50.79
Schwab International Equity ETF          Ordinary shares    11/02/17     2,640    ILS 42.38
Schwab International Equity ETF          Ordinary shares    11/10/17     2,640    ILS 41.36
Schwab International Equity ETF          Ordinary shares    11/14/17     4,400    ILS 41.45
Schwab International Equity ETF          Ordinary shares    11/17/17     3,520    ILS 44.14
Schwab International Equity ETF          Ordinary shares    11/28/17     2,640    ILS 50.93
Schwab International Equity ETF          Ordinary shares    11/29/17     3,520    ILS 52.31
Schwab International Equity ETF          Ordinary shares    11/29/17     3,520    ILS 52.31
Schwab International Equity ETF          Ordinary shares    12/04/17     7,568    ILS 53.03
Schwab International Equity ETF          Ordinary shares    12/18/17     3,520    ILS 65.40
Schwab International Equity ETF          Ordinary shares    12/18/17     3,168    ILS 65.40
Schwab International Equity ETF          Ordinary shares    12/19/17     1,936    ILS 63.61
Schwab International Equity ETF          Ordinary shares    12/27/17     2,464    ILS 66.49
Schwab International Equity ETF          Ordinary shares    12/28/17     4,752    ILS 65.65
Schwab International Equity ETF          Ordinary shares    12/29/17     3,520    ILS 65.65
Schwab International Equity ETF          Ordinary shares    01/08/18     3,520    ILS 66.20
Schwab International Equity ETF          Ordinary shares    01/11/18     3,520    ILS 72.27
Schwab International Equity ETF          Ordinary shares    01/12/18     2,112    ILS 72.27
Schwab International Equity ETF          Ordinary shares    01/12/18     3,520    ILS 72.27
Schwab International Equity ETF          Ordinary shares    01/16/18     3,520    ILS 75.40
Schwab International Equity ETF          Ordinary shares    01/30/18     2,288    ILS 69.70
Schwab International Equity ETF          Ordinary shares    02/02/18     2,816    ILS 72.19
Schwab International Equity ETF          Ordinary shares    02/05/18     3,520    ILS 69.43


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                   Series Name               Security      Trade Date Quantity    Price
Schwab International Equity ETF          Ordinary shares    02/06/18     6,160   ILS 69.50
Schwab International Equity ETF          Ordinary shares    02/06/18     5,280   ILS 69.50
Schwab International Equity ETF          Ordinary shares    02/12/18     3,872   ILS 66.45
Schwab International Equity ETF          Ordinary shares    02/12/18    10,208   ILS 66.45
Schwab International Equity ETF          Ordinary shares    02/14/18     3,872   ILS 66.66
Schwab International Equity ETF          Ordinary shares    02/16/18     7,040   ILS 74.30
Schwab International Equity ETF          Ordinary shares    03/02/18     2,464   ILS 66.52
Schwab International Equity ETF          Ordinary shares    03/08/18     1,056   ILS 65.72
Schwab International Equity ETF          Ordinary shares    03/09/18     1,936   ILS 65.72
Schwab International Equity ETF          Ordinary shares    03/12/18     2,640   ILS 66.87
Schwab International Equity ETF          Ordinary shares    03/14/18     3,520   ILS 64.49
Schwab International Equity ETF          Ordinary shares    03/20/18     2,816   ILS 61.46
Schwab International Equity ETF          Ordinary shares    03/26/18     2,816   ILS 58.58
Schwab International Equity ETF          Ordinary shares    04/04/18     3,520   ILS 58.45
Schwab International Equity ETF          Ordinary shares    04/11/18     3,168   ILS 63.10
Schwab International Equity ETF          Ordinary shares    04/23/18     3,520   ILS 62.85
Schwab International Equity ETF          Ordinary shares    04/23/18     2,816   ILS 62.85
Schwab International Equity ETF          Ordinary shares    05/02/18     2,816   ILS 67.59
Schwab International Equity ETF          Ordinary shares    05/09/18     3,520   ILS 68.57
Schwab International Equity ETF          Ordinary shares    05/10/18     3,520   ILS 68.78
Schwab International Equity ETF          Ordinary shares    05/18/18     3,168   ILS 75.80
Schwab International Equity ETF          Ordinary shares    05/29/18     3,168   ILS 78.02
Schwab International Equity ETF          Ordinary shares    05/30/18     3,520   ILS 77.77
Schwab International Equity ETF          Ordinary shares    05/31/18     4,752   ILS 77.40
Schwab International Equity ETF          Ordinary shares    06/11/18     3,520   ILS 82.66
Schwab International Equity ETF          Ordinary shares    06/21/18     3,520   ILS 87.50
Schwab International Equity ETF          Ordinary shares    06/22/18     3,520   ILS 87.50
Schwab International Equity ETF          Ordinary shares    06/27/18     3,520   ILS 87.80
Schwab International Equity ETF          Ordinary shares    06/29/18     7,040   ILS 86.83
Schwab International Equity ETF          Ordinary shares    07/20/18     3,344   ILS 84.01
Schwab International Equity ETF          Ordinary shares    07/23/18     2,816   ILS 84.27
Schwab International Equity ETF          Ordinary shares    08/03/18     3,520   ILS 81.40
Schwab International Equity ETF          Ordinary shares    08/13/18     3,520   ILS 83.46
Schwab International Equity ETF          Ordinary shares    08/14/18     2,816   ILS 80.96
Schwab International Equity ETF          Ordinary shares    08/14/18     3,520   ILS 80.96
Schwab International Equity ETF          Ordinary shares    08/15/18     2,288   ILS 80.66
Schwab International Equity ETF          Ordinary shares    08/27/18     3,520   ILS 84.03
Schwab International Equity ETF          Ordinary shares    08/30/18     3,520   ILS 84.36
Schwab International Equity ETF          Ordinary shares    10/04/18     3,520   ILS 79.65
Schwab International Equity ETF          Ordinary shares    10/04/18     3,520   ILS 79.65
Schwab International Equity ETF          Ordinary shares    10/10/18     3,520   ILS 76.50
Schwab International Equity ETF          Ordinary shares    10/12/18     3,520   ILS 74.94
Schwab International Equity ETF          Ordinary shares    10/16/18     3,520   ILS 80.38
Schwab International Equity ETF          Ordinary shares    10/16/18     3,520   ILS 80.38
Schwab International Equity ETF          Ordinary shares    10/24/18     3,520   ILS 77.51


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                   Series Name                        Security      Trade Date Quantity   Price
Schwab International Equity ETF                   Ordinary shares    10/30/18     3,520 ILS 74.50
Schwab International Equity ETF                   Ordinary shares    11/01/18     5,280 ILS 81.61
Schwab International Equity ETF                   Ordinary shares    11/13/18     3,520 ILS 87.20
Schwab International Equity ETF                   Ordinary shares    11/27/18     3,520 ILS 80.60
Schwab International Equity ETF                   Ordinary shares    12/12/18     3,440 ILS 71.63
Schwab International Equity ETF                   Ordinary shares    12/12/18     3,440 ILS 71.63
Schwab International Equity ETF                   Ordinary shares    12/24/18     4,300 ILS 56.03
Schwab International Equity ETF                   Ordinary shares    12/24/18     4,300 ILS 56.03
Schwab International Equity ETF                   Ordinary shares    12/27/18     2,064 ILS 57.85
Schwab International Equity ETF                   Ordinary shares    12/27/18     3,096 ILS 57.85
Schwab International Equity ETF                   Ordinary shares    01/03/19     4,300 ILS 61.31
Schwab International Equity ETF                   Ordinary shares    01/04/19     4,472 ILS 61.31
Schwab International Equity ETF                   Ordinary shares    01/10/19     2,580 ILS 65.70
Schwab International Equity ETF                   Ordinary shares    02/11/19     8,256 ILS 68.05
Schwab International Equity ETF                   Ordinary shares    02/12/19     6,020 ILS 69.59
Schwab International Equity ETF                   Ordinary shares    02/20/19     3,096 ILS 63.63
Schwab International Equity ETF                   Ordinary shares    03/05/19    30,000 ILS 59.15
Schwab International Equity ETF                   Ordinary shares    03/08/19     4,248 ILS 58.30
Schwab International Equity ETF                   Ordinary shares    03/08/19     3,540 ILS 58.30
Schwab International Equity ETF                   Ordinary shares    03/14/19    30,712 ILS 60.04
Schwab International Equity ETF                   Ordinary shares    03/14/19     8,933 ILS 60.04
Schwab International Equity ETF                   Ordinary shares    03/28/19     3,700 ILS 56.50
Schwab International Equity ETF                   Ordinary shares    04/18/19     4,070 ILS 51.02
Schwab International Equity ETF                   Ordinary shares    04/23/19     2,960 ILS 53.90
Schwab International Equity ETF                   Ordinary shares    05/07/19     3,700 ILS 52.25
Schwab International Equity ETF                   Ordinary shares    05/08/19     3,700 ILS 52.25
Schwab International Equity ETF                   Ordinary shares    05/10/19     3,700 ILS 52.25
Schwab Fundamental International Large Company    Ordinary shares    02/24/14       372 ILS 169.10
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/12/14       124 ILS 168.80
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/17/14       496 ILS 170.60
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/03/14       248 ILS 185.20
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/01/14       248 ILS 173.20
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/07/14       372 ILS 170.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    06/02/14       124 ILS 176.50
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    06/10/14       315 ILS 176.70
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    06/13/14       399 ILS 179.00
Index ETF


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                 Series Name                          Security      Trade Date Quantity   Price
Schwab Fundamental International Large Company    Ordinary shares    07/09/14       266 ILS 184.10
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    07/15/14       266 ILS 187.20
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    08/11/14       133 ILS 176.80
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    08/27/14       532 ILS 187.70
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    09/26/14       399 ILS 188.70
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    10/16/14       266 ILS 187.50
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    10/17/14     1,064 ILS 187.50
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    10/30/14       266 ILS 210.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    11/19/14       399 ILS 220.60
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    12/03/14       931 ILS 229.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    12/05/14       399 ILS 229.90
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    12/22/14       399 ILS 224.10
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    12/30/14       266 ILS 221.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    01/08/15       798 ILS 229.90
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    01/20/15       665 ILS 232.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    01/21/15     1,862 ILS 229.60
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    01/28/15       266 ILS 231.80
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/05/15       266 ILS 225.20
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/09/15       532 ILS 228.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/09/15       133 ILS 228.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/17/15       798 ILS 242.50
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/19/15       399 ILS 249.60
Index ETF



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                 Series Name                          Security      Trade Date Quantity   Price
Schwab Fundamental International Large Company    Ordinary shares    03/20/15       399 ILS 249.60
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/25/15     1,729 ILS 248.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    03/27/15       360 ILS 247.90
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/02/15     1,200 ILS 249.30
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/07/15       360 ILS 257.70
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/08/15       600 ILS 254.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/15/15     1,200 ILS 262.60
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/17/15       360 ILS 262.80
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    04/24/15       360 ILS 257.10
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/04/15     1,800 ILS 241.70
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/04/15       600 ILS 241.70
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/11/15       480 ILS 237.20
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/13/15       240 ILS 232.90
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/15/15     1,200 ILS 233.50
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    05/27/15     1,200 ILS 233.90
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    06/04/15       480 ILS 235.80
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    06/15/15     1,200 ILS 234.50
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    07/02/15       600 ILS 232.10
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    07/21/15       600 ILS 242.00
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    07/27/15     1,680 ILS 260.40
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    08/13/15       480 ILS 266.40
Index ETF
Schwab Fundamental International Large Company    Ordinary shares    08/18/15     1,200 ILS 266.70
Index ETF



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                 Series Name                           Security      Trade Date Quantity   Price
Schwab Fundamental International Large Company     Ordinary shares    08/20/15       600 ILS 267.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/29/15     1,090 ILS 226.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/06/15       545 ILS 226.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/26/15       872 ILS 229.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/04/15       436 ILS 239.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/13/15       436 ILS 229.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/17/15       763 ILS 231.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/18/15     1,090 ILS 253.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/21/15       327 ILS 257.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/05/16       436 ILS 255.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/08/16     1,199 ILS 253.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/12/16       654 ILS 253.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/12/16       327 ILS 253.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/20/16       436 ILS 243.20
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/26/16       436 ILS 250.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/12/16     1,526 ILS 212.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/12/16       545 ILS 212.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/22/16       763 ILS 224.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/23/16       981 ILS 226.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/24/16       436 ILS 221.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/08/16       436 ILS 220.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/22/16     1,177 ILS 208.30
Index ETF



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                 Series Name                           Security      Trade Date Quantity   Price
Schwab Fundamental International Large Company     Ordinary shares    03/24/16       321 ILS 211.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/08/16       642 ILS 215.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/12/16       535 ILS 208.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/14/16       963 ILS 209.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/28/16       535 ILS 210.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/24/16       856 ILS 200.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/02/16     2,140 ILS 207.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/06/16     1,043 ILS 207.51
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/23/16     2,304 ILS 196.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/30/16     1,482 ILS 193.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    07/11/16       456 ILS 198.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    07/26/16     1,368 ILS 208.30
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/04/16       456 ILS 207.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/16/16     1,254 ILS 205.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/30/16       456 ILS 191.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/07/16       456 ILS 192.30
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/14/16     1,254 ILS 199.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/29/16     5,249 ILS 179.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/29/16       738 ILS 179.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/14/16       615 ILS 169.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/21/16     1,353 ILS 166.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/26/16       492 ILS 167.80
Index ETF



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                 Series Name                           Security      Trade Date Quantity   Price
Schwab Fundamental International Large Company     Ordinary shares    10/26/16       738 ILS 167.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/02/16       984 ILS 164.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/07/16       738 ILS 155.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/18/16       615 ILS 147.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/18/16     1,353 ILS 147.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/30/16       861 ILS 142.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/07/16     1,230 ILS 131.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/09/16       492 ILS 134.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/15/16     7,162 ILS 142.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/15/16     5,181 ILS 142.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/16/16       858 ILS 142.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/21/16       715 ILS 138.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/21/16       858 ILS 138.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/27/16       858 ILS 140.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/03/17     1,430 ILS 143.90
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/10/17     1,430 ILS 133.30
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/18/17     1,430 ILS 128.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/19/17       429 ILS 128.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/23/17     1,430 ILS 123.20
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/02/17     1,716 ILS 128.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/13/17     1,573 ILS 125.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/15/17     2,431 ILS 135.00
Index ETF



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                 Series Name                           Security      Trade Date Quantity   Price
Schwab Fundamental International Large Company     Ordinary shares    02/28/17     2,574 ILS 128.20
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/13/17     2,145 ILS 121.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/16/17     1,859 ILS 122.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/30/17    23,000 ILS 119.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/03/17     1,730 ILS 116.20
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/04/17     2,941 ILS 117.20
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/19/17     2,076 ILS 113.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/20/17     1,211 ILS 112.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/02/17     3,460 ILS 114.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/04/17     2,076 ILS 111.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/12/17     5,190 ILS 110.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/18/17     1,557 ILS 107.30
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/12/17     3,460 ILS 108.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/13/17     1,384 ILS 108.30
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/21/17     1,038 ILS 111.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/22/17    18,506 ILS 112.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/23/17     1,544 ILS 112.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    07/07/17     1,552 ILS 113.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    07/12/17     3,880 ILS 110.10
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/03/17     1,746   ILS 91.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/09/17     3,880   ILS 65.67
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/16/17     1,746   ILS 64.35
Index ETF



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                 Series Name                           Security      Trade Date Quantity    Price
Schwab Fundamental International Large Company     Ordinary shares    09/07/17     1,552   ILS 55.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/14/17    70,062   ILS 66.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    09/19/17     5,280   ILS 60.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/04/17     2,112   ILS 65.23
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/17/17     5,280   ILS 51.84
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    10/25/17     2,112   ILS 48.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/10/17     4,224   ILS 41.36
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/16/17     2,376   ILS 44.14
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    11/29/17     2,112   ILS 52.31
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/07/17     2,112   ILS 52.07
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/11/17     3,696   ILS 57.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/13/17       528   ILS 55.87
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/14/17    74,202   ILS 63.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/20/17     2,324   ILS 61.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/21/17     3,320   ILS 61.73
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/27/17     4,648   ILS 66.49
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    12/28/17     9,778   ILS 65.65
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/04/18     6,120   ILS 65.96
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/11/18     2,720   ILS 72.27
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/23/18     4,760   ILS 70.99
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    01/29/18     3,400   ILS 73.25
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    02/20/18     3,400   ILS 71.26
Index ETF



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                 Series Name                           Security      Trade Date Quantity    Price
Schwab Fundamental International Large Company     Ordinary shares    03/01/18     3,400   ILS 66.52
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/12/18     3,400   ILS 66.87
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/15/18    34,000   ILS 62.70
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    03/21/18     3,680   ILS 61.38
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/03/18     3,680   ILS 58.60
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/17/18     3,680   ILS 62.65
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    04/24/18    15,091   ILS 64.65
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/01/18     3,420   ILS 66.57
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/17/18     3,800   ILS 75.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/23/18     3,800   ILS 76.00
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    05/31/18     3,800   ILS 77.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/14/18     3,800   ILS 85.75
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/20/18     3,800   ILS 88.73
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/21/18    27,193   ILS 87.50
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    06/28/18     5,656   ILS 86.83
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    07/03/18     4,040   ILS 91.11
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    07/27/18     4,040   ILS 86.66
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    08/07/18     4,040   ILS 85.05
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   8/13/2018     4,040   ILS 83.46
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   9/19/2018    16,160   ILS 86.61
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   10/18/2018    5,712   ILS 79.40
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   10/24/2018    7,615   ILS 77.51
Index ETF



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                  Series Name                          Security      Trade Date Quantity       Price
Schwab Fundamental International Large Company     Ordinary shares   12/18/2018    4,236      ILS 66.46
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   12/19/2018     12,355    ILS 64.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   12/19/2018      1,765    ILS 64.80
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   12/27/2018      2,980    ILS 57.85
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   12/31/2018      2,384    ILS 58.65
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   1/18/2019       2,980    ILS 68.57
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   3/11/2019       1,788    ILS 57.49
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   3/26/2019       2,856    ILS 57.82
Index ETF
Schwab Fundamental International Large Company     Ordinary shares   4/26/2019       2,380    ILS 54.83
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    5/1/2019       2,380    ILS 54.51
Index ETF
Schwab Fundamental International Large Company     Ordinary shares    5/6/2019       2,380    ILS 52.86
Index ETF
Schwab U.S. Aggregate Bond ETF                     2021 Notes         09/29/16      750,000    $100.04
Schwab U.S. Aggregate Bond ETF                     2021 Notes         09/22/17    1,000,000     $96.22
Schwab U.S. Aggregate Bond ETF                     2022 Notes         05/02/16      460,000    $100.65
Schwab U.S. Aggregate Bond ETF                     2026 Notes         08/01/16      750,000    $101.83
Schwab U.S. Aggregate Bond ETF                     2026 Notes         01/03/17      250,000     $92.48
Schwab U.S. Aggregate Bond ETF                     2046 Notes         09/29/16      750,000    $100.97
Schwab U.S. Aggregate Bond ETF                     2046 Notes         01/03/17      250,000     $86.56




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2020, a copy of the foregoing document was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system, or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.



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